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                    EXHIBIT V
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                                                                         Page 1
  1                 IN THE UNITED STATES DISTRICT COURT
  2                 FOR THE EASTERN DISTRICT OF VIRGINIA
  3                             Alexandria Division
  4

  5    ---------------------------------x
  6    LEAGUE OF UNITED LATIN AMERICAN                 Civil Action No.
  7    CITIZENS - RICHMOND REGION COUNCIL              1:18-cv-00423
  8    4614, et al.,
  9             Plaintiffs,
 10    v.
 11    PUBLIC INTEREST LEGAL FOUNDATION,
 12    an Indiana Corporation, and
 13    J. CHRISTIAN ADAMS,
 14             Defendants.
 15    ---------------------------------x
 16

 17

 18            VIDEOTAPED DEPOSITION OF J. CHRISTIAN ADAMS
 19                              Washington, D.C.
 20                          Monday,     April 22, 2019
 21

 22

 23

 24

 25       Job No. 158970


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                                                Page 2                                                       Page 3
  1                                                            1    A P P E A R A N C E S:
  2                                                            2
  3                                                            3           Skadden, Arps, Slate, Meagher & Flom
  4                                                            4           On Behalf of Plaintiffs
  5                                                            5           BY: Sean Tepe, Esq.
  6           Monday, April 22, 2019                           6           BY: Nicole Cleminshaw, Esq.
  7             9:11 a.m.                                      7           1440 New York Avenue, NW
  8                                                            8           Washington, DC 20005
  9                                                            9
 10                                                           10
 11                                                           11           Foley & Lardner
 12          The following is the transcript of the           12           On Behalf of Defendants
 13   videotaped deposition of J. CHRISTIAN ADAMS held at     13           BY: Michael Lockerby, Esq.
 14   the offices of Skadden, Arps, Slate, Meagher & Flom     14           BY: Eli Evans, Esq.
 15   LLP, 1440 New York Avenue, NW, Washington, DC 20005.    15           3000 K Street, NW
 16                                                           16           Washington, DC 20007
 17                                                           17
 18                                                           18
 19   Reported by: Linda S. Kinkade RDR CRR RMR RPR CSR       19
 20   Registered Diplomate Reporter, Nationally Certified     20
 21   Realtime Reporter, Registered Merit Reporter,           21    Also present:
 22   Registered Professional Reporter, Certified Shorthand   22       David Chroniger, Legal Video Specialist
 23   Reporter, in and for the State of California, Notary    23
 24   Public, within and for the District of Columbia         24
 25                                                           25


                                                Page 4                                                       Page 5
  1           INDEX OF EXAMINATION                             1             PROCEEDINGS
  2                                                            2          VIDEO SPECIALIST: This is the start of
  3   EXAMINATION OF J. CHRISTIAN ADAMS              PAGE      3   tape labeled number 1 of the videotaped deposition of
  4      BY MR. TEPE            5                              4   J. Christian Adams, in the matter League of the
  5      BY MR. LOCKERBY           --                          5   United Latin American Citizens v. Public Interest
  6                                                            6   Foundation, et al., in the court, United States
  7                                                            7   District Court, for the Eastern District of Virginia,
  8                                                            8   case number 1:18-CV-000423.
  9                                                            9       This deposition is being held at 1440 New York
 10                                                           10   Avenue, northwest, Suite 1100, Washington, D.C., on
 11                                                           11   April 21st, 2019 --
 12                                                           12          THE REPORTER: 22nd.
 13                                                           13          VIDEO SPECIALIST: -- 22nd, sorry -- at
 14                                                           14   approximately 9:11. My name is David Chroniger from
 15                                                           15   TSG Reporting, Inc., and I'm the legal video
 16                                                           16   specialist. The court reporter is Linda Kinkade in
 17                                                           17   association with TSG Reporting.
 18                                                           18       Will counsel please introduce yourselves.
 19                                                           19          MR. TEPE: Sean Tepe, pro bono counsel for
 20                                                           20   Plaintiffs. I am joined by my colleague Nicole
 21                                                           21   Cleminshaw.
 22                                                           22          MR. LOCKERBY: Mike Lockerby with Foley &
 23                                                           23   Lardner LLP representing the Defendants.
 24                                                           24          VIDEO SPECIALIST: Will the court reporter
 25                                                           25   please swear in the witness.



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                                                Page 6                                                      Page 7
  1               J. CHRISTIAN ADAMS,                          1   Mr. Adams' individual deposition. I know there were
  2          having been first duly sworn, was                 2   some issues on Friday, or Thursday rather, about the
  3    thereafter examined and testified as follows:           3   length of the 30(b)(6), and we would have no
  4                  EXAMINATION                               4   objection to Plaintiff's counsel completing the
  5    BY MR. TEPE:                                            5   30(b)(6) in excess of seven hours as long as the
  6        Q. Good morning.                                    6   aggregate number of hours for both didn't exceed 14
  7        A. Good morning.                                    7   hours.
  8        Q. Can you state your name for the record?          8          MR. TEPE: I appreciate that. I think
  9        A. J. Christian Adams.                              9   that would be fine, as long as we can just cover
 10        Q. You're under oath today, yes?                   10   everything in the two days allotted, we should have
 11        A. Yes.                                            11   no problem. All right. Thank you.
 12        Q. And is there any reason why you cannot          12        Q. Mr. Adams, in previous testimony you
 13    give truthful and accurate testimony today?            13   testified that you had multiple conversations with
 14        A. Not that I'm aware of.                          14   Mark Lytle of the United States Attorney's Office in
 15        Q. Did you do anything to prepare for today's      15   the Eastern District of Virginia; is that correct?
 16    deposition?                                            16          MR. LOCKERBY: Object to the form.
 17        A. Yes.                                            17          MR. TEPE: What's the objection?
 18        Q. What did you do?                                18          MR. LOCKERBY: Objection to the form.
 19        A. Reviewed documents, talked to my                19   It's been asked and answered and misstates the
 20    attorneys.                                             20   witness's prior testimony.
 21        Q. Did you talk to anyone else than your           21          MR. TEPE: Well, the witness can clarify.
 22    attorneys in preparation for today?                    22        Q. You did testify that you had multiple
 23        A. No.                                             23   conversations with Mr. Lytle, correct?
 24           MR. LOCKERBY: I just want to clarify            24        A. I mean, if you have a transcript to show
 25    something on the record. Today, of course, is          25   me, I wouldn't disagree with the fact that I had

                                                Page 8                                                      Page 9
  1   multiple conversations. I would also point you back      1       A. Well, no, I said I recall two in-person
  2   to my original testimony for any specifics.              2   conversations with Mr. Lytle. That's what you asked.
  3       Q. I understand, but let's just, you know,           3       Q. Okay. So there's two in-person
  4   the simple question is you had multiple conversations    4   conversations and potentially some phone calls.
  5   with Mr. Lytle.                                          5       A. Well, at least. There may be more.
  6       A. Again, my --                                      6       Q. More than --
  7       Q. Yes or no?                                        7       A. Two.
  8       A. I did, and I believe I testified about            8       Q. -- in-person conversations?
  9   that already.                                            9       A. Right.
 10       Q. Okay. How many conversations did you             10       Q. Okay. So how many in-person
 11   have?                                                   11   conversations?
 12       A. Don't remember.                                  12       A. I don't know. I testified to that
 13       Q. Were they all in person, these                   13   already.
 14   conversations?                                          14       Q. And then -- and so, in addition to
 15       A. No.                                              15   potentially more than two in-person conversations,
 16       Q. Some were over the phone?                        16   there may have been some phone conversations with
 17       A. Possibly.                                        17   Mr. Lytle with regard to the Alien Invasion reports?
 18       Q. Do you have any recollection of talking to       18       A. I've already testified to that.
 19   him over the phone about -- and, again, we're talking   19       Q. That's a yes.
 20   about conversations that you had with Mr. Lytle with    20       A. I did, I testified to that already. I
 21   regard to the Alien Invasion reports.                   21   gave you an answer.
 22       A. Right. I have some recollection of that,         22       Q. The answer is yes.
 23   but I can't be sure.                                    23       A. I don't know. I'd need to see what my
 24       Q. Okay. So you recall at least, I think,           24   previous answer was, but it's consistent with that.
 25   two in-person meetings with Mr. Lytle?                  25   There may have been phone conversations, but I



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  1   testified to that already.                               1   Mr. Adams seems not inclined to want to answer.
  2       Q. Have you had conversations with other             2       Q. So, my question again, is it your
  3   members of the Department of Justice with regard to      3   testimony that you believe you probably had
  4   the Alien Invasion reports?                              4   conversations with members of the Justice Department
  5       A. Probably, but I don't remember                    5   besides Mr. Lytle with regard to the Alien Invasion
  6   specifically those conversations.                        6   reports, but you do not recall the specifics of such
  7       Q. If you had such conversations, who would          7   conversations?
  8   they have been with?                                     8       A. That's correct.
  9       A. That's speculating. I don't know.                 9       Q. What makes you say that you probably had
 10       Q. So it's your testimony today that you            10   such conversations?
 11   believe that you probably had conversations with        11       A. Because I would have been extremely
 12   members of the Justice Department, besides Mr. Lytle,   12   enthusiastic about having the Justice Department
 13   with regard to the Alien Invasion reports, but you do   13   finally enforce the law related to noncitizen
 14   not recall the specifics of those conversations.        14   registration and voting, and would have been highly
 15          MR. LOCKERBY: Object to the form.                15   inclined to have those conversations with members of
 16       Q. Is that true?                                    16   the Justice Department, because the previous
 17       A. I think I've already testified to that.          17   administration had failed to enforce the law, and,
 18       Q. No. I'm trying to ask questions to               18   therefore, I would have had a motive to have those
 19   establish what your testimony is. You cannot just go    19   conversations. Can I remember the specific
 20   back and say I've already testified to it.              20   conversations? No.
 21          MR. LOCKERBY: Objection, the transcript          21       Q. Thank you. Have you had conversations
 22   reflects what his testimony is. It's not proper to      22   with any other members of the federal law enforcement
 23   ask questions about what the transcript reflects.       23   community other than members of the Justice
 24          MR. TEPE: And I'm not trying to do that.         24   Department and Mr. Lytle with regard to the Alien
 25   What I'm trying to do is ask simple questions that      25   Invasion reports?


                                              Page 12                                                      Page 13
  1       A. How do you define "federal law enforcement        1        A. The federal investigative agencies do not
  2   community"? How broadly?                                 2   make third parties aware of investigations.
  3       Q. As broad as possible. Federal employee,           3        Q. Again, that is not responsive to my
  4   federal law enforcement.                                 4   question. Are you, Mr. Adams, aware of any
  5       A. Well, that's a different question.                5   investigation by federal law enforcement into those
  6   Federal employee is different than federal law           6   listed in the Alien Invasion reports?
  7   enforcement. So I'm asking, what is your question?       7        A. Because federal law enforcement agencies
  8   How broadly do you find this -- do you define federal    8   do not make a practice of alerting the public,
  9   law enforcement?                                         9   generally speaking, about the existence of
 10       Q. Well, let's start the most broad as              10   investigations, I have not been made aware of any
 11   possible. Have you had conversations with federal       11   investigations.
 12   employees regarding the Alien Invasion reports other    12        Q. So when you had conversations with
 13   than Mr. Lytle and probably other members of the        13   Mr. Lytle, he did not give any indication as to what
 14   Justice Department?                                     14   he would do with that information?
 15       A. Right, and I don't have a specific               15        A. That's not what I testified to. That's
 16   recollection of that.                                   16   not accurate.
 17       Q. Are you aware of any investigation by            17        Q. Okay. So Mr. Lytle did give you
 18   federal law enforcement into those listed in the        18   indications as to what he would do with the
 19   Alien Invasion reports?                                 19   information.
 20       A. One would not be made aware of such              20        A. I already knew what he would do with the
 21   things.                                                 21   information by virtue of formerly working at the
 22       Q. That's not responsive to my question.            22   Justice Department. And the Justice Department has a
 23       Are you aware of any investigation by federal       23   very rigorous protocol for looking at evidence that
 24   law enforcement into those listed in the Alien          24   third parties give to people at the Justice
 25   Invasion reports?                                       25   Department that includes preliminary reviews,



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  1   substantive reviews, requests for data from other        1        Q. Sir, sir, I have not finished my question.
  2   agencies.                                                2        A. Right.
  3       And so I didn't need to have the conversation        3        Q. You testified earlier that you would have
  4   with Mr. Lytle, because I knew that, when Mr. Lytle      4   been extremely enthusiastic about having the Justice
  5   was alerted to a problem like this, which is a           5   Department finally enforce the law.
  6   serious one, at least most people take seriously, and    6        Given that, you don't recall whether or not
  7   I knew the attorney general took seriously, and I        7   Mr. Lytle gave you any indication of what he would do
  8   knew the president took seriously, that Mr. Lytle        8   with the information you provided?
  9   would do what I used to do at the Justice Department     9          MR. LOCKERBY: Object to the form of the
 10   when I was an attorney there and initiate a series of   10   question.
 11   steps that would take a look at the issue.              11        A. Right. And I never said a word about
 12       And so I didn't need to get feedback from           12   enthusiasm for prosecution in this deposition. What
 13   Mr. Lytle because I knew what you do when you're a      13   I said was enthusiasm for enforcing the law. And
 14   Justice Department lawyer.                              14   that comes in many forms, many of which you have
 15       Q. Did Mr. Lytle give you any indication as         15   omitted in your question.
 16   to what he would do with the information, yes or no?    16        One could be to take action to clean up the
 17       A. I answered that question.                        17   voter rolls, which is not prosecution. Another could
 18       Q. No. Did Mr. Lytle give you any indication        18   be taking a look at why Virginia is canceling
 19   as to what he would do with that information?           19   citizens or noncitizens from the rolls improperly.
 20       A. I don't remember.                                20   Another could be a NVRA action, another could be a
 21       Q. With your enthusiasm for prosecution, you        21   prosecution.
 22   would --                                                22        So when I said enforce the law, I was talking
 23       A. That's not what I testified to.                  23   about a broad array of possibilities. If there was a
 24       Q. Excuse me, sir.                                  24   noncitizen on the voter rolls, then I would have had
 25       A. That's not what I testified to.                  25   enthusiasm for prosecution of that individual,


                                               Page 16                                                     Page 17
  1   because they would have been violating multiple          1   variety of things. If you have a specific example of
  2   federal felonies, and I don't think anybody would        2   promotion, I will answer that question.
  3   disagree with that position, at least not seriously.     3       Q. Why? You can't answer a general question
  4       Q. So it is your testimony today that you            4   about PILF promoting the Alien Invasion reports?
  5   don't remember if Mr. Lytle gave you any indication      5         MR. LOCKERBY: Object to the form.
  6   as to what he would do with the information that you     6       A. Okay. PILF talked about the Alien
  7   provided to him with regard to the Alien Invasion        7   Invasion reports, correct.
  8   reports?                                                 8       Q. And they talked about the Alien Invasion
  9          MR. LOCKERBY: Object to the form.                 9   reports in multiple media formats, correct?
 10       A. I think I've already answered that               10       A. Multi -- "multiple media formats," do you
 11   question.                                               11   mean multiple media venues or media outlets? Is that
 12       Q. That's your testimony.                           12   what you mean? I don't understand the question.
 13       A. I think I testified to this.                     13       You're just using a term that isn't squared
 14       Q. And that's --                                    14   with reality in the practice of broadcasting.
 15       A. My testimony is what it was when I gave          15       Q. PILF issued press releases with regard to
 16   it.                                                     16   the Alien Invasion reports, correct?
 17       Q. The Public Interest Legal Foundation             17       A. Yes.
 18   promoted the Alien Invasion reports, correct?           18               (Johnson Exhibit 22
 19          MR. LOCKERBY: Object to the form.                19         previously marked for identification
 20       A. The Public Interest Legal Foundation             20         and referenced herein: Email
 21   promoted it ... I don't understand what you mean.       21         correspondence from (topmost) S
 22       Q. Do you understand what the word                  22         Powell sent 10/4/2016
 23   "promotion" means?                                      23         PILF-ADAMS-0013638 - 0013639)
 24       A. Promotion could mean a variety of things,        24       Q. Handing the witness what has been
 25   and in this context it particularly could mean a        25   previously marked as Johnson Exhibit 22.



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                                               Page 18                                                     Page 19
  1       This is an example of one of those press             1       Q. All right. So there's an email from Logan
  2   releases; is that right?                                 2   Churchwell to you and Mr. Johnson, May 24th, 2017,
  3       A. Well, Johnson 22 is not an example of a           3   right?
  4   press release. It's an example of an email chain         4       A. No -- oh, right. It's -- I can read that.
  5   between Shawna Powell and Noel Johnson on October 4th    5       Q. And then Mr. Johnson responds to you and
  6   that ultimately has a press release attached to it,      6   Mr. Churchwell saying, "Looks great. A few small
  7   but Johnson 22 is not a press release.                   7   things. Is the plan to go public on Monday, the
  8       Q. At the bottom of Johnson 22, on Tuesday,          8   29th, as indicated in the release?" Do you see that?
  9   October 4th, there is a press release that was sent      9       A. I can read that.
 10   by PILF to media; is that right?                        10       Q. Okay. And then attached to it is a press
 11       A. Right, but the entire exhibit is not a           11   release on Alien Invasion II; is that correct?
 12   press release.                                          12       A. No, that's not correct.
 13       Q. You can put that aside.                          13       Q. Okay. So at the top of this draft it
 14                (Adams Exhibit 1 marked for                14   says, "for immediate release." Do you see that, the
 15          identification: Email correspondence             15   attachment?
 16          from (topmost) N Johnson sent                    16       A. Well, but that's what every press release
 17          5/24/2017                                        17   says. That's a draft. That's --
 18          PILF_ADAMS-0000821 - 0000823)                    18       Q. It's a draft press release.
 19       Q. The court reporter has marked as Exhibit         19       A. Right.
 20   52 -- I'm sorry, Exhibit 1 -- a document with the       20       Q. Yes.
 21   Bates number 822.                                       21       A. It's a draft press release.
 22       Do you recognize that document, sir?                22       Q. Yes. Right. So this is a draft press
 23          MR. LOCKERBY: I'm sorry. Where is this           23   release for Alien Invasion II.
 24   document?                                               24       A. Correct.
 25       A. I see this document.                             25       Q. Yes. And on the title of the draft press

                                               Page 20                                                     Page 21
  1    release it says, "Report: 5,500 plus noncitizens        1       A. That's -- a difference between prolific.
  2    discovered on voter rolls in Virginia," right?          2       Q. Well, I don't know. I thought maybe you'd
  3        A. It says that.                                    3   consider yourself prolific. But you do tweet, right?
  4        Q. Right. And then underneath the subheader         4       A. I've answered that.
  5    says, "one-third of noncitizens found voted             5       Q. And PILF tweets as well, right?
  6    illegally." Do you see that?                            6       A. I think so. I don't see all their tweets.
  7        A. It says that.                                    7       Q. Well, you don't need to see all their
  8        Q. Okay. And so to promote the Alien                8   tweets to know whether or not they do in fact tweet.
  9    Invasion reports, PILF issued press releases.           9       A. They do tweet.
 10        A. I've answered that. I'll answer it again.       10               (Adams Exhibit 2 marked for
 11    We issued press releases.                              11          identification: Twitter feed of the
 12        Q. And PILF also tweeted about the reports,        12          Public Interest Legal Foundation)
 13    correct?                                               13       Q. The court reporter has marked as Adams 2 a
 14        A. I don't know.                                   14   document.
 15        Q. Mr. Adams, you're a very --                     15       Do you recognize that?
 16        A. I don't know.                                   16       A. It appears to look like a Twitter feed.
 17        Q. You're very prolific on Twitter, aren't         17       Q. A Twitter feed of the Public Interest
 18    you?                                                   18   Legal Foundation, right?
 19           MR. LOCKERBY: Object to the form.               19       A. Right.
 20        Q. Would you -- wouldn't you say you're very       20       Q. And there are a few tweets represented in
 21    prolific on Twitter?                                   21   this exhibit?
 22        A. No.                                             22       A. There are.
 23        Q. No? Okay.                                       23       Q. At the bottom there's one from PILF dated
 24        A. Certainly not.                                  24   September 29th?
 25        Q. You do tweet, though, right?                    25       A. I'm sorry?



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  1       Q. I'm sorry. At the bottom there's one from        1       Q. The court reporter has handed you, sir,
  2   PILF dated September 29th of 2016?                      2   what's been marked as Adams 3. Do you recognize this
  3       A. I can read that.                                 3   document?
  4       Q. Yes. And it says, "hundreds of                   4       A. I've never seen it before, but it appears
  5   noncitizens on voting rolls in swing state of           5   to be a Twitter, a portion of a Twitter feed from the
  6   Virginia."                                              6   Public Interest Legal Foundation. There's a Twitter
  7       A. It says that.                                    7   logo on it, so that is probably what it is.
  8       Q. Right. And then there's another tweet,           8       Q. Yes, it's a copy of PILF's Twitter feed
  9   "We have uncovered one thousand plus noncitizens        9   from May 30th of 2017; is that correct?
 10   registered to vote in the swing state of Virginia,"    10       A. That's what it says.
 11   right? Do you see that?                                11       Q. And at the bottom of the first page, what
 12       A. It says that.                                   12   would be the first tweet in a series of tweets that
 13       Q. And that was on October 3rd of 2016.            13   day, it shows that PILF tweeted, "Virginia election
 14       A. It says that.                                   14   officials quietly remove 5,556 voters for
 15       Q. Okay. So PILF did tweet about the Alien         15   noncitizenship between 2011 and May of 2017." Do you
 16   Invasion I report, correct?                            16   see that?
 17       A. At the time I didn't have any knowledge of      17       A. I see that.
 18   this necessarily. I don't remember, but it's -- it     18       Q. Right. And there's a link there provided
 19   appears from Exhibit 2 that they were tweeting about   19   to PILF's website, right?
 20   the Alien Invasion report. I'm sorry. It appears       20       A. It appears that there is a link.
 21   they were tweeting about the Alien Invasion report.    21       Q. And so there's a series of tweets that
 22               (Adams Exhibit 3 marked for                22   day, would you agree, with regard to the Alien
 23          identification: Twitter feed from               23   Invasion II report?
 24          the Public Interest Legal                       24       A. It appears to say that.
 25          Foundation)                                     25       Q. You can put that aside.


                                              Page 24                                                      Page 25
  1       A. Pardon?                                          1        Q. You're the president of it.
  2       Q. You can put that aside. Thank you.               2        A. Doesn't mean -- it's not my organization.
  3       PILF also posted on the Facebook page of PILF       3        Q. As president of PILF, you want to distance
  4   with regard to the Alien Invasion reports, correct?     4   yourself?
  5       A. I don't have any idea. I didn't even -- I        5        A. Not at all.
  6   never saw that.                                         6          MR. LOCKERBY: Object to the form.
  7               (Adams Exhibit 4 marked for                 7        A. Your question was confusing. It's not my
  8          identification: Screenshot of PILF's             8   organization.
  9          Facebook page)                                   9        Q. Well, this image of the PILF Facebook page
 10       Q. The court reporter has marked as Exhibit 4      10   shows a posting on October 3rd, 2016, correct?
 11   a document. Do you recognize that?                     11        A. That's what it says.
 12       A. I'm holding Exhibit 4.                          12        Q. And this posting says, "We have uncovered
 13       Q. And it appears to be a screenshot of            13   one thousand plus noncitizens registered to vote in
 14   PILF's Facebook page, correct?                         14   the swing state of Virginia."
 15       A. I don't know what Facebook looks like. I        15        A. I can read that.
 16   don't use Facebook.                                    16        Q. And then there's a link to a Breitbart
 17       Q. Okay. But you knew -- you do know that          17   story; is that right?
 18   PILF has a Facebook page, correct?                     18        A. I can read that it says that.
 19       A. No. I don't use Facebook. I testified to        19        Q. And PILF also promoted the Alien Invasion
 20   that.                                                  20   II report on its Facebook page, correct?
 21       Q. Well, you don't need to use Facebook to         21          MR. LOCKERBY: Object to the form.
 22   know how PILF, your organization, promotes its         22        A. I don't know.
 23   message, correct?                                      23          MR. TEPE: And what's the basis for the
 24       A. I don't understand the question. It's not       24   objection?
 25   my organization. I don't own it.                       25          MR. LOCKERBY: Use of the word "promoted."



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                                              Page 26                                                      Page 27
  1                (Adams Exhibit 5 marked for                 1   speak personally, and the answer is yes.
  2          identification: Screenshot of PILF's              2       Q. And why can't you, as president of PILF,
  3          Facebook page May 30th, 2017)                     3   speak about PILF?
  4        Q. The court reporter has handed you what's         4       A. Well, because I don't have any
  5   been marked as Exhibit 5. It is a screenshot of          5   recollection of specific instances for PILF, but I
  6   PILF's Facebook page from May 30th, 2017, correct?       6   have specific recollections for me.
  7        A. Well, I can see Exhibit 5.                       7               (Adams Exhibit 6 marked for
  8        Q. Do you have any reason to doubt that this        8          identification: Email correspondence
  9   is a screenshot of PILF's Facebook page from May         9          from (topmost) C Adams sent
 10   30th, 2017?                                             10          10/3/2016 PILF-ADAMS-0044021)
 11        A. I don't dispute your representation that's      11       Q. The court reporter has marked as Adams
 12   what this is, but I have no way to know because I've    12   Exhibit 6 an email with the Bates 44021. Do you see
 13   never used Facebook in my life.                         13   that?
 14        Q. Okay. But this screenshot does show a           14       A. I see Exhibit 6.
 15   posting from PILF with regard to the release of Alien   15       Q. And you see that's an email from you dated
 16   Invasion II; is that right?                             16   October 3rd, 2016, correct?
 17        A. I can read that it says that.                   17       A. It's what it says.
 18        Q. And it says, "Report: 5,500 plus                18       Q. And you did send this email, correct?
 19   noncitizens discovered on voter rolls in Virginia,"     19       A. I have no reason to question that I did.
 20   correct?                                                20       Q. It's to Ms. Phillips, Johnson --
 21        A. I can read that it says that on Exhibit 5.      21   Ms. Phillips, Mr. Johnson, Ms. Powell, and
 22        Q. For the Alien Invasion reports, PILF also       22   Mr. Vanderhulst, correct?
 23   secured coverage in various print and online media;     23       A. I can read that it says that.
 24   is that right?                                          24       Q. And the subject line is, "Important:
 25        A. Well, I can't speak about PILF, but I can       25   Breitbart." Do you see that?

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  1        A. I see that.                                      1       Q. Right. And so do you have reason to doubt
  2        Q. And there's a link to a Breitbart story          2   that this is a link to the Breitbart story with
  3    that appears to be coverage of Alien Invasion I.        3   regard to Alien Invasion I?
  4    Would you agree with that?                              4       A. Well, there's a lot of alien coverup
  5        A. No, I wouldn't, because there's no               5   issues, if you will, going on at this time. We
  6    content. It just is a link. If you have the -- is       6   weren't getting records. We had to sue places.
  7    this two pages? No. If you have the story that it       7       I mean, I appreciate your commentary for the
  8    links to ...                                            8   record that you make. It's not on camera. But you
  9        Q. Oh, we'll get to that, sir.                      9   are making commentary throughout this deposition,
 10        A. Then show it to me, and I'll answer your        10   whether it's waving your hand at me or turning to
 11    question.                                              11   co-counsel and sneering, but that's exactly what
 12        Q. And so my question is: Do you have any          12   you're doing.
 13    reason to doubt that this is a link sent by you to     13          MR. LOCKERBY: And laughing and snickering
 14    the Breitbart story covering the release of Alien      14   too.
 15    Invasion I?                                            15       A. Right. And so to answer your question,
 16        A. Yes. The reason I have the doubt is             16   there was lots of things going on that this could
 17    because I don't see the story.                         17   have involved, that, if you will show me the actual
 18        Q. And so you see the link dated October 2nd,      18   article that this links to, I will be happy to share
 19    2016, right? Do you see that in the link?              19   my thoughts about it.
 20        A. Where? Right, the link has 10-2.                20       Q. Sir, I was just looking at my colleague
 21        Q. Yes, 2016/10/02, correct?                       21   just now and that was about it.
 22        A. It says that.                                   22       A. Sure. Is there a question?
 23        Q. And then                                        23       Q. So in this email that you sent, why did
 24    /Virginia-illegal-voting-fraud-coverup.                24   you put, as the subject, "Important: Breitbart"?
 25        A. It says that.                                   25       A. I don't have a specific recollection of



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                                               Page 30                                                     Page 31
   1   why I did that. Maybe -- I mean, I'm not going to       1       A. I don't have any specific recollection of
   2   speculate.                                              2   sending this email. Exhibit 7 says it's an email
   3               (Adams Exhibit 7 marked for                 3   from me, strangely to me, so I can't explain -- I
   4          identification: Email correspondence             4   sent to it myself.
   5          from (topmost) C Adams sent                      5       Q. Well, isn't your practice to send
   6          10/3/2016                                        6   materials to a large number of people and putting
   7          PILF-ADAMS-0006102 - 0006104)                    7   their addresses on the bcc line?
   8       Q. The court reporter has marked as Exhibit 7       8       A. I've done that before.
   9   a document with Bates number 6102. Do you see that?     9       Q. Okay. And so this is an email you sent
  10       A. I see Exhibit 7.                                10   with a link, exact same link from Exhibit 6, to
  11       Q. And do you recognize that to be an email        11   Breitbart story, correct?
  12   that you sent on October 3rd, 2016?                    12       A. It appears to be.
  13       A. It says that.                                   13       Q. And this story, which is also pasted in
  14       Q. And so you did send this email, correct?        14   the body of the email, is titled "Illegal Foreign
  15       A. Yeah, this came earlier. Exhibit 7 is           15   Voting in Virginia Covered Up by Soros-backed
  16   earlier than Exhibit 6. So you could have asked me     16   Democratic Officials, Says Report." Do you see that?
  17   about Exhibit 7 right off the bat, and I would have    17       A. That's what it says.
  18   been happy to answer the question, because I offered   18       Q. And so this is the Breitbart story with
  19   some of the explanation you were seeking in your       19   regard to the release of Alien Invasion I, yes?
  20   previous questions in this email.                      20       A. I don't know. Let me read it.
  21       Q. Strike as not responsive.                       21       Do you have one with an author name on it?
  22       So, Mr. Adams, you sent this email, correct?       22   This refers to the Alien Invasion report.
  23       A. It's what it says.                              23       Q. You wrote, "Folks, a through story on
  24       Q. That's not my question. My question is:         24   PILF's alien voting report in Virginia. Breitbart
  25   You sent this, correct?                                25   highlights the Soros link with the people directing

                                               Page 32                                                     Page 33
   1   the coverup of the alien voter registration and         1           PILF-ADAMS-0040246 - 0040250)
   2   voting." Do you see that?                               2       Q. The court reporter has marked as Exhibit 8
   3       A. It says that.                                    3   a document with the Bates number 40246.
   4       Q. And in the subject line you just copied          4       Do you recognize this?
   5   the title of the article, is that right, into the       5       A. I see Exhibit 8.
   6   subject line?                                           6       Q. And do you recognize Exhibit 8 to be
   7       A. I don't know, because I don't have the           7   emails that you had with individuals at Fox News?
   8   article in front of me. If you want to show me the      8       A. Well, it says it's from Robert Reagan at
   9   actual publication document, I can answer that. It      9   Fox News.
  10   appears to be the title, but I can't say that          10       Q. So let's begin with the first email in the
  11   conclusively because I don't see the original          11   chain, which would be on page 3 of the chain. Do you
  12   article.                                               12   see it's a copy of the email that we were just
  13       Q. Since you were circulating this article,        13   looking at in Exhibit 7?
  14   did you think it was a helpful article for PILF?       14       A. It appears to be.
  15       A. I don't understand the question.                15       Q. And so this is, again, an email from you
  16       Q. Well, why were you circulating this             16   to you forwarding the Breitbart story on Alien
  17   article?                                               17   Invasion I, correct?
  18       A. I don't remember.                               18       A. Okay. Could you either reread or re-ask
  19       Q. You don't know why?                             19   that? I didn't understand what you were asking.
  20       A. I answered the question.                        20       Q. And so the first email in this chain in
  21       Q. You can put that aside.                         21   Exhibit 8 is the email that you sent on -- that we
  22                (Adams Exhibit 8 marked for               22   saw in Exhibit 7, which, again, is an email from
  23           identification: Email correspondence           23   yourself to yourself dated October 3rd, forwarding
  24           from (topmost) R Reagan sent                   24   the Breitbart story, correct?
  25           10/3/2016                                      25       A. Which exhibit?



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                                               Page 34                                                      Page 35
   1       Q. The previous exhibit, Exhibit 7.                 1        Q. And in response to -- well, strike that.
   2       A. It appears to be.                                2        So also the email says, "hit time is 7:45 from
   3       Q. And in response to this email that you           3   the D.C. bureau with Lou here in New York," right?
   4   sent, you received an email from Queenette Karikari?    4   And so she's trying to set up logistics for an
   5       A. It's close enough. Right.                        5   interview.
   6       Q. How do you pronounce her name?                   6        A. Okay. You asked two questions. Which one
   7       A. Queenette.                                       7   do you want me to answer?
   8       Q. Queenette. And she is with Lou Dobbs             8        Q. She's trying to set up logistics for an
   9   Tonight?                                                9   interview.
  10       A. Correct.                                        10        A. This is how it normally happens.
  11       Q. And so she received the email that you          11        Q. So that's yes.
  12   sent. Presumably she was blind-copied?                 12        A. Well, I can't speak to what her intention
  13       A. I don't know. I mean, that's one                13   is, but it certainly looks like she's trying to make
  14   possibility. I wouldn't disagree with that, but I      14   arrangements.
  15   don't know for sure.                                   15        Q. Okay. And then you respond with a set of
  16       Q. And she responds, "Good afternoon,              16   talking points; is that correct?
  17   Christian. Thank you so much for making this work      17        A. No. I think what I responded with is
  18   today. Lou is thrilled to have you joining us." Do     18   quite possibly -- well, I don't know. I don't know
  19   you see that?                                          19   what these are.
  20       A. I can read that.                                20        Q. Okay. So you sent an email back to her in
  21       Q. Did you appear on Lou Dobbs' program with       21   response with a link to the Alien Invasion report; is
  22   regard to Alien Invasion I?                            22   that right?
  23       A. I don't have a specific recollection that       23        A. No, I don't think -- I don't know. Okay.
  24   I did. If you have something that would refresh that   24   It's under a staple. There's a link. I don't know
  25   recollection, I'd be happy to talk about it.           25   what that link is.

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   1       Q. And then underneath the link says this is        1       A. One, two, three, four, five.
   2   the Virginia report.                                    2       Q. Are you there?
   3       A. Right, and it says that underneath that.         3       A. Not yet. Right, I'm there.
   4       Q. And then there are a series of bullet            4       Q. "We show voter registration forms where
   5   points, correct?                                        5   the aliens lie (and commit federal felonies) and say
   6       A. You could call them that.                        6   they are a citizen." Do you see that?
   7       Q. And the first bullet says, "In our small         7       A. That's what it says. Describes the
   8   sample of just eight Virginia counties who responded    8   process.
   9   to our public inspection request, we found 1,046        9       Q. And this doesn't refresh your recollection
  10   aliens who registered to vote illegally," correct?     10   as to whether or not you appeared on Lou Dobbs?
  11       A. It says that.                                   11       A. It doesn't. There's frequently cancels,
  12       Q. And then the next sentence says, "These         12   sometimes not cancels.
  13   were only the ones that have been discovered as        13                (Adams Exhibit 9 marked for
  14   verified 100 percent aliens." It says that, right?     14          identification: Illegal Foreign
  15       A. That's what I'm reading.                        15          Voting in Virginia Covered up by
  16       Q. What is a verified 100 percent alien?           16          Soros-backed Democratic Officials
  17       A. Well, it could be somebody who was removed      17          with attachment)
  18   from the voter rolls as being declared a noncitizen    18       Q. The court reporter has marked as Exhibit 9
  19   by the Commonwealth of Virginia.                       19   a copy of the October 2nd, 2016 Breitbart article,
  20       Q. Is that what you're referring to here?          20   correct, along with comments on that article?
  21       A. I don't remember what I was referring to        21       A. It's 124 pages. I don't see anything in
  22   there.                                                 22   here that's not part of an article, so it would
  23       Q. And then in the fifth bullet you state in       23   appear the answer is yes.
  24   the middle, "we show voter registration forms where
                                                              24       Q. So on the first page, the article is
  25   the aliens lie ..."
                                                              25   entitled "Illegal Foreign Voting in Virginia Covered



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   1   up by Soros-backed Democratic Officials, says            1   question.
   2   report," do you see that?                                2       Q. And then you agree this is -- this entire
   3       A. It says that.                                     3   story is about the Alien Invasion I report, generally
   4       Q. And this is a story that you had                  4   speaking?
   5   circulated as seen in the previous exhibits, correct?    5       A. No, I would not agree with that.
   6       A. The headlines match.                              6       Q. You would not --
   7       Q. The web address matches?                          7       A. I would very much disagree with that.
   8       A. Right.                                            8       Q. So this is -- you don't think this story
   9       Q. And then you're quoted in this article in         9   is about PILF's Alien Invasion I report?
  10   the second paragraph, correct?                          10       A. You just changed your question. You
  11       A. It says that I am quoted.                        11   dropped a word.
  12       Q. So you provided an interview to Breitbart.       12       Q. Okay. So yes, I did --
  13       A. I don't have any recollection of that.           13       A. Which one --
  14   This could have been given to Breitbart a variety of    14       Q. -- I dropped the word "entire."
  15   different ways. One is an interview. I don't have       15       A. That's correct.
  16   any recollection of speaking with Neal McCabe.          16       Q. Yes. So there are aspects of this story
  17       Q. And then if you turn to the second page,         17   that were not in Alien Invasion I report, correct?
  18   there's blue highlighting. Do you understand that to    18       A. Before his appointment by governor,
  19   be links?                                               19          Democratic Governor Terry McAuliffe,
  20       A. Where are you referring to?                      20          Cortes was a left-wing operative of
  21       Q. Well, there's a blue highlighted Public          21          the Virginia Voting Rights
  22   Interest Legal Foundation. Do you understand that to    22          Restoration Campaign within the
  23   be a link to your website?                              23          left-wing Advancement Project. The
  24       A. Probably that's what that is, but if I had       24          project was funded and supported by
  25   it up on the screen it would be easier to answer your   25          George Soros, through his Tides

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   1          Foundation Open Society.                          1       Q. And following the article are those
   2        And then it goes on to say, one of the top          2   comments. There's about -- there's 124 pages here,
   3   priorities of the Soros' Advancement Project is to       3   correct?
   4   stop the use of SAVE to purge voter lists.               4       A. Well, I testified earlier when I was
   5        Those are two things that I don't believe are       5   attempting to --
   6   in the Alien Invasion report about the priorities,       6       Q. Right.
   7   but there may very well be other things in here that     7       A. -- I think I already did, a low number for
   8   are not related to the Alien Invasion report.            8   a Breitbart article, but it's 124 pages printed.
   9        Q. Right. But you provided that information         9       Q. Do you spend a lot of time on Breitbart?
  10   that you just quoted to Breitbart, correct?             10       A. What do you mean by "a lot of time"?
  11        A. I don't think so, but if you have a             11       Q. Well, you just said it was a low number
  12   document to refresh my recollection, I'd be happy to    12   for a Breitbart article, which presumes that you have
  13   discuss it.                                             13   familiarity with how many comments are posted on
  14        Q. At the end of the article, page 4, you are      14   Breitbart articles, yes?
  15   quoted as saying, last sentence, "We name the names     15       A. Familiarity, which could be obtained
  16   of the registered voters removed from the rolls for     16   through other ways besides spending time on
  17   citizenship problems. Will DOJ prosecute any of         17   Breitbart.
  18   them?" Do you see that?                                 18       Q. Okay. So how else are you familiar with
  19        A. I see that.                                     19   how many comments get posted to Breitbart?
  20        Q. Now if you look to the next page,               20       A. By discussing it with editors of
  21   following this article on Breitbart, at least as of     21   Breitbart.
  22   March 14th, 2018 when this document was printed out     22       Q. If you turn to page 2 of 124 --
  23   from their website, there was 1,487 comments. Do you    23       A. 2 ...
  24   see that?                                               24       Q. -- of 124.
  25        A. I see it says that.                             25       A. So these are two different documents in



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                                               Page 42                                                     Page 43
   1   Exhibit 9 combined into one document?                   1       A. No. I don't understand that to be
   2       Q. For printing, to have it all print out           2   anything.
   3   correctly, yes.                                         3       Q. You haven't discussed with Breitbart's
   4       A. Okay.                                            4   editors how individuals in the comments section get
   5       Q. Are you there on page 2?                         5   to vote up or down on various comments?
   6       A. I'm looking at page 2.                           6       A. No. And, again, you made a commentary
   7       Q. Third posting from the bottom, someone           7   with your expression after my answer, let the record
   8   posting under the name RINOpoacher.                     8   reflect. It's not the first time that's happened.
   9       A. I am not RINOpoacher.                            9       Q. And --
  10       Q. I didn't ask that.                              10       (Crosstalk between counsel)
  11       A. You didn't ask anything.                        11          MR. LOCKERBY: This is supposed to be the
  12       Q. Right. I'm just directing you to the            12   equivalent of a court proceeding, and I don't think
  13   RINOpoacher comment.                                   13   in the United States District Court for the Eastern
  14       A. I see it.                                       14   District of Virginia, Alexandria Division, you would
  15       Q. Do you see that? Okay. RINOpoacher said,        15   be there making the kinds of faces at the witness in
  16   "These are felonies, right? Have people been           16   view of the judge and jury that you are right now.
  17   deported or imprisoned?" "Any noncitizen caught        17   And it's intended to harass and provoke the witness.
  18   voting should immediately be deported." Do you see     18          THE WITNESS: And I'll just let the record
  19   that?                                                  19   reflect every time it happens.
  20       A. I see someone expressing their opinion.         20          MR. TEPE: I disagree strongly with the
  21       Q. And do you see the little 60 and up arrow       21   tactic of inserting into the record your subjective
  22   underneath that?                                       22   viewpoints with regard to how I turn a page or look
  23       A. I see the word 60 with an arrow.                23   at my co-counsel.
  24       Q. Right. And you understand that -- do you        24          THE WITNESS: This wasn't -- my comment
  25   understand that to be 60 favorable votes?              25   wasn't related to either of those options. They were

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   1   specifically related to the facial -- if I might        1   the laws in place for voting." Do you see that?
   2   finish -- the facial expression you made of             2       A. I can read it says that.
   3   disapproval and dismay at my answer that the camera     3       Q. Okay. And there is a 92 and an up arrow,
   4   did not catch, but I would be happy to put in the       4   right?
   5   record every time it happens.                           5       A. 92 and a what?
   6          MR. TEPE: And I am going to object to the        6       Q. Up arrow.
   7   imposition into the record your subjective              7       A. It says 92 underneath it.
   8   commentary, which is not responsive to my questions.    8       Q. Yes, and next to the 92 is an up arrow.
   9       Your position is noted. I would like to             9       A. There's an arrow.
  10   continue this deposition with the witness providing    10       Q. Pointing up, right?
  11   responsive answers to the questions. Can we all        11       A. Yeah, but I don't have any idea what that
  12   agree to that, counsel?                                12   is.
  13          MR. LOCKERBY: We can agree to that, and         13       Q. I understand.
                                                              14       A. I mean, I don't understand your question.
  14   it would proceed much more smoothly if counsel
                                                              15   That's disgusting. What does it have to do with me?
  15   wouldn't engage in the kinds of antics that no
                                                              16       Q. If you turn to page 15 of 124, at the top
  16   federal judge would tolerate, especially not in this
                                                              17   there's a posting from NeverHillary?
  17   court.
                                                              18       A. Yeah. I'm not NeverHillary.
  18       Q. If you turn to page 8 of 124, do you see
                                                              19       Q. I didn't ask you if you're NeverHillary.
  19   third from the bottom a comment by EOD?
                                                              20   Do you see that posting?
  20       A. No.
                                                              21       A. I see a posting from NeverHillary on --
  21       Q. I'm sorry. Third from the top. My
                                                              22       Q. And NeverHillary posts, "I'm okay with the
  22   apologies. EOD, third from the top.
                                                              23   executions." Do you see that?
  23       A. I see something from EOD.
                                                              24       A. I can read it says that.
  24       Q. Yes. He said, "Make illegally voting
                                                              25       Q. Okay. And then six spots down do you see
  25   punishable by death and watch people take notice of



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   1   it states, from a Snailmailtrucker, "execute them and    1   Do you see that?
   2   it will stop immediately ... are you willing to feed     2       A. I can read that it says that.
   3   them and pay for their medical for the rest of their     3       Q. Would you agree that the comments that
   4   miserable lives? F them!" Do you see that?               4   we've just read are threatening?
   5        A. It says that.                                    5          MR. LOCKERBY: Object to the form.
   6        Q. And then there's a 13 with a up arrow            6       A. That's an interesting question that
   7   underneath.                                              7   carries a lot of philosophical things. They are not
   8           MR. LOCKERBY: I would just register a            8   pleasant, by any stretch. I would find them to be
   9   standing objection to the "up arrow" question.           9   disgusting and sort of the thing that I personally
  10        A. There's a 13 written down.                      10   have comments made about me like this all the time,
  11        Q. And next to it is --                            11   not the least of which are some of the articles that
  12        A. There's an arrow.                               12   your PR firm helped place in this litigation in
  13        Q. -- arrow pointing up.                           13   places like Mother Jones and TP and Muckraker.
  14        A. Yeah. I've testified I don't know what          14       I had comments very similarly that were
  15   that is.                                                15   horrible, but you -- but I personally found them
  16        Q. If you turn to page 18 of 124, the third        16   inconvenient. And so when you ask me the question,
  17   comment from the bottom, Sons of Liberty, it says,      17   do I find these threatening, I find them familiar
  18   "Any sort of voting fraud should carry capital          18   because I have them made about me.
  19   punishment. The problem is that we have been            19       And so the question becomes are they genuinely
  20   completely infiltrated. Top to bottom." Do you see      20   threatening. I personally find them threatening but
  21   that comment?                                           21   not a genuine threat when they are made toward me.
  22        A. I can read that it says that.                   22       In other words, I've never called the police
  23        Q. And then underneath there's a comment from      23   when these sorts of comments are made about me. When
  24   bobruark, who says, "They will only notice if they      24   your PR firm placed those articles and those comments
  25   are actually put to death not just talked about it."    25   that were made about me in the coverage of this


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   1   lawsuit, I never called the police regarding any of      1          MR. LOCKERBY: And I'm just going to
   2   those threatening comments.                              2   register a standing objection to this line of
   3        Now this last one, "any sort of voting fraud        3   questioning to save time because the only relevant
   4   should carry capital punishment, the problem is we've    4   issues in this case would be the publications, not
   5   been completely infiltrated top to bottom," that one     5   third-party publications and comments.
   6   actually seems to be an expression of an opinion         6                (Adams Exhibit 10 marked for
   7   rather than a threat, because it is somebody's view      7          identification: Email correspondence
   8   toward public policy. Obviously very extreme and one     8          from (topmost) K Phillips sent
   9   with which I would not agree, but there's nothing in     9          4/5/2016 with attachment
  10   that particular one that appears to be threatening.     10          PILF-ADAMS-0038892 - 0038895)
  11        "They will only notice if they are actually        11          MR. TEPE: The court reporter is marking
  12   put to death, not just talked about it," that's a       12   Exhibit 10, a document with the Bates number 8 -- I'm
  13   little bit different than Sons of Liberty because       13   sorry -- 38892.
  14   they are actually seemingly advocating an action.       14       Q. Do you recognize this document?
  15        And so is it threatening in its nature yes,        15       A. No, not right now.
  16   but is it a genuine threat? I'd say no because I        16       Q. The first email in this chain is from you
  17   don't think I've ever been actually put to death        17   dated April 5th, 2016 to Steve Bannon.
  18   after those articles about this lawsuit appeared.       18       A. That's what it says.
  19   And so ultimately you have to decide what's a real      19       Q. And it's forwarding a press release about
  20   threat and what isn't a real threat.                    20   a lawsuit against the city of Philadelphia; is that
  21        And some of these are horrible, horrible           21   correct?
  22   comments, ones that I would never make and ones that    22       A. Appears to.
  23   I would disavow if I had the time to chase them down    23       Q. And Mr. Bannon responds to you asking,
  24   every day. But are they threatening to a particular     24   "what does this mean"; is that right?
  25   person? No, I don't think they are.                     25       A. It says that.



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                                                Page 50                                                     Page 51
   1       Q. And then you provide an answer that same          1        A. It says that.
   2   day, and I want to direct your attention to the          2        Q. Was that a reference to your lawsuit
   3   second sentence where it says, "we are about to sue      3   against the City of Alexandria?
   4   three other large urban areas in swing states for the    4        A. I don't know.
   5   same problem." Do you see that?                          5        Q. You did sue the City of Alexandria in
   6       A. It says that.                                     6   April, didn't you?
   7       Q. What are the swing states that you are            7        A. I don't -- I mean, possibly. I'm not
   8   referring to?                                            8   disagreeing with you. I just don't know.
   9       A. I'm not going to reveal that. That's              9        Q. And then the last sentence you say here
  10   privileged. You're asking for work product.             10   is, "big cities that turn states one way or another
  11       Q. Why did you refer to those as swing              11   in presidential elections." Do you see that?
  12   states?                                                 12        A. It says that.
  13       A. Again, I'm not going to answer your              13        Q. What was the import of adding that last
  14   questions about these potential cases, and I don't      14   sentence?
  15   recall specifically what swing states were.             15        A. Because that is what differentiates media
  16       Q. Mr. Bannon responds, "Can we play this           16   interest in a lawsuit versus media interest in a case
  17   up???" Do you see that?                                 17   such as ACRU vs. Jefferson Davis County Mississippi,
  18       A. He says that or the email reflects him           18   for which there was no interest in covering that
  19   saying that.                                            19   case.
  20       Q. And then you respond, "sure, or you can          20        Q. But your sentence is not about coverage;
  21   wait for when we sue the next large urban area in a     21   it's about turning states one way or another in
  22   key swing state."                                       22   presidential elections, correct?
  23       A. The email says that.                             23        A. My answer remains the same. What
  24       Q. Then it says, "coming in the next three          24   generates media interest in litigation, as many
  25   weeks." Do you see that?                                25   people know, is places that create media interest,


                                                Page 52                                                     Page 53
   1   and, as I said a moment ago, big cities create far       1       A. No. Where? "But I'm grooming them for
   2   more media interest in cases than a case such as ACRU    2   something down the road."
   3   vs. Jefferson Davis County Mississippi, a case which     3       Q. "-- VA, NC or FL." I'm sorry.
   4   I brought and am very familiar with the level of         4       A. Go ahead.
   5   media interest in that case.                             5       Q. "When Bannon," quote, "goes large," closed
   6       Q. Mr. Bannon responds, "let's wait, but get         6   quote, "he goes really large." Do you see that?
   7   to us when you need us to go large." Do you see          7       A. Not yet.
   8   that?                                                    8       Q. The sentence right after "VA, NC or FL."
   9       A. It says that.                                     9       A. Right, I see that.
  10       Q. And then you forwarded his response to           10       Q. VA, NC or FL, are those swing states?
  11   folks internally at PILF, correct?                      11       A. You shouldn't have this document. This
  12       A. There is an email to people at PILF              12   should be clawed back, this portion at least, and I'm
  13   forwarding the Bannon email.                            13   not going to answer any questions about it. That
  14       Q. And in that email you quote, "when you           14   should have been redacted.
                                                               15          MR. TEPE: Counsel, do you want to go off
  15   need us to go large," closed quote.
                                                               16   the record?
  16       A. That's what it says.
                                                               17          MR. LOCKERBY: Not particularly, but if
  17       Q. Do you know why you quoted that portion of
                                                               18   you want to we can.
  18   his email?
                                                               19          MR. TEPE: Why don't we go off the record.
  19       A. Right. Yes, I do.
                                                               20          MR. LOCKERBY: Okay.
  20       Q. Okay. Why?
                                                               21          VIDEO SPECIALIST: We are off the record,
  21       A. Because it was Mr. Bannon volunteering to
                                                               22   10:17.
  22   cover whatever it is we were referring to.
                                                               23       (Proceedings recessed)
  23       Q. Then in the next paragraph, I think it's
                                                               24          VIDEO SPECIALIST: We're back on the
  24   the fourth sentence in the email says, "but I'm
                                                               25   record, 10:37.
  25   grooming them." Do you see that?



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                                               Page 54                                                      Page 55
   1   BY MR. TEPE:                                            1       A. Pigford.
   2       Q. Mr. Adams, before the break we were              2       Q. What is that? I'm sorry?
   3   discussing the present exhibit in front of you,         3       A. P-I-G-F-O-R-D.
   4   Exhibit 10, and you wanted certain information to be    4       Q. Okay. But not -- but not their four-page
   5   redacted, correct?                                      5   coverage of the Alien Invasion I report?
   6       A. More or less. I think what happened was I        6       A. That's my testimony.
   7   said I wasn't going to testify about certain            7       Q. You can put this document aside.
   8   information that should be redacted.                    8               (Adams Exhibit 11 marked for
   9       Q. Okay. And my understanding is that the           9          identification: "Watchdog claims 5k
  10   identity of the jurisdictions or states listed is      10          Noncitizens Registered to Vote in
  11   what you would like to have redacted; is that right?   11          Virginia" with attachment)
  12       A. Correct.                                        12       Q. The court reporter has marked as Adams
  13       Q. Okay. So what I'll do is, I will ask            13   Exhibit 11 a copy of another Breitbart article.
  14   questions that do not pertain to the identity of       14   Would you agree with that?
  15   those jurisdictions, fair enough?                      15       A. Exhibit 11, no, I would not agree with
  16       A. Fair enough.                                    16   that. It's more than a copy of a Breitbart article.
  17       Q. In the statement that says, "when Bannon        17       Q. It's a copy of a Breitbart article plus
  18   goes large, he goes really large," you saw that,       18   comments to that article.
  19   right?                                                 19       A. It appears to be that.
  20       A. It says that.                                   20       Q. And this article is titled "Watchdog
  21       Q. Do you consider Breitbart's coverage of         21   Claims 5k Noncitizens Registered to Vote in
  22   Alien Invasion I to be an example of going large?      22   Virginia"?
  23       A. Not really.                                     23       A. That's what the headline says.
  24       Q. What do you consider to be an example of        24       Q. It's dated May 30th of 2017?
  25   Breitbart going large?                                 25       A. That's what the article says.

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   1        Q. And it contains coverage of PILF's Alien        1   registration form to the answer, "Are you a citizen
   2   Invasion II report; is that right?                      2   of the United States of America?"
   3        A. I'm trying to find where it says that.          3       A. Well, it's more than that. It's voter
   4        Q. Well, there's a --                              4   registration forms of individuals who checked no that
   5        A. Oh, there's a picture on the third page.        5   they were citizens of the United States of America
   6        Q. Right. This is -- they've actually posted       6   and yet were still registered to vote in Virginia.
   7   the content of at least some of the report, correct?    7       Q. Right. And you, in Alien Invasion II,
   8        A. Where do you see that?                          8   found 40-some odd examples out of 700 voter
   9        Q. Well, where you see the image, right above      9   registration forms that you looked at, correct?
  10   it is Alien Invasion II by Public Interest Legal       10       A. I didn't look at any voter registration
  11   Foundation on S-C-R-I-B-D, SCRIBD.                     11   forms.
  12        A. It says that.                                  12       Q. You can put this document aside.
  13        Q. And at SCRIBD -- you post documents on         13       You recall that PILF secured coverage in other
  14   SCRIBD, right?                                         14   media besides Breitbart, correct?
  15        A. Right, but they didn't post the content at     15       A. If you have something to refresh my
  16   Breitbart, it doesn't look like, but I don't know.     16   recollection, I can talk about it. I'm sure we did,
  17   It doesn't appear that from the paper copy. It         17   but I don't have any specific recollection.
  18   appears they posted a link to the content. There's a   18       Q. I can provide you with a couple of
  19   difference.                                            19   examples.
  20        Q. Fair enough. And also there's images of        20               (Adams Exhibit 12 marked for
  21   voter registration forms, two voter registration       21          identification: Email correspondence
  22   forms in the article?                                  22          from (topmost)
  23        A. Two, right.                                    23          adams@electionlawcenter sent
  24        Q. And these two voter registration forms are     24          6/2/2017 PILF-ADAMS-0014964)
  25   for individuals who checked no on their voter          25       Q. The court reporter has marked as Exhibit



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                                                Page 58                                                      Page 59
   1   12 a document with the Bates number 14964. Do you        1       Q. I'm trying to clarify your testimony. Is
   2   see that?                                                2   that your testimony?
   3       A. 14964, Exhibit 12, I have that.                   3       A. My testimony was I can't answer that
   4       Q. And it is an email from you dated June            4   without seeing the document. There is some chance
   5   2nd, 2017?                                               5   that this is a derivative story that never mentions
   6       A. It says that that's what it is.                   6   Alien II. That's how the media works. That there
   7       Q. And the subject line is "Report: More than        7   can be a story that mentions the problem but not the
   8   5,000 Noncitizen Voters Purged From Rolls in VA | Fox    8   source of discovery of the problem.
   9   News Insider." Do you see that?                          9       So it would be easier to answer your question
  10       A. I read that as the subject header.               10   if you gave me a copy of the linked story.
  11       Q. And then there's a link to a Fox News            11                (Adams Exhibit 13 marked for
  12   story, correct?                                         12          identification: Email correspondence
  13       A. There's a link after that.                       13          from (topmost) L Churchwell sent
  14       Q. Right. And this is a link to coverage of         14          5/30/2017 PILF-ADAMS-0046157)
  15   the Alien Invasion II report, correct?                  15       Q. The court reporter has marked as Exhibit
  16       A. If you show me the story, I can answer           16   13 a document with the Bates number 46157. Do you
  17   that. I can't answer that from Exhibit 12. There's      17   see that?
  18   a chance it is, there's a chance it isn't, but if you   18       A. Yeah, I see that document.
  19   have the actual document, I can answer questions        19       Q. Do you recall forwarding an article from
  20   about it.                                               20   the Daily Caller or a link to an article on the Daily
  21       Q. So you think there's a chance that the           21   Caller May 30th, 2017?
  22   linked story, which has a title, "More than 5,000       22       A. No.
  23   Noncitizen Voters Purged from Rolls in VA," is not      23       Q. But this document reflects that you sent
  24   about Alien Invasion II?                                24   an email on May 30th to Logan Churchwell, correct?
  25       A. That wasn't my testimony.                        25       A. That's what the document reflects.

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   1       Q. And in the email you sent a link to a             1       Q. And you have appeared on TV to discuss the
   2   Daily Caller article titled "Virginia booted 5,556       2   Alien Invasion reports, correct?
   3   noncitizens from voter rolls, report says."              3       A. I think we already covered that, didn't
   4       A. Okay. You're reading the link on Exhibit          4   we? I was on Lou Dobbs. You showed me a document
   5   13, you're not reading the headline, and that's what     5   that refreshed my recollection regarding an
   6   the document says.                                       6   appearance that probably occurred on Lou Dobbs,
   7       Q. You can put that aside. Actually you ask          7   although it was left open whether or not it actually
   8   in the subject line, "What's with Pickett?" And then     8   occurred. It would not surprise me that I did.
   9   in the body you say, "What's up with her?" Did you       9       Q. Do you recall appearing on Fox & Friends
  10   have a problem with this article?                       10   to provide an exclusive unveiling of Alien Invasion
  11       A. I testified I don't have a specific              11   I?
  12   recollection of this particular article.                12       A. Exclusive unveiling? No, I don't.
  13       Q. PILF also promoted the Alien Invasion            13       Q. Do you recall appearing on Fox & Friends
  14   reports on TV, correct?                                 14   to discuss Alien Invasion I?
  15          MR. LOCKERBY: Object to the form.                15       A. Probably. That, I think, but I don't
  16       A. I don't understand what you mean by PILF         16   remember when that was, but I have some recollection
  17   promoted. I --                                          17   of appearing on Fox & Friends to discuss Alien I.
  18       Q. PILF discussed the Alien Invasion reports        18   Whether or not it was exclusive, I don't -- I would
  19   on TV, correct?                                         19   disagree with that.
  20       A. Well, it wouldn't surprise me that               20       Q. Right, because we saw there was coverage
  21   somebody who works at PILF discussed the Alien          21   of Alien Invasion I on Breitbart, for example, so it
  22   Invasion reports on TV. But if you have a specific      22   wouldn't be exclusive.
  23   example you want me to talk about, perhaps you could    23       A. Well, "exclusive" is a term of art in the
  24   either reference it or refresh my recollection with a   24   media that I'm not sure you're asking a question that
  25   document.                                               25   reflects the usage of the term in an accurate way.



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                                               Page 62                                                     Page 63
   1   So I don't understand the question.                     1   not -- I don't know where this comes from. There's
   2       Q. On May 30th, 2017, when Alien Invasion II        2   like a University of Virginia logo at the top middle
   3   was released, you appeared on Tucker Carlson Tonight    3   of the screenshot.
   4   on Fox News; is that right?                             4       So I don't know what -- what sort of document
   5       A. I don't know.                                    5   this is ultimately. It's some kind of screen capture
   6               (Adams Exhibit 14 marked for                6   and attempt at doing a transcript.
   7          identification: Screenshots re Fox               7       (Video clip played)
   8          News May 30, 2017).                              8       Q. We've just played a clip of your
   9          MR. TEPE: The court reporter has marked          9   appearance on Tucker Carlson, would you agree?
  10   as Exhibit 14 printouts from a website that reflect    10       A. It appears to be that.
  11   an appearance by Mr. Adams on Tucker Carlson's         11       Q. And that's you speaking right there?
  12   program on May 30th, 2017.                             12       A. It is.
  13       Q. Do you agree with that?                         13           MR. TEPE: We're going to provide the
  14       A. No, I don't.                                    14   court reporter and mark as Exhibit 14-A a copy of
  15       Q. What do you disagree with?                      15   this clip.
  16       A. The transcript. I found a number of             16                 (Adams Exhibit 14-A marked
  17   nongrammatical and implausible things, so I take       17           for identification: Video clip)
  18   issue with the transcript.                             18           MR. LOCKERBY: For the record, will the
  19       Q. Okay. But the question is, to refresh           19   entire interview be the clip or just the part that
  20   your recollection, sir, does this refresh your         20   was displayed?
  21   recollection that you appeared on Tucker Carlson's     21           MR. TEPE: The entire interview. We just
  22   program on May 30th of 2017?                           22   want Mr. Adams to authenticate that, yes, he did
  23       A. Right, and I've appeared on his show            23   appear on Tucker Carlson's program, and that this is
  24   multiple times. So the document purports -- and I      24   indeed him.
  25   don't know what the source of this is. This is         25           MR. LOCKERBY: We would stipulate to that.

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   1          MR. TEPE: Okay.                                  1   underneath the words "Key Findings"?
   2       Q. Mr. Adams, in preparation for your               2       A. Well, I'm not sure where these came from.
   3   appearance on Mr. Carlson's program at that time, do    3   These might have been from the report. I don't know
   4   you recall asking your team to find voter               4   for sure.
   5   registration forms with outlandish names?               5       Q. The Key Findings.
   6       A. Oh, I sure do. And there's a reason for          6       A. I just said I don't know where they came
   7   that.                                                   7   from. They might have been from the report. They
   8               (Johnson Exhibit 25                         8   might have been quoting the report, but it's on the
   9          previously marked for identification             9   document, Johnson 25.
  10          and referenced herein: Email                    10       Q. And then you got a response from
  11          correspondence from (topmost) N                 11   Mr. Carlson's booker; is that right?
  12          Johnson sent 5/26/2017                          12       A. Where do you see that?
  13          PILF-ADAMS-000770 - 0000771)                    13       Q. Kelly McNally, senior booker, Tucker
  14          MR. TEPE: I'm handing the witness what          14   Carlson Tonight.
  15   has been previously marked as Johnson Exhibit 25.      15       A. Right, 5:40, it says that.
  16       Q. Do you recall this email chain?                 16       Q. And then you forwarded this internally and
  17       A. Yep.                                            17   asked, "can you get me a few pages of just the screen
  18       Q. It begins with an email from you May 26th,      18   captures of some no checkboxes?" Do you see that?
  19   2017 to Tucker Carlson. Do you see that?               19       A. It says that.
  20       A. That's what it says.                            20       Q. You said, "pick ones with outlandish
  21       Q. And you sent him an embargoed release on a      21   foreign names, particularly Middle Eastern, if they
  22   report we are putting out on Tuesday. That was Alien   22   exist." Right?
  23   Invasion II, correct?                                  23       A. That's what it says.
  24       A. It most likely was.                             24       Q. Why did you want your team to pick
  25       Q. And then you have a bunch of bullets            25   outlandish foreign names?



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   1       A. Because it starkly illustrates the defect         1   an individual that I cannot even pronounce. It
   2   in the existing voter registration system in Virginia    2   appears to be Malaysian, which is exactly, by the
   3   and generally across the country with the honor          3   way, what I was really asking for here.
   4   system of election registrars not checking               4       And every single time that that voter
   5   citizenship.                                             5   registration official keys in a letter, if their eye
   6       If you were to look at Adams Deposition              6   would only go up two degrees on the form or perhaps
   7   Exhibit 11 from today, the Breitbart article, there's    7   an inch or less, when they were typing the form in
   8   a perfect example to answer your question.               8   for Adams Exhibit 11 that's referenced and shown,
   9       And on that article there is a copy of a voter       9   which is Myagmarradnaa Batbold, it's an extremely
  10   registration application with a name that I think       10   long, foreign name that is very unfamiliar to most
  11   would qualify here, and that is why this is             11   Americans, and at any one of those keystrokes, had
  12   important, and it's critically important actually, is   12   the election official merely glanced up a quarter
  13   you need to remember that these particular -- should    13   inch, they would have seen, "Are you a citizen of the
  14   we stop or -- I'm sorry.                                14   United States of America?" and the answer of
  15       Q. No, no.                                          15   Myagmarradnaa Batbold was "no" in Adams Exhibit 11,
  16       A. These particular voter registration forms        16   and at that point this person should have never been
  17   are almost universally entered by hand. So there's      17   registered to vote.
  18   an election official who is entering these voter        18       So if you can produce voter registration
  19   registration forms by hand. The person who is           19   forms, as I asked for, of different types of names
  20   entering them by hand also has the obligation of        20   that would be unfamiliar to the election official who
  21   ensuring that the form is filled out correctly. If      21   was hand keying in the name, it would be a greater
  22   you were to look at Adams Deposition Exhibit 11, you    22   illustration of the failure of the system to register
  23   see a perfect example of what I'm trying to point out   23   the voter who explicitly marked, no, they are not a
  24   and ask for.                                            24   citizen of the United States, as this particular
  25       And here you have a voter registration name of      25   election official did.


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   1       And, by the way, that logic, I think, is one         1        Q. PILF looked at over 700 voter registration
   2   that is shared by common sense Americans who may have    2   applications, correct?
   3   been viewing the Tucker Carlson Show, and they could     3        A. Well, that was a question for last
   4   see the voter registration forms as problematic. And     4   Thursday.
   5   I wouldn't be surprised if this particular form from     5        Q. PILF -- you're the president of PILF,
   6   Myagmarradnaa Batbold was given to the Carlson show.     6   correct?
   7       Q. Alien Invasion II, the scope of Alien             7        A. Right.
   8   Invasion II, was not limited to those individuals who    8        Q. Yes. And you worked on the Alien Invasion
   9   checked no on the voter registration form to the "Are    9   II report.
  10   you a citizen of the United States?" question,          10        A. I didn't work on that part of it, no, I
  11   correct?                                                11   did not.
  12       A. That's incorrect. It actually was limited        12        Q. You didn't read it and approve its
  13   to that because election officials had told us that     13   release?
  14   you don't get on the voter registration noncitizen      14        A. That's a different question you're asking
  15   declared -- strike that.                                15   me.
  16       It actually is incorrect because election           16        Q. My question, sir, is: It is true that
  17   officials told us you do not get on the declared        17   PILF reviewed over 700 voter registration
  18   noncitizen cancellation list unless at some point you   18   applications, correct?
  19   answered no to the citizen checkbox question. So I      19        A. And I answered you. I don't know.
  20   very much disagree with your question. It's wrong.      20        Q. And of those 700 plus voter registration
  21       Q. Your -- strike that. In Alien Invasion II        21   applications, only 40 something showed individuals
  22   you looked at over 700 voter registration               22   checking the "are you a citizen" box, no, such as the
  23   applications, correct?                                  23   ones that you provided to the Tucker Carlson Show?
  24       A. Well, I personally did not, no, that's not       24        A. No, I disagree completely because they
  25   correct.                                                25   would not have ended up on the declared noncitizen



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   1   list if at some point they hadn't marked the citizen     1   that, correct?
   2   checkbox no. There's absolutely no way that anybody      2       A. I don't understand what you're talking
   3   could end up on that list, according to what election    3   about. Representative? He's not multiply listed.
   4   officials told me, unless at some point in the           4       Q. Right. But you said that this
   5   process they testified under oath on a voter             5   individual's name would key election officials to the
   6   application form under penalty of perjury that they      6   fact that this person was probably not a citizen.
   7   were not a citizen of the United States.                 7       A. That's not what I testified to.
   8        Q. Was the goal of providing these voter            8       Q. Okay.
   9   registration applications on -- or images -- on          9       A. If you'd like, I'll clarify it so you
  10   Tucker Carlson's show to get his viewers outraged?      10   understand this clearly.
  11        A. Our goal was to exercise our First              11       Q. Certainly.
  12   Amendment right to illustrate a problem in the system   12       A. What I testified to was the longer the
  13   that only the most unreasonable people would disagree   13   name and the less familiar with the name, you -- you
  14   with is a problem, and that the vast majority of        14   cranked in there would key them in to being a
  15   Americans agree is a problem, and federal law bans,     15   noncitizen. That's not what I testified to.
  16   which is the involvement of foreign nationals in U.S.   16       What I testified to was the longer the name,
  17   federal elections.                                      17   the more time the election official had to glance
  18        And so the goal on the Tucker Carlson Show was     18   less than an inch up on the form and see.
  19   to starkly illustrate defects in the system that is     19       So this name provided an election official
  20   allowing people who are not Americans to vote in        20   with ample opportunity to do their job correctly and
  21   American elections. That was the goal.                  21   look up at the "are you a citizen question," which is
  22        Q. The individual that you just testified          22   marked no, and to never have allowed this person to
  23   about who you thought was Malaysian, such names are     23   get on the rolls. It is a classic example of how the
  24   not representative of the names listed in the           24   system is totally, completely broken.
  25   Virginia cancellation reports. You would agree with     25       Q. So is it your testimony that it's not --

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   1   strike that.                                             1   some might not like to hear this, but it's
   2        Is it your testimony that the length of the         2   commonsensical -- that, if a name is incredibly
   3   name should provide the election officials an            3   unfamiliar to the election official, it might clue
   4   indication as to whether or not they're a citizen?       4   them in as a matter of common sense to glance at the
   5        A. Yes, and let me explain why. First of            5   "Are you a citizen of the United States?" checkbox,
   6   all, the length of the name, most names that election    6   like on Deposition Exhibit 11, that was marked no,
   7   officials see are shorter than the one in Adams          7   and so if a name is not familiar, then it is not a
   8   Exhibit 11 that is referenced in the exhibit. So         8   controversial characteristic of human behavior to
   9   that's the first part.                                   9   look at the question on the form that relates to
  10        But the second part is the length of the name,     10   whether or not you're a U.S. citizen.
  11   every single one of those letters provides a            11       Q. The exhibit we were just looking at,
  12   keystroke, and every single one of those letters        12   Johnson 25 --
  13   involving a keystroke is an opportunity to glance up.   13       A. Johnson 25? Right, Johnson 25.
  14   It is a more time spent on the application.             14       Q. When you were asking for folks at PILF to
  15        So the longer the name obviously provides an       15   pick ones with outlandish foreign names, you said,
  16   opportunity for the election official to do the job     16   "particularly Middle Eastern, if they exist." Do you
  17   right, which in this particular instance they did not   17   see that?
  18   do.                                                     18       A. It says that.
  19        Q. Is it also your testimony that, if the          19       Q. Why did you want Middle Eastern names?
  20   name is unfamiliar to the election official, that       20       A. They tended to be the longest. The only
  21   should also provide an indication as to their           21   names that I've seen that are longer than Middle
  22   citizenship?                                            22   Eastern names are Malaysian names, which I think
  23        A. Unfamiliar is not the keyword. The              23   Deposition Exhibit 11, actually the one I've been
  24   correct -- the correct characterization of my           24   quoting, I think that is a Malaysian name. I did not
  25   testimony is foreign. And common sense would show --    25   have confidence that my staff would be able to



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   1   differentiate between a Malaysian name and a            1   testimony is. It's a moment in the administrative
   2   non-Malaysian name, but I knew they would be able to    2   process that has failed at least in one circumstance,
   3   differentiate between a Middle Eastern name and a       3   and, as we now know around the country, in many, many
   4   non-Middle Eastern name. And on top of that, Middle     4   circumstances.
   5   Eastern names are probably the longest in the entire    5       And so the name is a great starting point
   6   option of long names in the world.                      6   to -- to carefully scrutinize the application, which
   7        Q. Are there any other aspects of a person's       7   should have been done in the first place but
   8   name that you believe should provide election           8   obviously is not always done.
   9   officials with clues as to citizenship?                 9       Q. On October 3rd, 2016 you were interviewed
  10          MR. LOCKERBY: Object to the form of the         10   by Dana Loesch on the BlazeTV; is that right?
  11   question, misstates the witness's testimony.           11       A. I don't know.
  12        A. "Any other aspects" ... I mean, I think        12                (Adams Exhibit 15 marked for
  13   I've testified to two of them.                         13           identification: YouTube screenshot
  14        Q. Right. And so is there a third? I'm just       14           from theblaze "Christian Adams Joins
  15   trying to understand.                                  15           Dana")
  16        A. There could be.                                16       Q. The court reporter has marked as Exhibit
  17        Q. Is there any other aspects sitting here        17   15 a printout from YouTube. Does this refresh your
  18   today that you believe provide an indication as to     18   recollection as to an appearance with Ms. Loesch?
  19   citizenship?                                           19       A. It doesn't because I've appeared on her
  20        A. Well, I didn't say it provided an              20   show many times. I'm not disputing the fact that
  21   indication as to citizenship. You're, once again --    21   that is me on Exhibit 16, but about the specific
  22        There are aspects of the names that provide an    22   appearance, it doesn't refresh my recollection other
  23   indication to the election official that they ought    23   than there's a good chance that it occurred.
  24   to look at whether or not the citizenship checkbox     24       Q. This document, which, again, is a printout
  25   was filled out, yes, that's -- that's what my          25   from YouTube, indicates BlazeTV, on October 3rd,


                                               Page 76                                                      Page 77
   1   2016, "Christian Adams joins Dana," correct, that's     1       Q. You appeared on the John Fredericks Show
   2   what it says there?                                     2   on June 1st, 2017 to talk about Alien Invasion II; is
   3       A. I don't see that. Okay. Right, there it          3   that right?
   4   is.                                                     4       A. I don't know who John Fredericks is. I
   5       (Video clip played)                                 5   can't tell you. I have no recollection of who John
   6       Q. We just played a clip of your appearance         6   Fredericks is.
   7   on Ms. Loesch's program. Do you recognize yourself      7                (Adams Exhibit 16 marked for
   8   there on the screen?                                    8          identification: YouTube screenshot
   9       A. Right.                                           9          John Fredericks Show)
  10       Q. Do you have any reason to doubt that you        10       Q. The court reporter has marked as Exhibit
  11   appeared on her program to talk about the Alien        11   16 a printout also from YouTube indicating an
  12   Invasion I report?                                     12   appearance by you on The John Fredericks Show. Does
  13       A. No.                                             13   this refresh your recollection?
  14       Q. Thank you. We will move this as Exhibit         14       A. No, it doesn't. I don't know who John
  15   15-A.                                                  15   Fredericks is. I'm sorry.
  16                (Adams Exhibit 15-A marked                16       Q. The John Fredericks Show airs on multiple
  17          for identification: Video clip)                 17   radio stations in Virginia. Do you recall that?
  18       Q. You've also made a number of radio              18       A. No.
  19   appearances, correct?                                  19       (Video/audio clip played)
  20       A. I've made hundreds of radio appearances.        20       Q. We're playing a clip of your appearance.
  21       Q. And in some of those appearances you spoke      21   Does this refresh your recollection? Does this
  22   about the Alien Invasion reports, correct?             22   refresh your recollection of appearing on the John
  23       A. Probably, but not necessarily. If you           23   Fredericks Show?
  24   have a specific one to refresh my recollection, I'd    24       A. It doesn't, but it refreshes my
  25   be happy to talk about it.                             25   recollection of giving the article to someone at



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   1   Skadden Arps who got it placed in the Bull Elephant      1   that that's my voice.
   2   and probably arranged for this media interview.          2       Q. Well, that's my question now. Thank you.
   3       So perhaps you-all have some documents that          3       A. Right.
   4   would better refresh my recollection, because I have     4          MR. TEPE: We'll mark this as Exhibit
   5   no memory of this.                                       5   16-A.
   6       Q. Okay. Strike the response.                        6                (Exhibit 16-A marked for
   7       Does this refresh your recollection of               7          identification: Video/audio clip)
   8   appearing on the John Fredericks Show?                   8       Q. On March 2nd, 2017 you were interviewed on
   9       A. It does not. And, as a matter of fact, it         9   the program Mornings on the Mall, yes?
  10   refreshes my recollection no more than the fact that    10       A. I don't know.
  11   I was possibly asked if it involves the Bull Elephant   11                (Adams Exhibit 17 marked for
  12   that somebody at Skadden Arps has the documents         12          identification: Re podcast Mornings
  13   related to this interview, because I have no memory     13          on the Mall March 2, 2017)
  14   of this except that it related to Skadden Arps lawyer   14       Q. The court reporter has marked as Exhibit
  15   who made the arrangements probably for this to occur    15   17 a document that is a printout indicating an
  16   because it's in the Bull Elephant.                      16   appearance by you on Mornings on the Mall. Does this
  17       (Video/audio clip played)                           17   refresh your recollection?
  18       Q. This is -- this is you speaking, correct?        18       A. No.
  19       A. It sounds like me speaking.                      19       Q. The printout indicates that you appeared
  20       Q. Do you have any reason to doubt that you         20   on March 2nd, 2017. Are you familiar with the
  21   appeared on the John Fredericks Show on June 1st,       21   program Mornings on the Mall?
  22   2017 to talk about Alien Invasion II?                   22       A. I'm not sure it still exists, but I
  23       A. I'm not disputing whether or not I               23   recognize the name of the program.
  24   appeared. You asked me if my recollection was           24       Q. It was a program aired on WMAL here in
  25   refreshed, and, no, it isn't, but I'm not disputing     25   D.C.?


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   1        A. Correct.                                         1       A. Right. I can speak for me.
   2        (Audio clip played)                                 2       Q. Right.
   3        Q. Do you recognize your voice?                     3       A. And what was your question as it relates
   4        A. Yes.                                             4   to me?
   5        Q. We don't have keyed up the beginning where       5       Q. Well, you wanted to share the Alien
   6   it announces your appearance on WMAL. We can find        6   Invasion reports with as many viewers as possible.
   7   that, if you want, but we're going to --                 7       A. I never thought about that, at least that
   8        A. Yeah. I don't have the ability to                8   I can remember.
   9   authenticate if this is me -- the entire interview or    9       Q. And you wanted to share the Alien Invasion
  10   not. There's no way I can. But that was my voice.       10   reports with as many readers as possible, right?
  11           MR. TEPE: We'll mark this entire clip as        11       A. Again, I have no recollection of ever
  12   17-A.                                                   12   consciously having that thought process that I can
  13                (Exhibit 17-A marked for                   13   remember right now.
  14           identification: Audio clip)                     14       Q. Would you agree that identifying large
  15        A. Which I haven't heard, by the way.              15   numbers of noncitizens would help PILF obtain
  16        Q. Understood.                                     16   publicity for its Alien Invasion reports?
  17        A. Okay.                                           17       A. Wait. Could you read that back? Would I
  18        Q. That's why it will be provided to the           18   agree that --
  19   court reporter.                                         19       (The record was read by the reporter.)
  20        PILF wanted to share the Alien Invasion            20       A. Well, I don't know what you mean by
  21   reports with as many viewers as possible; you would     21   "large." I think identifying any noncitizens who get
  22   agree?                                                  22   on the rolls is a noteworthy story to most
  23        A. Well, that was -- I can't speak for PILF        23   common-sense Americans who don't like noncitizens
  24   in this deposition.                                     24   being on the rolls.
  25        Q. You're the president of PILF.                   25       So I would say, even if it's not large



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   1   numbers, it's any noncitizens on the rolls is an         1   board member of PILF, correct?
   2   important story.                                         2       A. Correct.
   3               (Johnson Exhibit 26                          3       Q. And also Don Palmer is copied; is that
   4         previously marked for identification               4   correct?
   5         and referenced herein: Email                       5       A. Yes.
   6         correspondence from (topmost) N                    6       Q. And the subject line is "Congratulations
   7         Johnson sent 10/2/2016                             7   Everyone."
   8         PILF-ADAMS-0037501).                               8       A. That's what it says.
   9       Q. Handing the witness what has been marked          9       Q. And then it is, in the body of the email,
  10   as previously as Johnson 26.                            10   an image from the Drudge Report website; is that
  11       A. I have Johnson 26.                               11   right?
  12       Q. Do you recognize this document?                  12       A. I'm sorry. At the bottom of the email?
  13       A. It's -- I see Exhibit 26.                        13       Q. I said in the body of the email --
  14       Q. And at the bottom is an email from you           14       A. Oh, body.
  15   dated October 2nd, 2016 to a number of individuals      15       Q. -- there is an image from the Drudge
  16   associated with PILF; is that right?                    16   Report website; is that right?
  17       A. No, it's not right.                              17       A. It appears to be that.
  18       Q. Strike that. This is an email from you           18       Q. And this particular image has a link or --
  19   dated October 2nd, 2016, correct?                       19   strike that.
  20       A. It is. It says that.                             20       This particular image shows a link that says,
  21       Q. And it's to Ms. Phillips and Ms. Powell          21   "REPORT: 1,000 plus Illegal Voters in Virginia." Do
  22   and Mr. Johnson and Mr. Vanderhulst. Those are all      22   you see that?
  23   individuals with PILF, correct?                         23       A. Well, I might dispute the fact that it's a
  24       A. Correct.                                         24   link in the email, but it says that.
  25       Q. And it copies Hans von Spakovsky. He's a         25       Q. Right. And you've been on the Drudge


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   1   Report website, correct?                                 1       And so when I say "narrative," I mean accounts
   2       A. Are you asking if I have visited the              2   of whether something is or is not happening.
   3   Drudge Report website?                                   3   Plaintiff's counsel's law firms generally say it is
   4       Q. Yes. Yes.                                         4   not happening and a wide variety of other
   5       A. Yes.                                              5   organizations say it is happening.
   6       Q. And the Drudge Report provides links to           6       And so what I mean by this is how to develop
   7   other stories elsewhere on the Internet, correct?        7   the evidence and facts to weaponize the story in a
   8       A. It does do that.                                  8   way that disputes what the contentions are of the
   9       Q. Okay. You said here, above the image,             9   people who say it's not happening.
  10   "great lesson, how to generate, create, organize and    10       Q. So if I understand your answer, the
  11   weaponize narrative."                                   11   narrative is demonstrating that voter fraud by
  12       A. That's what the email says.                      12   noncitizens is not a myth.
  13       Q. What did you mean by "narrative"?                13       A. Well, I never said the word "voter fraud"
  14       A. Well, the country has endured people for         14   in my answer. As I recall, I thought I said
  15   years, not the least of which is some of your           15   registration by noncitizens.
  16   co-counsel in this case, arguing that noncitizen        16       Q. Okay.
  17   voting is a myth, a problem, not a problem or           17       A. Is that what the transcript says? Because
  18   otherwise made up entirely. And your co-counsel's       18   there's a difference.
  19   organizations, two of them, as a matter of fact, have   19       Q. I'm just trying to understand your answer.
  20   been part of that narrative.                            20       A. Well, I mean, one way to do that is to
  21       And what this means is that the truth can be        21   quote it correctly.
  22   obtained about whether or not noncitizens are getting   22       Q. So if I understand your answer, the
  23   on the rolls and in fact voting. And PILF is in the     23   narrative is demonstrating that voting -- that
  24   process of documenting that nationwide. We'll
                                                               24   noncitizen voting is not a myth.
  25   continue to do so.
                                                               25       A. That's part of it. That's a very small



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   1   part. But the bigger part is that there are defects      1        A. Well, I don't think anybody would disagree
   2   in the system that Congress needs to remedy, that        2   that 999 is different than 1,000.
   3   state legislatures need to remedy, that prosecutorial    3        Q. And then you said, "good example why below
   4   authorities need to take action and investigate.         4   is in the chosen Drudge headline," correct?
   5   Because it is not subject to dispute in my mind that     5        A. Chosen Drudge headline validated my
   6   noncitizens are getting on the rolls and voting.         6   general observation about people's public perceptions
   7   That is a fact.                                          7   about numbers.
   8       And so public policymakers need to respond           8        Q. And it was an "important psychological
   9   accordingly. And those who stand in the way of           9   frontier to cross," you say.
  10   fixing the problem, as I said, like plaintiffs' law     10        A. It says that.
  11   firms, need to realize that there is a problem and do   11        Q. And so just as it was important to cross
  12   something about it.                                     12   the 1,000 threshold, it was also important to cross
  13       Q. That noncitizen registration and voting is       13   the 5,000 threshold.
  14   a problem, not a myth. That's the narrative.            14        A. If you would show me the document you have
  15       A. Look, you can characterize it however you        15   ready, and I'll refresh my recollection about that.
  16   want. I wouldn't disagree with what your latest         16        Q. I'm just asking a question.
  17   question was, was a subset of that larger problem.      17        A. And I'm just giving you an answer. I
  18       Q. In the email above you said to the same          18   don't have a specific recollection of that.
  19   individuals listed, also on October 2nd, you wrote,     19        Q. I'm not asking for a recollection. Strike
  20   "Noel, remember our conversation on how important it    20   that.
  21   was to cross the one thousand mark (by adding           21
  22   Alexandria)." Do you see that?                          22              (Adams Exhibit 18 marked for
  23       A. It says that.                                    23         identification: Email correspondence
  24       Q. So you thought crossing 1,000 people was         24         from (topmost) N Johnson sent
  25   important, how?                                         25         5/22/2017

                                                Page 88                                                      Page 89
   1           PILF-ADAMS-0001050 - 0001052)                    1       A. Oh. Okay. I'm not very familiar with
   2       Q. The court reporter has marked as Exhibit          2   this document, but there's -- you've pulled out of
   3   18 a document with the Bates number 1050. Do you see     3   the middle email from 11:18 a.m., is that what you're
   4   that?                                                    4   asking about?
   5       A. I've been handed Deposition Exhibit 18.           5       Q. Correct.
   6       Q. And what I want to direct your attention          6       A. Okay. And you're asking me what it says?
   7   to is -- and just to set the stage -- you had            7       Q. My question was, directing you to this
   8   requested cancellation reports from the Virginia         8   email, do you see that Mr. Johnson wrote Mr. Cortes
   9   Department of Elections, right?                          9   May 5th, 2017, yes?
  10       A. I don't think I ever did, no.                    10       A. The email says that.
  11       Q. PILF did.                                        11       Q. And then Mr. Johnson said, "Thank you for
  12           MR. LOCKERBY: Object to the form of the         12   providing the VERIS report. I would like to make a
  13   question.                                               13   follow-up request for records under the NVRA." Do
  14           MR. TEPE: What's the objection?                 14   you see that?
  15           MR. LOCKERBY: Well, it assumes facts not        15       A. Right.
  16   in evidence. The requests were actually directed to     16       Q. And so does this recollection that you had
  17   registrars, and then the Department of Elections        17   received records from the Virginia Department of
  18   interceded and prevented that from happening.           18   Elections for a certain time period and then you
  19       Q. On May 5th Mr. Johnson, PILF, wrote to           19   asked for the same record but for an additional time
  20   Edgardo Cortes of the Virginia Department of            20   period?
  21   Elections, "Thank you for providing the VERIS report.   21       A. I don't think you understand. I didn't
  22   I would like to make a follow-up request for records    22   ask for any of these, okay.
  23   under the NVRA." Do you see that?                       23       Q. PILF.
  24       A. No. Where are you?                               24       A. Yeah, but I'm not on these emails. So the
  25       Q. Bottom of the first page.                        25   answer to your question is, no, I did not ask for



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   1   these.                                                   1       Q. Yes. So on May 22nd Mr. Johnson forwarded
   2       The question on Thursday might have been yes         2   Mr. Cortes's email to you and Mr. Churchwell,
   3   in my 30(b)(6), but the answer today in my personal      3   correct?
   4   is no, I didn't ask for these.                           4       A. Well, he forwarded the body of the email.
   5       Q. PILF asked for records, the same records          5   That's all that this 18 document -- Deposition 18
   6   that were provided by the Virginia Department of         6   Exhibit says. I can't speak to whether or not the
   7   Elections for the time period March 21st, 2017 to the    7   attachments were forwarded. I don't know.
   8   present, which would be May 5th, is that right,          8       Q. And then Mr. Churchwell responds, "Woohoo
   9   according to this email?                                 9   headline upgrade!" Do you see that?
  10       A. Okay. And your question is that they             10       A. I can read that it says that.
  11   asked for ... (reading) ... to the present, which       11       Q. And Mr. Johnson says "high five" in
  12   this is a May 5th email. That's what it says.           12   response.
  13       Q. And then Mr. Cortes attached a report with       13       A. Is there a question?
  14   activity from March 21st, 2017 to the present day,      14       Q. Do you see that?
  15   which at that point was May 22nd.                       15       A. I can read that it says that.
  16       A. The email says, attached is a report with        16       Q. And then Mr. Churchwell responds, "this
  17   activity from 3-21-17 until today. Whether or not       17   puts us just north of 5,500, right?" Do you see
  18   that report is attached or not, I have no earthly       18   that?
  19   idea, because I'm not on this email and I never saw     19       A. I can read that it says that.
  20   this email. It was not sent to me.                      20       Q. Okay. And so before you had received this
  21       Q. And then right above that Mr. Johnson            21   supplement of records from the Virginia Department of
  22   sends to you -- forwards Mr. Cortes's response -- on    22   Elections, PILF had received -- PILF had not received
  23   May 22nd, correct?                                      23   more than 5,000 names, correct?
  24       A. The email says that I am copied on an            24       A. I don't know.
  25   email from -- it forwards it to me.                     25         MR. LOCKERBY: Object to the form.


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   1       A. I mean, I don't know. You're obviously            1   recollection, I'd be happy to talk about it.
   2   focused in on this number far more than I was.           2               (Adams Exhibit 19 marked for
   3       Q. Well, apparently Mr. Churchwell seemed to         3          identification: Email correspondence
   4   like it. He said "woohoo headline upgrade."              4          from (topmost) N Johnson sent
   5       A. Mr. Churchwell is not sitting in this             5          5/31/2017 PILF-ADAMS-0000760)
   6   chair.                                                   6       Q. The court reporter has marked as Exhibit
   7       Q. What do you understand Mr. Churchwell to          7   19 a document with the Bates number 760. Do you see
   8   be intending by saying "woohoo headline upgrade"?        8   that?
   9       A. I don't know.                                     9       A. I have Deposition 19.
  10       Q. Did you respond to his email on May 22nd         10       Q. And do you recognize this as starting with
  11   saying what do you mean, "woohoo headline upgrade"?     11   an email that you sent to Mr. Churchwell copying
  12       A. Do you have an exhibit that would help           12   Mr. Johnson on May 31st of 2017?
  13   refresh my recollection?                                13       A. I see that. It says that.
  14       Q. So you have no recollection of sending           14       Q. Do you have any reason to doubt that you
  15   that question to Mr. Churchwell?                        15   sent this email?
  16       A. If you -- no, not as I sit here, but if          16       A. No, no reason to doubt I sent it.
  17   you have a document that would refresh my               17       Q. The subject line is "Roseanne Barr."
  18   recollection, I'll take a look at it.                   18       A. That's what it says.
  19       Q. Do you recall sending Noel Johnson an            19       Q. And in the body of your email you have an
  20   email on May 22nd asking him what he meant by "high     20   image of what appears to be a tweet from Ms. Barr.
  21   five"?                                                  21   Does that look accurate to you?
  22       A. I don't, but I wonder what they do mean by       22       A. No. Well, no, not necessarily. It's
  23   "headline upgrade," as I sit here now.                  23   something that she posted somewhere. YouTube maybe.
  24       Q. You can put that document aside.                 24       Q. Well, this is an image from Twitter,
  25       A. If you have a document that refreshes my         25   right?



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                                                Page 94                                                     Page 95
   1        A. I don't know. Are you representing it is?        1        Q. Okay. Now this clip here from YouTube is
   2   If you are, tell me and we can move forward. I don't     2   your appearance on Tucker Carlson, right?
   3   see something that says Twitter on it. I see YouTube     3        A. I don't know. I have no way of knowing
   4   on it. If you want to represent to me it's from          4   that. It's barely legible on Deposition Exhibit 19
   5   Twitter, I can answer your next substantive question.    5   that's in front of me. It's in black and white. You
   6        Q. Well, I mean, you tweet, correct, we             6   can't even tell if it's me.
   7   established that before, right?                          7        So there's lots of problems with that
   8        A. I've asked and answered that question.           8   assumption. If you want to represent to me that it
   9        Q. Yes. And based on your tweeting habits,          9   is, I will be happy to accept your representation as
  10   can you or can you not say that this appears to be an   10   accurate.
  11   image of a tweet from Roseanne Barr?                    11        Q. Well, the image, and I grant you it's in
  12        A. I wouldn't say it's inconsistent with a         12   black and white, is that not you being interviewed by
  13   tweet, but it says it's coming from YouTube, so ...     13   Tucker Carlson with the Capitol in the background and
  14        Q. Well, it appears to be a tweet from -- of       14   underneath it says, "Watchdog 5K Aliens Registered to
  15   Ms. Barr sending out a clip from YouTube.               15   Vote"?
  16        A. If that's what you're representing to me        16        A. The headline actually or the thing -- the
  17   it is, I have no reason to quarrel with that.           17   part you just read, "Watchdog 5K," actually has more
  18        Q. Okay. Well, I'm just asking for your            18   weight to me than the blocked image of what might be
  19   testimony as to what your understanding is since you    19   me, but I'm not going to quarrel with you. I just --
  20   sent this out.                                          20   if you tell me it is, we can move forward.
  21        A. And I've testified I don't have one.            21        Q. So it appears that Ms. Barr sent out a
  22        Q. Ms. Barr said in her tweet, "five thousand      22   clip of your appearance on Tucker Carlson with the
  23   illegals voted for Hillary in Virginia." Do you see     23   notation, "5,000 illegals voted for Hillary in
  24   that?                                                   24   Virginia." Do you agree with that?
  25        A. I see it says that.                             25        A. I agree that that's what the document


                                                Page 96                                                     Page 97
   1   says.                                                    1            ElectionLawCtr tweets)
   2       Q. And Mr. Johnson responds to your email by         2        Q. The court reporter has marked as Exhibit
   3   saying, "Roseanne taking it up a notch from 5,000        3   20 an image of your tweets under the handle at
   4   noncitizen removals to 5,000 illegal votes for           4   Election Law Ctr; is that correct?
   5   Hillary." Do you see that?                               5        A. That's what the document, Exhibit 20, has.
   6       A. I see that it says that.                          6        Q. And this reflects tweets that you made
   7       Q. Do you recall tweeting out a response to          7   with regard to the Alien Invasion I report; is that
   8   Ms. Barr that her tweet was inaccurate?                  8   right?
   9       A. If you have that, we could save a lot of          9        A. Well, I don't have any reason to doubt the
  10   time, because I don't have any recollection of that.    10   authenticity of this. If you want to -- if you want
  11       Q. You can put that document aside.                 11   to stipulate or otherwise represent that that's what
  12       You have your own Twitter handle; is that           12   it is, I have no reason to disagree.
  13   correct?                                                13        Q. So this does reflect tweets that you may
  14       A. You mean my name on Twitter? It's not my         14   have written with regard to the Alien Invasion I
  15   name. It's E-L -- it's something like E-L-E-C-T,        15   report.
  16   Election Law Center.                                    16            MR. LOCKERBY: Object to the form.
  17       Q. And you've tweeted under this Election Law       17        A. I have no reason to doubt that this is
  18   Center handle with regard to the Alien Invasion         18   authentic. Do I know with absolute certainty these
  19   reports, have you not?                                  19   are my tweets? No. But if you want to represent to
  20       A. I would be surprised if I didn't, but I          20   me that that's where you pulled them from, I'll
  21   don't have a specific recollection. If you have a       21   accept your representation.
  22   document to refresh my recollection, it would be        22        Q. That is where we pulled them from. Does
  23   helpful.                                                23   this refresh your recollection -- strike that.
  24               (Adams Exhibit 20 marked for                24        One of the tweets you said is at the top,
  25          identification: Printout of                      25   October 2nd, 2016, read report, "I just talked about



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                                                Page 98                                                      Page 99
   1   on Fox News about thousand plus foreigners registered    1   II report; is that correct?
   2   or voting in Virginia." Do you see that?                 2        A. I would be surprised if I did not tweet
   3       A. That's what it says.                              3   about the Alien Invasion II report, but if you have a
   4       Q. When you said "foreigners" there, was that        4   document to specifically refresh my recollection, I'm
   5   synonymous with noncitizens?                             5   more than happy to look at it.
   6       A. Well, words speak for themselves.                 6                (Adams Exhibit 21 marked for
   7       Q. No, I'm asking what you were intending by         7          identification: Printout of tweets
   8   the word foreigners.                                     8          from ElectionLawCtr)
   9       A. I have a hard time thinking of an example         9        Q. The court reporter has marked as Exhibit
  10   of a noncitizen who wouldn't be a foreigner. Maybe      10   21 -- does this refresh your recollection as to
  11   John Demjanjuk would be a counter-example, but I have   11   having tweeted about the Alien Invasion II report?
  12   a hard time imagining any other examples of a           12        A. This is helpful, but it does include
  13   noncitizen who would not be an alien who would not be   13   things not related to your question.
  14   a foreigner.                                            14        Q. But there are tweets there from your
  15       Q. That's exactly where I was going to go           15   Election Law Center Twitter handle with regard to
  16   next was are all these words in your mind synonyms,     16   Alien Invasion II, correct?
  17   generally speaking, foreigner, alien and noncitizen?    17        A. There are, but they are not entirely.
  18       A. Well, I think if you were to either pull         18        Q. You can put that aside.
  19   up the U.S. Code of Law or Webster's, you might find    19        You also have your own website
  20   that my interpretation of what these words mean is      20   www.electionlawcenter.com; is that correct?
  21   consistent with those sources.                          21        A. I have a web server that I use.
  22       Q. And in this tweet you published a link to        22        Q. Is that different than a website?
  23   the PILF website, correct?                              23        A. Yes. One is an email server.
  24       A. There's a link to the PILF website.              24        Q. Okay. But you recall that you have a
  25       Q. You also tweeted about the Alien Invasion        25   website www.electionlawcenter.com.

                                              Page 100                                                     Page 101
   1       A. Right, I have that domain.                        1       Q. So are you saying that this is fabricated?
   2       Q. You have that domain, right?                      2       A. No.
   3       A. Right. I own it.                                  3           MR. LOCKERBY: Object to the form.
   4       Q. Yes. And you've posted about the Alien            4       Q. Okay. You just testified that you did not
   5   Invasion reports there, have you not?                    5   post about Alien Invasion I; is that your testimony?
   6       A. I don't think so, no.                             6       A. That is my testimony.
   7              (Adams Exhibit 22 marked for                  7       Q. This document in front of you, which was
   8         identification: Printout from                      8   printed out from your website --
   9         Election Law Center | Report:                      9       A. Again, it's not my website.
  10         Ineligible Aliens Registering to                  10       Q. Would you prefer the website of the --
  11         Vote and Casting Ballots)                         11   with the domain that you own?
  12       Q. The court reporter has marked as Exhibit         12       A. Correct.
  13   22 a printout from the electionlawcenter.com website.   13       Q. This shows "Report: Ineligible Aliens
  14   Does this refresh your recollection, Mr. Adams?         14   Registering to Vote and Casting Ballots." Do you see
  15       A. No.                                              15   that title?
  16       Q. That is at the bottom the URL for your           16       A. It says that.
  17   website?                                                17       Q. It says, "Public Interest Legal Foundation
  18       A. Not really. I mean, this is a URL, the           18   published a report based on voting history records in
  19   domain. It's a domain that I own. So the URL is a       19   Virginia showing that large numbers of ineligible
  20   domain that I own.                                      20   aliens are registering to vote and casting ballots."
  21       Q. Right. And on the URL, domain -- strike          21   Do you see that?
  22   that.                                                   22       A. You are reading the exhibit correctly.
  23       On the domain that you own, you posted about        23       Q. And then it says, "in just eight Virginia
  24   Alien Invasion I, correct?                              24   counties 1,046 ineligible noncitizens were found to
  25       A. Incorrect. I did not.                            25   have illegally registered." Do you see that?



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                                              Page 102                                                     Page 103
   1       A. You are reading Deposition Exhibit 22             1   domain?
   2   accurately.                                              2        A. The answer is right there in Deposition
   3       Q. And I'm not just representing -- strike           3   Exhibit 22.
   4   that.                                                    4        Q. Do you want to specify?
   5       I'm not just reading Deposition Exhibit 22           5        A. You can see who posted it.
   6   accurately, but this is an accurate reading of what's    6        Q. Who posted it?
   7   on your Election Law Center domain, correct?             7        A. It says right there in Deposition 22. It
   8          MR. LOCKERBY: Object to the form.                 8   says Lex.
   9       A. No, it is not. It is a -- it is -- you            9        Q. Well, that's -- who is Lex?
  10   are reading something from a website domain that I      10        A. Not me. And I never saw this posting
  11   own. There's a vast difference between that and         11   until Deposition 22 was handed to me, Exhibit 22.
  12   where you're headed with this.                          12        Q. So you don't -- you don't know who Lex is?
  13       Q. Where am I headed?                               13        A. Oh, I know who Lex is, but you didn't ask
  14       A. You're headed -- you're headed to get my         14   me that yet.
  15   assent to agree to this document and that either that   15        Q. Well, who is Lex?
  16   I wrote it or I agree with it or something of that      16        A. It's an individual who is an activist who
  17   nature, but the fact is that this is a website domain   17   covers election issues named Erin Anderson.
  18   that I own. It is not my website.                       18        Q. And you let Erin Anderson post on the
  19       Q. Why would a website domain that you own          19   domain that you own?
  20   not be your website?                                    20        A. Correct.
  21       A. Well, I own electionlawcenter.com, but I         21        Q. And on the domain that you own there was a
  22   don't use it.                                           22   link published to Alien Invasion I, correct?
  23       Q. Well, then who posted this?                      23        A. Well, Deposition 22 appears to show that
  24       A. Not me.                                          24   is the case, but I don't have any independent
  25       Q. Well, who has -- who has access to your          25   knowledge of that other than what's in Deposition 22.

                                              Page 104                                                     Page 105
   1        Q. Who else posts on your domain?                   1       Q. How does someone go about posting on your
   2        A. I used to, but I haven't been to that            2   domain?
   3   domain to post for probably years.                       3       A. They write up a post and post it. But
   4        Q. Who else posts on your domain?                   4   this is not my posting.
   5        A. Me, other guests have posted. I don't            5       Q. Who approves the posting of things on your
   6   remember everybody that's ever posted there.             6   domain?
   7        Q. Who do you remember?                             7       A. Nobody.
   8        A. I'm not sure.                                    8       Q. What is the process for posting on your
   9        Q. You don't remember anyone else other than        9   domain?
  10   Erin Anderson?                                          10       A. You post -- you write something and you
  11        A. Nope.                                           11   put it up.
  12        Q. Do you know why Erin Anderson posts under       12       Q. You write a column for PJ Media; is that
  13   the name Lex?                                           13   correct?
  14        A. Probably because she's afraid of being          14       A. I do.
  15   harassed by people if she posts under her real name.    15       Q. And you've written about the Alien
  16   It's one possibility.                                   16   Invasion reports on PJ Media, correct?
  17        Q. So having a person's real name posted on        17       A. Most likely, but if you have a specific
  18   the Internet can lead to harassment?                    18   document to refresh my recollection, I'm happy to
  19        A. When you talk about voter fraud,                19   look at it.
  20   absolutely, because there's a whole litany of           20                (Adams Exhibit 23 marked for
  21   organizations designed to personally attack people,     21           identification: PJ Media | Yes,
  22   as you well know, whenever they talk about the          22           Virginia, Aliens are Registered or
  23   existence of voter fraud. And we have seen the          23           Voting ... and in Pennsylvania, by
  24   depths to which they will plumb on that quest in this   24           the Thousands)
  25   case.                                                   25       Q. The court reporter has handed you what's



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                                              Page 106                                                     Page 107
   1   been marked as Exhibit 23. Do you recognize this?        1   Deposition 23, page 3. There's also a hanging bubble
   2       A. It appears to be a portion of a article           2   box on page 2 that may extend to page 3, but the
   3   that I wrote for PJ Media.                               3   shading itself indicates there's something cut off.
   4       Q. Why do you say "a portion"?                       4   But, other than that, I don't have any quibbles with
   5       A. Well, because some things are cut off on          5   Deposition 23.
   6   it. On its face, on pages 6, 7 and 8, there's -- you     6       Q. Okay. The content of what you wrote is
   7   obviously had some difficulty in capturing a whole       7   represented here, correct?
   8   version of this document that didn't have things         8       A. It appears to be, but sometimes the
   9   fractured.                                               9   content of what one writes includes bubble boxes, and
  10       Q. Well, it appears the only thing that's cut       10   that's why the hanging shading issue is a concern.
  11   off is an image that's repeated on every page, and it   11       Q. But sitting here today, you're not aware
  12   says, "PJ Media encourages you to read our --"          12   of anything that's cut off --
  13   something -- seems likes "update to a cookie policy."   13       A. I'm not --
  14   Is there anything else that you can tell us is being    14       Q. -- from what you wrote.
  15   cut off?                                                15       A. Right. I didn't -- I didn't indicate
  16       A. Right, there is.                                 16   there was. I'm just telling you that this document
  17       Q. What?                                            17   appears to be fractured with some content cues.
  18       A. Well, normally there wouldn't be shading,        18       Q. And this is a column you wrote published
  19   for starters.                                           19   on October 3rd, 2016, correct?
  20       Q. What's shading?                                  20       A. Deposition Exhibit 23 says it was
  21       A. On page 3. Shading usually has some sort         21   published on October 3rd.
  22   of content in it.                                       22       Q. And you did publish a column on that day
  23       Q. I don't see the shading. Can you point it        23   in PJ Media, correct?
  24   out to me?                                              24       A. I have no reason to dispute what this
  25       A. To the upper left quadrant of the page on        25   document says.

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   1       Q. And that column concerned Alien Invasion          1       Q. And you also wrote, "Mind you, these are
   2   I, correct?                                              2   just the aliens who were accidentally caught because
   3       A. Right.                                            3   when they renewed their driver's license they told
   4       Q. You wrote in the first paragraph, "What if        4   the truth that they were a noncitizen." You wrote
   5   government documents were produced to show at least      5   that, right?
   6   one thousand instances of voter fraud with aliens        6       A. That's what the document says I wrote.
   7   registering or voting in a key swing state?" Do you      7       Q. And you did write it.
   8   see that?                                                8       A. I don't have any reason to dispute that.
   9       A. That's what the document says.                    9       Q. And you have insight into the truth of
  10       Q. And you're referencing the Alien Invasion        10   what these 1,046 individuals told the DMV?
  11   reports 1,046 cancellations; is that right?             11       A. I do have insight into the truth.
  12       A. I would disagree with that. I think I was        12       Q. Because you spoke to each of those
  13   asking -- referencing a rhetorical question related     13   individuals, correct?
  14   to underlying election records to establish the         14           MR. LOCKERBY: Object to the form.
  15   possibility of aliens registering to vote.              15       A. I don't understand the question.
  16       Q. Do you think this sentence is unrelated to       16       Q. Well, you spoke to all 1,046 individuals,
  17   the fact that in Alien Invasion I PILF said that        17   yes or no, right?
  18   there were 1,046 illegal registrants?                   18       A. Pardon? Yes or no, right?
  19       A. I don't think it's unrelated to that fact.       19       Q. Did you or did you not speak to the 1,046
  20   What I said was it's not only referring to that fact.   20   individuals listed in the Alien Invasion I as to the
  21       Q. And on the next page of the exhibit it           21   truth of their representations?
  22   shows that you wrote, in just eight counties, 1,046     22       A. No, I did not speak to all of them, but I
  23   alien noncitizens successfully registered to vote.      23   had other insights into the truth apart from that.
  24   Do you see that?                                        24       Q. Did you speak to any of them?
  25       A. That's an accurate statement.                    25       A. I don't remember.



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                                              Page 110                                                     Page 111
   1       Q. You would --                                      1        A. And I said to you -- I've asked and
   2       A. Actually I do remember. I did speak to            2   answered that question.
   3   some of them.                                            3        Q. You don't remember; that's your answer?
   4       Q. Well, isn't that a violation of the PILF's        4   Is that your answer?
   5   policy?                                                  5        A. I asked and answered that question.
   6       A. I didn't tell you what I did yet. So, no,         6        Q. Is your answer, I don't remember who you
   7   it wouldn't be a violation of PILF's policy. You         7   spoke to -- strike that.
   8   didn't ask what the context was.                         8        Is your answer that you do not remember the
   9       So let me answer your question. No, it was           9   person you spoke to who was purportedly contacted by
  10   not a violation of PILF's policies.                     10   Justin Levitt?
  11       Q. You spoke to someone who was contacted by        11           MR. LOCKERBY: Object to the form.
  12   The Washington Post.                                    12        A. I don't know. That question was
  13       A. I spoke to somebody who was contacted            13   confusing.
  14   purportedly by Justin Levitt.                           14        Q. Well, what was confusing about it?
  15       Q. And who is that?                                 15        A. All of it. There was very little that
  16       A. I don't remember.                                16   wasn't confusing. I might suggest starting from
  17       Q. And how did you come to contact this             17   scratch and just asking.
  18   person?                                                 18        Q. You testified that you spoke to somebody
  19       A. Don't remember that. And actually I don't        19   who was contacted purportedly by Justin Levitt.
  20   understand your question. "Come to contact" could       20           MR. LOCKERBY: Objection to the form.
  21   mean a lot of different things. If you could clarify    21        Q. That was your testimony, right?
  22   that for me, it would be helpful.                       22        A. Okay. You just asked me two questions.
  23       Q. You said you spoke to somebody who was           23   Did you withdraw the first?
  24   contacted purportedly by Justin Levitt, and I want to   24        Q. Was it not your testimony just moments
  25   know who is that somebody.                              25   ago, quote, "I spoke to somebody who was contacted


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   1   purportedly by Justin Levitt," closed quote?             1   regardless, Justin Levitt was the source of this
   2        A. If I said that, I stand by that testimony.       2   conversation.
   3        Q. Now my question is: Who did you speak to?        3        Q. And you reached out to that person.
   4        A. And I've asked and answered that, and I'll       4        A. Correct, after I read the article that
   5   do it again. I don't remember.                           5   somebody had already contacted this person first.
   6        Q. Do you remember how you came to speak with       6        Q. How did you get the contact information
   7   this person?                                             7   for this person?
   8        A. Okay. That's the part that I don't               8        A. Do not remember that.
   9   understand what you're asking me. How I came to          9        Q. Did you communicate with this person in
  10   speak with it is not a very specific question. If       10   any manner other than by phone?
  11   you could ask a less confusing question, I can answer   11        A. No.
  12   it. I don't know what you mean.                         12        Q. Have you spoken with any other individuals
  13        Q. Well, even though you don't remember the        13   listed among the 1,046 in Alien Invasion I?
  14   identity of the person, do you recall if you spoke to   14        A. Possibly, but I don't have a specific
  15   this person over the phone?                             15   recollection.
  16        A. Now we're on to something. By phone.            16        Q. And you said that your speaking with the
  17        Q. Did you call this person?                       17   individual mentioned by Justin Levitt was not a
  18        A. Yes.                                            18   violation of PILF's corporate policy, correct?
  19        Q. And why did you call this person?               19        A. I've asked and answered that question.
  20        A. Because Justin Levitt purported to call         20        Q. And why was that not a violation of PILF's
  21   this person.                                            21   corporate policy?
  22        Q. How do you know that?                           22        A. Because Justin Levitt spoke with them
  23        A. Because he wrote an article about it.           23   first, and once contact is made with a registrant,
  24        Q. Who?
                                                               24   the initial zone of peace is finished. In other
  25        A. Justin Levitt or somebody else, but,
                                                               25   words, Justin Levitt disrupted that person's life and



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   1   made contact, as he did by the hundreds in this case     1   checkbox is a portion of what I'm referring to.
   2   in what was probably a violation of Virginia 18.2 452    2       I'm also referring to the attestation when
   3   and made contact with these individuals en masse,        3   somebody signs the document, the voter registration
   4   and, once he did that, the corporate policy did not      4   form, they're making an attestation that they are
   5   apply -- particularly when Justin Levitt decides to      5   saying under penalty of perjury they are telling the
   6   write about the content of these conversations in a      6   truth.
   7   public way.                                              7       So if they -- if they were to say they are a
   8       Q. And this corporate policy is not written          8   citizen and sign and then later say they are not a
   9   down anywhere?                                           9   citizen and sign, that one of the two is a lie,
  10       A. Of course not.                                   10   that's what I'm referring to.
  11       Q. You wrote a column on PJ Media about Alien       11       Q. And so that's -- when you say thousands
  12   Invasion II, correct?                                   12   are lying just in Virginia, that's what you're
  13       A. If you have it to refresh my recollection,       13   referring to.
  14   I'm more than happy to look at it. I don't remember.    14       A. Correct.
  15       Q. Actually, before we get to that, I just          15       Q. Could they just be making a mistake?
  16   want to ask another question about your article in      16       A. Well, you've taken us right into the
  17   the exhibit in front of you. I believe it's Exhibit     17   debates in Congress in 1993 about whether or not the
  18   23.                                                     18   answer to that question is yes or no. And that was
  19       On the second page, in the, I guess it's the        19   something that was heavily debated in Congress, and
  20   third full paragraph that begins "that's because," do   20   I'm happy to recount the legislative history.
  21   you see that? Do you see that paragraph?                21       But the short of it is that everybody who
  22       A. I'm reading it. I see the paragraph.             22   passed the bill in the legislative history believes
  23       Q. And you're referring to the checkbox as to       23   that between those two boxes you're not just making a
  24   whether or not someone is a citizen, correct?           24   mistake. And this was the subject of a great deal of
  25       A. I'm referring to a lot of things. The            25   debate in the House and the Senate as to what was the

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   1   effect of the attestations and the checkbox.             1   interest that they are not a citizen, as they did in
   2       And the proponents of the legislation told the       2   this case in these -- in these applications, which I
   3   formerly opponents of the legislation that the           3   rely on throughout the videos and radio and documents
   4   checkbox and attestation would be sufficient to          4   you're showing me, that they are not a citizen of the
   5   overcome the premise of your question that they were     5   United States, Congress in the legislative history
   6   simply making a mistake.                                 6   was very, very clear that that would preclude this
   7       And so the authors of the bill, the sponsors         7   being a mistake, and, therefore, would subject them
   8   of the bill, debated that very issue that you just       8   to criminal prosecution. That's throughout the
   9   asked me in Congress extensively and ultimately          9   legislative history of this statute.
  10   concluded that, no, this prevents mistakes. And I       10       Q. I apologize if I asked this question
  11   relied on that, and anybody who -- who looks at this    11   already, but you do recall publishing a column in PJ
  12   statute or this legislative history of the statute      12   Media about Alien Invasion II; is that right?
  13   would see that that's a reasonable interpretation.      13       A. You did ask that question already, and I
  14       Q. I'm not sure if I understood that they           14   told you that if you had a document to refresh my
  15   ultimately concluded that this prevents mistakes.       15   recollection ...
  16   I'm not sure if I follow what you meant there.          16               (Adams Exhibit 24 marked for
  17       A. I agree you don't follow it. And what it         17          identification: Email correspondence
  18   means is that the proponents of this legislation        18          from (topmost) C Adams sent
  19   debated extensively the answer to the two questions     19          5/30/2017
  20   ago you asked me, and they built into the structure a   20          PILF-ADAMS-0000312 - 0000316)
  21   system that was designed to specifically preclude       21       Q. The court reporter has marked as Exhibit
  22   somebody from asserting that a mistake was made,        22   24 a document with the Bates number 312. Do you
  23   specifically preclude that excuse from the process by   23   recognize this?
  24   having the dual checkbox and attestation procedure.     24       A. This is a -- Deposition Exhibit 24 appears
  25       And so if somebody makes an admission against       25   to be an email that I sent.



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                                              Page 118                                                     Page 119
   1       Q. On May 30th, 2017?                                1   question because I don't have the actual column with
   2       A. That's what it says.                              2   me. I don't think you've given it to me as an
   3       Q. And your email sends along the content of         3   exhibit.
   4   a column you wrote in PJ Media; is that right?           4       Q. You include in your email a link to your
   5       A. Well, it appears to. I don't know if it's         5   column on PJ Media's website, yes?
   6   right, but that's what it appears to do.                 6       A. Well, that's how you solve the problem you
   7       Q. Well, do you recognize anything as missing        7   just are talking about is you include the link.
   8   from the PJ Media column from the email that you         8       Q. My question was you include in your email
   9   sent?                                                    9   a link to your column on PJ Media, yes?
  10       A. Look, if you want to represent -- yes. If        10       A. There is a link there.
  11   you want to represent to me that this is -- this is a   11       Q. To your column on PJ Media, yes?
  12   document that represents the PJ Media column, I have    12       A. There is a link for PJ Media in there.
  13   no reason to quarrel with that.                         13       Q. And it's to your column.
  14       Q. Because you wouldn't normally forward your       14       A. I don't know. Probably is.
  15   column by excluding portions of your column.            15       Q. Would you send --
  16       A. Is there a question?                             16       A. I just said it probably is. I'm not the
  17       Q. Correct?                                         17   custodian of all link names, but I have no reason to
  18       A. Yes, actually I would. I routinely save          18   quarrel with you, if that's what you're representing
  19   my recipients' time by not including an entire column   19   that that's what this is.
  20   and instead including excerpts, sometimes blurbs,       20       Q. And you did send out this email, right?
  21   sometimes nothing at all.                               21       A. It doesn't appear to say "draft," so I
  22       So I would disagree with your question, or at       22   have no reason to doubt that I sent it. Do I have a
  23   least I would answer your question I would in fact do   23   specific recollection I sent it? No.
  24   that. Whether I did it here, I have no reason to        24       Q. On the second page of the exhibit, the
  25   know, nor would I have the ability to answer your       25   second paragraph from the bottom, it begins "yet," do

                                              Page 120                                                     Page 121
   1   you see that?                                            1          highest rate of alien voting in
   2       A. I see that.                                       2          Virginia. Xiao plainly marked NO to
   3       Q. "Yet the PILF report demonstrates that            3          the question, are you a citizen of
   4   hundreds of foreigners ended up on Virginia voter        4          the United States, yet was
   5   rolls even after telling Virginia election officials     5          registered to vote. Such is the
   6   they were aliens on their voter registration form."      6          flimsy check used to prevent alien
   7   Do you see that?                                         7          voting.
   8       A. That's what it says.                              8        And then it has -- it has a variety of
   9       Q. What's your basis for this statement?             9   examples on the next page of the particular phenomena
  10       A. I don't have a specific recollection what        10   that was described.
  11   the basis is for this statement right now. I have a     11        Q. It has two more examples.
  12   general recollection that it relates to two             12        A. On the next page it has Yun Ok Bae and
  13   categories of information. One would be data that       13   Juan Mones Cazon.
  14   PILF reviewed, and two would be conversations that I    14        Q. So there's three examples total?
  15   had with election officials.                            15        A. I'm sorry?
  16       Q. What's the data that PILF reviewed?              16        Q. There are three examples of the data in
  17       A. Well, look at the next paragraph. That           17   your article; is that right?
  18   probably gives you some insight into what sort of       18        A. Well, you can have overkill in an article.
  19   data.                                                   19   If I had put more than three examples in here, that
  20       And, again, it says, "Consider Jiling Xiao,"        20   would bore readers in time.
  21   which is J-I-L-I-N-G space X-I-A-O. It says:            21        Q. Okay. But just so I understand, the data
  22          Xiao registered to vote during                   22   that you're referring to that PILF reviewed are voter
  23          Barack Obama's campaign for                      23   registration applications; is that right?
  24          President. Indeed, the report notes              24        A. I'm not sure. I mean, that would
  25          that 2008 was the year with the                  25   certainly be a category of it.



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                                              Page 122                                                     Page 123
   1       Q. Well, you said one would be data that PILF        1       A. Right, and let me go through once again
   2   reviewed. And my question is: What is the data that      2   the list of the three. One --
   3   PILF reviewed that is the basis for this statement?      3       Q. I just want to focus on the first thing,
   4       A. Well, I don't know because I didn't do the        4   which is the data. Okay? What is the data that was
   5   review; staffers did.                                    5   reviewed that makes up the basis for this statement?
   6       Q. Right, but you're the president, and you          6       A. We just talked about some of it. We just
   7   just -- you wrote this statement, right?                 7   talked about three examples that are in the article.
   8       A. Well, let me add a third category, then.          8   That's the first.
   9       Q. There's a question pending. You did write         9       The second category, conversations I had with
  10   this statement in your PJ Media column, right?          10   various elections officials --
  11       A. Asked and answered.                              11       Q. Okay. I understand, but --
  12       Q. And the answer is yes.                           12          MR. LOCKERBY: Objection. The witness
  13       A. I've answered that question.                     13   ought to be allowed to finish his answer before
  14       Q. And the answer is yes.                           14   counsel moves on to another question.
  15       A. We can do this all day.                          15          MR. TEPE: I'm more than happy to get to
  16       Q. And so my question now is, given that you        16   the second and third pieces.
  17   wrote this statement, what is the basis for your        17       Q. But what I want to do is I want to
  18   statement?                                              18   focus -- my question was focused -- on the first
  19       A. Well, I've given you two categories of           19   piece, okay?
  20   information. I left out one. One -- a third             20       And so you state here the PILF report
  21   category of information would be assessments given to   21   demonstrates that hundreds of foreigners ended up on
  22   me by staff who was reviewing the underlying records.   22   Virginia voter rolls even after telling Virginia
  23       Q. Okay. So but I'm still trying to                 23   election officials they were aliens on their voter
  24   understand what the data is that is the basis for       24   registration form --
  25   this statement.                                         25       A. Right.

                                              Page 124                                                     Page 125
   1       Q. -- correct? Okay. And the data that you           1       A. You're not withdrawing it?
   2   have just articulated as being the basis for this        2       Q. No.
   3   statement are voter registration forms; is that          3       A. Okay. You're mischaracterizing the
   4   right?                                                   4   testimony that I gave.
   5       A. That's partially correct.                         5       Q. Okay. Well, then I'll ask another
   6       Q. Okay. And the data aspect of this, did            6   question.
   7   you have hundreds of voter registration applications     7       Did you or did you not, as of the date you
   8   in which the applicant said that they were aliens?       8   wrote this in May 30th, 2017, or -- strike that -- as
   9       A. Okay. What paragraph are you referring            9   of the date of your email, May 30th, 2017, did you or
  10   to? The "yet" paragraph?                                10   did you not -- strike that.
  11       Q. Mm-hmm.                                          11       Actually, no, I'll continue that. As of this
  12       A. Okay.                                            12   date, May 30th, 2017, did you, Mr. Adams, have
  13       Q. The same paragraph we've been talking            13   hundreds of voter registration applications in which
  14   about for a few minutes now.                            14   the applicant indicated they were not a U.S. citizen?
  15       A. We had hundreds of records related to            15       A. That's not what the article says. You're
  16   people answering no on voter registration forms.        16   mischaracterizing what the article says.
  17   That's the first package of data of the three. That     17       Q. My question, sir, is, as of this date -- I
  18   would include voter registration forms, that would      18   can -- I'll reread it.
  19   include a variety of documents.                         19       As of this date, May 30th, 2017, did you,
  20       Q. So at this moment when you wrote this            20   Mr. Adams, have hundreds of voter registration
  21   article you had hundreds of voter registration          21   applications in which the applicant indicated they
  22   applications in which the applicants checked no, they   22   were not a U.S. citizen?
  23   were not a citizen of the United States.                23       A. Mr. Adams never had hundreds of anything,
  24          MR. LOCKERBY: Objection, asked and               24   so the answer is no, but that's also not what the
  25   answered, misstates the witness's prior testimony.      25   article says. And I wasn't the person who was



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   1   custodian of records, so I never had the records in      1        A. We have spent the last ten minutes in a
   2   mass form. They weren't sent to me. So the answer        2   circular discussion when you knew the answer to this
   3   is always going to be, no, I didn't have those           3   and I didn't.
   4   records.                                                 4        Q. And so there are not hundreds -- there are
   5        Q. Did PILF, as of this date, have hundreds         5   not hundreds of voter registration applications in
   6   of voter registration applications in which the          6   which applicants indicated that they were aliens that
   7   applicant indicated they were not a U.S. citizen?        7   is the basis for this statement, correct?
   8        A. I can't remember what the answer to that         8          MR. LOCKERBY: Object to the form.
   9   was in the 30(b)(6) deposition on Thursday. So and       9        A. You're wrong. There are hundreds. And
  10   Mr. Lockerby wasn't here for that deposition, so he     10   this statement is correct and truthful and accurate
  11   wouldn't know whether to lodge an asked and answered,   11   and can be substantiated by government records, which
  12   but I don't know the answer to that question from       12   have been refused to be turned over to the defendants
  13   last Thursday's deposition, as I sit here today.        13   by the Commonwealth of Virginia.
  14        Q. And if PILF did have hundreds of                14        Q. Well, your statement is "the PILF report
  15   applications, voter registration applications, in       15   demonstrates --"
  16   which the applicant indicated they were not a U.S.      16        A. Right.
  17   citizen, PILF would have noted that in the Alien        17        Q. "-- that hundreds of foreigners ended up
  18   Invasion II report, correct?                            18   on Virginia voter rolls even after telling Virginia
  19        A. I don't know. That's a speculative              19   election officials that they were aliens on their
  20   what-if question. I don't know.                         20   voter registration form."
  21        Q. And, in fact, PILF in the Alien Invasion        21        This statement, you would agree, is not based
  22   II report only noted that it had 40 some odd voter      22   on having hundreds of voter registration application
  23   registration applications in which the applicant        23   forms in which the applicant indicated that they were
  24   noted that they were not a U.S. citizen; is that        24   not a U.S. citizen, correct?
  25   correct?                                                25        A. Nor does it purport to have -- to indicate


                                               Page 128                                                    Page 129
   1   that they are in possession of hundreds of voter         1   believe I answered your question.
   2   registration forms.                                      2       Q. What else, other than this data aspect
   3       Q. Okay.                                             3   that we've been talking about, what else is this
   4       A. You have convenient -- you have ignored           4   statement based on?
   5   the multiple bundles of information which were           5       A. I've answered that question a couple of
   6   available to us in order to make it seem as if these     6   times.
   7   forms don't exist in the first place.                    7               (Adams Exhibit 25 marked for
   8       Q. So when I asked for the basis of this             8          identification: Email correspondence
   9   statement, one of the things you mentioned was data,     9          from (topmost) C Adams sent
  10   and we've now established that, with respect to data,   10          12/18/2018
  11   you did not have hundreds of voter registration         11          PILF-ADAMS-0046679 - 0046680)
  12   applications in which the applicant indicated they      12       Q. The court reporter has marked as Exhibit
  13   were not a U.S. citizen, correct?                       13   25 a document with the Bates number 46679.
  14       A. We had other records that indicated that         14       The bulk of this email appears to be an
  15   those forms existed, and so we relied on those other    15   attempt by Russian TV to get an interview with you in
  16   records, and I relied on those other government         16   October of 2016; is that right?
  17   records, which are inherently reliable, for writing     17       A. Could you direct me to the term "Russian
  18   this statement in this article, as well as relying on   18   TV" on Deposition Exhibit 25?
  19   conversations with election officials and as well as    19       Q. Well, it's from -- the first email is from
  20   relying on conversations with my staff.                 20   a senior producer, Elena Sokolova, RTR TV Russia.
  21       So I fundamentally disagree with you that we        21       A. Okay. This appears to be an effort by
  22   were not aware of hundreds of other voter               22   somebody who works for RTR TV Russia to interview me.
  23   registration forms on which we could rely.              23       Q. Yes. Do you recall providing an interview
  24       Q. That wasn't my question, sir.                    24   to this outlet?
  25       A. Well, I disagree with you on that. I             25       A. I don't think I did.




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   1        Q. And then you forwarded this email on             1               AFTERNOON SESSION
   2   December 18th, 2018 to Mr. Johnson and                   2    (Eli L. Evans, Esq., Foley & Lardner, now present)
   3   Mr. Churchwell. Do you see that?                         3           VIDEO SPECIALIST: We are back on the
   4        A. I do.                                            4   record, 1:18.
   5        Q. And the content of your email is redacted,       5             EXAMINATION (continued)
   6   yes?                                                     6   BY MR. TEPE:
   7        A. It appears to be.                                7       Q. Mr. Adams, as PILF's president, you were
   8        Q. What is the basis for this redaction?            8   engaged in PILF's fundraising activities, correct?
   9        A. I would need to see the unredacted version       9       A. Correct.
  10   to tell you.                                            10       Q. You get reports on fundraising results?
  11           MR. LOCKERBY: There's also a privilege          11       A. No.
  12   log that reflects the basis for the redaction and       12       Q. Who gets those results?
  13   it's been the subject of extensive correspondence and   13       A. There are no reports.
  14   meet-and-confer sessions.                               14       Q. Okay. Do you get any indication as to how
  15        Q. Were you providing legal advice to              15   much money PILF raises?
  16   these -- to Messrs. Johnson and Churchwell?             16       A. Yes.
  17        A. I have no earthly idea, and it doesn't          17       Q. And how do you get those indications?
  18   refresh my recollection looking at this document.       18       A. It's on our 990s. It's in our budget.
  19   That's why I have no earthly idea.                      19       Q. But how does those dollar figures actually
  20           MR. TEPE: We can go off the record.             20   get into your budget?
  21   Provably a good time for lunch.                         21       A. They show up as donations.
  22           MR. LOCKERBY: That's fine.                      22       Q. Well, let me -- let me give you -- maybe
  23           VIDEO SPECIALIST: We are off the record,        23   it will be easier to get concrete on this. PILF
  24   12:30.                                                  24   sends some mass solicitations via postal mail; is
  25        (Proceedings recessed)                             25   that right?

                                              Page 132                                                   Page 133
   1        A. There are direct mail mailings.                  1   raise money by email.
   2        Q. When someone sends back a donation in            2       Q. Does PILF do fundraising events?
   3   response to one of those mailings, what happens to       3       A. Such as?
   4   that check?                                              4       Q. Any type of event-based fundraising, I
   5        A. It's deposited into our account.                 5   don't know, a dinner, for example.
   6        Q. And is there a record kept as to Jane Doe        6       A. No, we do not do a dinner.
   7   sending a donation of X amount of dollars?               7       Q. Do you do any other -- dinner is just an
   8        A. The list of our donors is kept.                  8   example. I don't want to be narrowly focused on
   9        Q. And to track the, I guess, the success of        9   that, but are there other events that generate
  10   your -- or lack thereof -- of your various mailings,    10   donations to PILF?
  11   is there an indication that Jane Doe responded to       11       A. Okay. I'm not sure I understand the
  12   this solicitation?                                      12   question. I understand it could mean a dinner. I
  13        A. No.                                             13   answered no.
  14        Q. Who is the most knowledgeable about PILF's      14       Do you have something specific -- I've
  15   fundraising activities?                                 15   answered no to the broader question, so if you have
  16        A. Me.                                             16   something specific you want to ask about.
  17        Q. And so if I understand your testimony,          17       Q. I'll go this way. What are the methods
  18   there's no tracking of whether certain solicitations    18   that PILF employs to raise funds? We covered two,
  19   generate a donation; is that your testimony?            19   right?
  20        A. Right.                                          20       A. What were those two?
  21        Q. In addition to postal mailings, you also        21       Q. Postal mail, emails.
  22   send out mass email soliciting donations; is that       22       A. Okay.
  23   right?                                                  23       Q. What are the other methods used by PILF to
  24        A. Well, I quibble with the term "mass
                                                               24   raise funds?
  25   emails" in some context, but there are efforts to
                                                               25       A. We also seek funds from individual donors.



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   1       Q. And how do you do that?                          1   asked.
   2       A. In person.                                       2       A. Well, if it's on the 990, you can show it
   3       Q. Other than the postal mail and the email         3   to me and I can answer questions about it, to the
   4   and the individual solicitations, are there other       4   extent I can.
   5   methods PILF employs to raise funds?                    5       Q. So we've talked about three methods.
   6       A. We seek donations from institutional             6   Individual solicitations, and those could either be
   7   sources.                                                7   to individual people or to institutions, correct?
   8       Q. Are these foundations, for example?              8       A. Okay. I think I've already answered that.
   9       A. We have been funded by some foundations.         9   I'm not going to go any further on that.
  10           MR. LOCKERBY: I'm going to register a          10       Q. The answer is, yes, the individual
  11   standing objection to the relevancy of this line of    11   solicitations could either go to an individual person
  12   questioning and also counsel the witness, although I   12   or to an institution.
  13   doubt he needs such counseling, that disclosing        13       A. Right. My attorney has made it clear that
  14   certain donor information potentially could invade     14   I'm to be cognizant of the boundaries of a privilege
  15   their First Amendment privileges.                      15   asserted in this case, and the identity of donors is
  16       Q. Are the institutional donations -- strike       16   not something I'm going to testify about.
  17   that.                                                  17       Q. Understood. And I'm not asking for that.
  18       Are the donations from institutional sources       18   I'm just asking for the methodology -- like the
  19   sometimes referred to as grants?                       19   methods that you use to raise funds. One is postal
  20       A. I'm not sure. I don't think I remember          20   mailings, correct?
  21   seeing them -- I mean, generally speaking -- let me    21       A. I've testified to that.
  22   put it this way. I'll answer in my own capacity. I     22       Q. The other is emails, correct?
  23   don't remember using that term.                        23       A. I stand on my earlier testimony.
  24       Q. That term is sometimes used in some of the      24       Q. And the third is individual solicitations,
  25   reporting on the 990, for example. That's why I        25   correct?

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   1       A. I stand on my earlier testimony.                 1   was last week.
   2       Q. And individual solicitations can either be       2       Q. Actually you can speak for the corporation
   3   a solicitation of an individual person or an            3   because you're its president.
   4   individual institution, correct?                        4       A. Doesn't mean I can speak for it in
   5       A. In theory, yes. Hypothetically, when you         5   30(b)(6) capacity. I can tell you what I think about
   6   solicit money from an individual, it could be           6   it personally but not as the corporation. That was a
   7   directed toward, in theory, a multiple of different     7   good question for last Thursday.
   8   types of entities.                                      8       Q. Well, as we discussed with your counsel,
   9       Q. Are there other methods that, other than         9   topics that were not able to be covered on Thursday,
  10   those three that we just discussed, are there other    10   we could cover today.
  11   methods that PILF employs to raise funds?              11          MR. LOCKERBY: You need to clearly
  12       A. Well, as I sit here in my individual            12   delineate that it's a 30(b)(6) question, and then it
                                                              13   would come out of the time for the individual
  13   capacity, I can't think of any right now off the top
                                                              14   deposition, as I offered.
  14   of my head. There could be, but I just don't know of
                                                              15          MR. TEPE: Okay. Well, then I'll ask the
  15   any.
                                                              16   following questions in your 30(b)(6) capacity.
  16       Q. You said you're the most knowledgeable
                                                              17       Q. When PILF was sued in this case, PILF's
  17   about PILF's fundraising activities, correct?
                                                              18   board thought it was a fundraising opportunity, yes?
  18       A. That's right. Doesn't mean that I might
                                                              19       A. I don't remember that. If you have a
  19   have -- might not have forgotten something.
                                                              20   document to refresh my recollection ...
  20       Q. When PILF was sued in this case that
                                                              21               (Adams Exhibit 26 marked for
  21   you're sitting in deposition for, PILF's board
                                                              22          identification: Email correspondence
  22   thought it was a, quote, fundraising opportunity,
                                                              23          from (topmost) C Adams sent
  23   yes?
                                                              24          4/13/2018
  24       A. I can't speak for the board and I can't
                                                              25          PILF-ADAMS-0018016 - 0018017)
  25   speak for the corporation sitting here either. That



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   1       Q. Exhibit 26 has been handed to you with the        1        A. I don't have a foundation to answer that
   2   Bates number 18016. Do you see that?                     2   question.
   3       A. I see that.                                       3        Q. You hired her, did you not, PILF, that is?
   4       Q. Do you recognize this document?                   4        A. Yes.
   5       A. I don't, but I'm getting more acquainted          5        Q. Yes, and what did you hire Ann C.
   6   with it as I read it.                                    6   Fitzgerald to do?
   7       All right. I've read the document.                   7        A. She provides us advice about fundraising.
   8       Q. It begins with an email from an Ann C.            8   What she does for other companies I can't speak to.
   9   Fitzgerald to you, April 12th; is that right?            9        Q. What type of advice does she provide PILF?
  10       A. It does begin that way.                          10        A. Well, on April 12th, 2018 she provided the
  11       Q. And she wrote, "Do you want to catch up by       11   advice that this lawsuit would be a fundraising
  12   phone? I heard about the lawsuit, a fundraising         12   opportunity for PILF, as one example.
  13   opportunity, if nothing else." Do you see that?         13        Q. What other type of advice does she provide
  14       A. It says that.                                    14   PILF?
  15       Q. Who is Ann C. Fitzgerald?                        15        A. Well, on April 12th, she also provided an
  16       A. Ann C. Fitzgerald is a president of, as it       16   offer to talk by phone because she had heard about
  17   indicates on the document, of AC Fitzgerald &           17   the lawsuit with an exclamation point.
  18   Associates.                                             18        Q. Yes. My question is, other than what she
  19       Q. What does she do?                                19   advises here in this email of April 12th, my question
  20       A. She runs a company called AC Fitzgerald &        20   is what other type of advice does she provide PILF?
  21   Associates.                                             21        A. Well, on April 13th she provided the
  22       Q. And what does she do when she's running          22   advice that she thought there should be a direct mail
  23   the company called AC Fitzgerald & Associates?          23   letter to low-dollar donors, the general theme is
  24          MR. LOCKERBY: Object to the form, lack of        24   we're being attached -- which should be attacked, I
  25   foundation.                                             25   think -- because we must be doing something right.

                                              Page 140                                                     Page 141
   1   The work of PILF so threatens the left that they are     1       Q. Mr. Adams, you just read through a portion
   2   suing us.                                                2   of the email from Ann C. Fitzgerald -- actually not a
   3       On April 13th she also provided the advice to        3   portion. You read through the entire email of Ann C.
   4   do a special letter sent to high-dollar donors,          4   Fitzgerald on April 13th, right?
   5   depending on the number, maybe even via Express Mail     5       A. No. I skipped the portion that said, "I
   6   or FedEx. General idea, excuse the urgency of this       6   knew you were doing an email, but I think you could
   7   letter, but I need to alert you right away, PILF is      7   do a couple other things," as I recall.
   8   being sued by LULAC simply because we've been            8       Q. So other than the advice that she provides
   9   fighting for voter integrity XXX.                        9   in the email exhibit in front of you, what kind of
  10       This frivolous lawsuit will cost PILF               10   advice does she provide PILF?
  11   $XX or more, the money we could have used to continue   11       A. Well, if you have additional emails of her
  12   our fight against illegal voting practices, and         12   providing advice to refresh my recollection, I'm more
  13   that's the aim of the liberals, detract and deter       13   than happy to take a look at those.
  14   PILF from its mission. I assure you we will not be      14       Q. You testified before that you're the most
  15   deterred, but we need your help, et cetera. The         15   knowledgeable person with respect to fundraising at
  16   letter will have a reply form and stamped reply         16   PILF, correct?
  17   envelope.                                               17       A. That's not inconsistent with what I just
  18       On April 13th she also provided the advice,         18   said.
  19   possibly offer to set up a follow-up call with          19       Q. And you have no recollection other than
  20   high-dollar donors to give them additional details      20   the document in front of you as to the services
  21   about the lawsuit. On April 13th, she also provided     21   Ms. Fitzgerald provides PILF.
  22   the advice, we can help and wordsmith this, but         22       A. That's not what my testimony was.
  23   that's the idea, and I think we can do several other    23       Q. I understand. I'm trying to understand
  24   mailings. That was the extent of her additional         24   the scope of your knowledge as to the advice that
  25   advice.                                                 25   Ms. Fitzgerald provides PILF.



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   1        A. Is there a question?                            1   communications with board members, but subject to the
   2        Q. So the question, sir, is, other than what       2   objection and subject to the extent that
   3   is in front of you in this exhibit, what kind of        3   communications with board members have been shared
   4   advice does Ms. Fitzgerald provide PILF?                4   outside the organization, there would be no problem
   5        A. She provides advice to PILF of a similar        5   with the witness answering that question or that --
   6   nature of the sort you see in Exhibit 26.               6   questions along those lines.
   7        Q. So in response to Ms. Fitzgerald's April        7          MR. TEPE: I don't understand the
   8   12th email in which she says, "a fundraising            8   objection, but perhaps the witness can answer the
   9   opportunity, if nothing else," you responded to her,    9   question.
  10   correct?                                               10       Q. The question was, the thinking of board
  11        A. I did respond to her, according to             11   members was that the lawsuit provided a fundraising
  12   Deposition Exhibit 26.                                 12   opportunity, correct?
  13        Q. And in your response you said, "my board       13       A. Well, I don't know, except to the extent
  14   members had the same reaction as you, a fundraising    14   that this document refreshes my recollection that
  15   opportunity," correct?                                 15   there was some thinking along those lines.
  16        A. It says that in the email.                     16       Q. And what was the basis for that thinking
  17        Q. So, presumably, you had some basis as to       17   that this provided a fundraising opportunity?
  18   the thinking of board members, correct?                18       A. You've got me there, because I don't
  19        A. Well, I think I wouldn't have written that     19   remember.
  20   if I didn't have some basis.                           20       Q. Ms. Fitzgerald responds with a couple of
  21        Q. And the thinking of board members was that     21   pieces of advice, and you read those pieces of advice
  22   the lawsuit provided a fundraising opportunity,        22   a few minutes ago, correct?
  23   correct?                                               23       A. On April 13th she responds with the
  24           MR. LOCKERBY: I'm going to register an         24   suggestions that I read when you asked me what other
  25   objection. Defendants have objected generally to       25   advice besides April 12th she gave.


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   1       Q. And she advised direct mail letter to the        1   view about that as a 30(b)(6) deponent.
   2   low-dollar donors. Do you see that?                     2        Q. Five thousand dollars?
   3       A. I can read that. It says that.                   3        A. Don't have a view about that.
   4       Q. And what is a low-dollar donor?                  4        Q. Well, presumably, you would have to have
   5       A. I don't know what she meant by that. I           5   some view as to what constitutes a high-dollar donor
   6   can tell you what I think that means.                   6   in order to send a special letter to them, correct?
   7       Q. What do you think that means?                    7           MR. LOCKERBY: Object to the form.
   8       A. It means somebody who has given a small          8        A. I don't understand the question.
   9   amount of money.                                        9        Q. Well, if you're coming up with a mailing
  10       Q. What's a small amount?                          10   list for this special letter that is recommended
  11       A. I don't have a boundary on that at all          11   here, would you send that letter to someone who
  12   that I've ever considered, not even right now.         12   previously donated $5,000?
  13       Q. A million dollars, is that small?               13        A. Well, there's multiple letters suggested.
  14       A. Certainly not.                                  14   So it would seem to capture --
  15       Q. A special letter sent to high-dollar            15        Q. And I'm asking about the special letter
  16   donors was another recommendation of hers, correct?    16   sent to high-dollar donors.
  17       A. I've already testified, when you asked me       17        A. Right. I don't know. You notice there's
  18   what advice did she give besides the April 12th        18   some Xs in there.
  19   advice, I included that advice in her April 13th       19        Q. And then the third bullet is, "possibly
  20   email.                                                 20   offer to set up a follow-up call with the high-dollar
  21       Q. What is a high-dollar donor to your             21   donors to give them additional details about the
  22   understanding?                                         22   lawsuit." Do you see that?
  23       A. Maybe one who gives a million dollars.          23        A. Well, when you ask me what advice did she
  24       Q. What about a thousand dollars?                  24   give besides on April 12th, I read that into the
  25       A. That one is a hard one. I don't have a          25   record.



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   1       Q. Yes. And what phone calls would have been       1   this question before -- I've asked other questions --
   2   made if you don't know who the high-dollar donors      2   but my question is: Is it your testimony that PILF
   3   are?                                                   3   does not know what a high-dollar donor is?
   4       A. There are no lines of demarcation in this       4       A. This is the last time I'm going to answer
   5   document as to what is a low-dollar donor or a         5   this question. There is no definition of a
   6   high-dollar donor.                                     6   high-dollar donor at PILF.
   7       Q. I understand.                                   7               (Adams Exhibit 27 marked for
   8       A. So I'm not going to make one here.              8          identification: Email correspondence
   9       Q. That's why I'm asking that question as to       9          from (topmost) D Kulivan sent
  10   beyond this particular document, what is a            10          5/31/2018
  11   high-dollar donor?                                    11          PILF-ADAMS-0018001 - 0018002)
  12       A. That is an undefined categorization used       12       Q. The court reporter has marked as Exhibit
  13   by a third party.                                     13   27 a document with the Bates number 18001.
  14       Q. Right. A third party working for you to        14       This is an email chain that begins with an
  15   help you raise money. And so my question is: Who is   15   email from Shawna Powell to David Kulivan, correct?
  16   a high-dollar donor?                                  16       A. That's what the document says.
  17       A. And I've answered that question.               17       Q. It's dated May -- excuse me, May 30th --
  18       Q. In PILF's perspective, you don't know what     18   2018, and she writes, "David, we now have info we can
  19   a high-dollar donor is?                               19   provide to our large donors/foundations re the LULAC
  20       A. I've answered that question.                   20   suit." Do you see that?
  21       Q. Just to make sure I understand, your           21       A. The document says that.
  22   testimony is PILF does not know what a high-dollar    22       Q. And you did provide information to large
  23   donor is.                                             23   donors/foundations, as indicated here by Ms. Powell,
  24       A. I stand on my previous testimony.              24   correct?
  25       Q. Sir, my question is, and I have not asked      25          MR. LOCKERBY: Object to the form.


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   1          MR. TEPE: What's the objection?                 1       Q. You don't remember.
   2          MR. LOCKERBY: Well, the "you" is                2          MR. LOCKERBY: Objection. Is there a
   3   undefined.                                             3   question?
   4          MR. TEPE: PILF. This is 30(b)(6)                4       Q. You're the most knowledgeable person about
   5   capacity.                                              5   fundraising at PILF, and you don't remember if PILF
   6       A. So we're still on the 30(b)(6)?                 6   provided information to large donors/foundations
   7       Q. Yes.                                            7   regarding the instant lawsuit. That's your
   8       A. I don't know the answer to that right now.      8   testimony.
   9       Q. Do you know in your personal capacity?          9          MR. LOCKERBY: Object to the form.
  10       A. Well, no, I don't. And I don't know in my      10       A. Your question was something different. It
  11   corporate capacity, because I didn't think that you   11   was about a letter with attachments. It was about
  12   were going to be going back in, so I didn't refresh   12   this document.
  13   my recollection about this. More than likely --       13       Q. No, wrong.
  14   well, I'm not going to speculate.                     14       A. Well, then ask it again.
  15       Q. You did provide information to large           15       Q. My question was: Did you provide
  16   donors/foundations regarding the LULAC lawsuit,       16   information to large donors/foundations regarding the
  17   correct?                                              17   LULAC lawsuit?
  18       A. I'm not going to talk about our                18       A. Well, I don't understand the question,
  19   communications with donors.                           19   because I don't know what the line of demarcation is
  20       Q. I'm not asking about the content of            20   about large donors, for one. There's no line of
  21   communications, sir. I'm asking whether or not you    21   demarcation. The answer is some information was
  22   did in fact provided information to large             22   provided about the lawsuit to some donors.
  23   donors/foundations regarding the LULAC lawsuit?       23       Q. And would some donors include large
  24       A. Right, and I'm telling you I don't             24   donors/foundations?
  25   remember.                                             25       A. I don't understand the question. What is



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   1   a large donor? And I can answer your question            1   as to whether or not PILF provided information about
   2   possibly.                                                2   the LULAC lawsuit to, quote, large
   3        Q. Well, this is the words of Ms. Powell, who       3   donors/foundations?
   4   is the secretary of PILF, correct?                       4       A. Well --
   5        A. That's what she wrote.                           5          MR. LOCKERBY: Object to the form.
   6        Q. Ms. Powell, in this email here, when she         6       A. Right, I objected to the confusing nature
   7   says, "we now have info we can provide to our large      7   of the large. If you would ask the question without
   8   donors," she's referring to the special letter sent      8   that element to it, I have already answered that
   9   to high-dollar donors that was recommended by Ann C.     9   question, and the answer was that is what the
  10   Fitzgerald in the previous exhibit, correct?            10   transcript states.
  11          MR. LOCKERBY: Object to the form.                11          MR. TEPE: Move to strike as
  12        A. She could be referring to that which is         12   nonresponsive.
  13   redacted. I don't know, as I sit here right now.        13       Q. So, again, your testimony today is that
  14        Q. Well, presumably, she's not talking about       14   you have no recollection as to whether or not PILF
  15   a direct mail letter to low-dollar donors, correct?     15   provided information about the LULAC lawsuit to,
  16        A. I can't speculate.                              16   quote, large donors/foundations.
  17        Q. Do you need to speculate as the president       17          MR. LOCKERBY: Object to the form.
  18   of PILF and the most knowledgeable person about         18       Q. Is that right?
  19   PILF's fundraising?                                     19       A. I don't understand the question, for one,
  20        A. I do need to account for the possibility        20   and to the extent it did not involve large donors,
  21   that what's redacted is the answer to your question,    21   I've already answered it.
  22   and that requires a measure of speculation because I    22       Q. The answer is, yes, you have provided
  23   cannot remember what's redacted.                        23   information to donors/foundations regarding the LULAC
  24        Q. And so just to make sure I understand,          24   lawsuit.
  25   your testimony today is that you have no recollection   25       A. The answer is we have provided information


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   1   to some donors about the lawsuit.                        1       A. Next to nothing.
   2        Q. And the outreach to these donors netted          2       Q. How much money in dollar amounts did PILF
   3   PILF some money, correct?                                3   raise from donors invoking the LULAC lawsuit?
   4          MR. LOCKERBY: Object to the form of the           4       A. I don't have that exact number. My
   5   question.                                                5   understanding of it is it's less than a hundred
   6        A. I don't think it netted any money.               6   dollars.
   7        Q. Are you saying that the information              7       Q. So these large donors/foundations did not
   8   provided to some donors of some size regarding the       8   help out PILF at all, basically; is that your
   9   LULAC lawsuit yielded zero dollars?                      9   testimony?
  10        A. Saying it's awfully close to that. That         10       A. That's an incredibly confusing question.
  11   was the testimony last week when you asked this         11   "Help out PILF at all, basically" is not something
  12   question, and I'm answering it a second time. This      12   that any deponent would understand.
  13   is the second time you've asked a 30(b)(6) question     13       Q. Well, so how much money do you spend on
  14   on this topic.                                          14   the services of AC Fitzgerald?
  15        Q. And, yes, I believe your answer last time       15       A. I'm not sure I'm going to answer that
  16   was "next to nothing."                                  16   because I don't know.
  17        A. There you go. You have it in the                17       Q. Is it more than a hundred dollars?
  18   transcript.                                             18       A. More than a hundred dollars ever? Yes.
  19        Q. And "next to nothing" is not nothing,           19       Q. Do you have a yearly contract with AC
  20   correct?                                                20   Fitzgerald?
  21        A. I won't quibble with your                       21       A. No.
  22   characterization.                                       22       Q. Do you have a retainer with her?
  23        Q. And so how much money did PILF raise from       23       A. Yes.
  24   donors of any size based on solicitations invoking      24       Q. Okay. How much is the retainer worth?
  25   the LULAC lawsuit?                                      25       A. Again, I don't know. I answered that.



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   1       Q. Is it above a hundred dollars?                   1       Q. I'm trying to understand. So your
   2       A. Yes. I've answered that.                         2   testimony is that, in response to solicitations of
   3       Q. So have you fired AC Fitzgerald?                 3   high-dollar donors and foundations invoking the LULAC
   4       A. I don't understand the question. Have I          4   lawsuit --
   5   fired AC Fitzgerald?                                    5       A. What document are you referring to?
   6       Q. Well, one of the recommendations of Ann C.       6       Q. I'm not referring to a document. I'm
   7   Fitzgerald was a special letter to high-dollar          7   asking a question.
   8   donors, right? We've already established that,          8       A. What is the question?
   9   correct?                                                9       Q. I'll restate it. So your testimony is
  10       A. What does that have to do with firing her?      10   that, in response to solicitations of high-dollar
  11       Q. We established that that was one of her         11   donors/foundations invoking the LULAC lawsuit, PILF
  12   recommendations, right?                                12   raised less than one hundred dollars.
  13       A. The document speaks for itself. I think         13       A. What was that meaning -- you just made a
  14   we spent some time on discussing her April 12th and    14   hand gesture. Was that --
  15   April 13 advice.                                       15       Q. I'm --
  16       Q. Right. And so --                                16       A. Okay.
  17       A. Go ahead.                                       17       Q. No, that was nothing.
  18       Q. -- and so your testimony is that her            18       A. I thought maybe you were demanding a
  19   recommendation for a special outreach to large         19   quicker response.
  20   donors/foundations was a failure, correct?             20       Q. No. My arms were completely still.
  21       A. No, it isn't my testimony.                      21       A. Right. Okay. You just asked a question
  22       Q. Well --                                         22   that misrepresented the evidence. Deposition Exhibit
  23       A. This is argumentative. This is -- this is       23   26, as far as I can tell -- and I'm perfectly willing
  24   argumentative, and you're characterizing testimony I   24   to be pointed out as incorrect -- never uses one time
  25   never gave. I mean, that's -- that's just low.         25   the word "solicitation."


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   1       Now, again, I stand ready to be corrected, but      1       A. Yeah, a couple of other things being an
   2   you mischaracterized the evidence.                      2   important pivot point that you missed on all of your
   3       Q. Do you not understand that asking for            3   earlier questions.
   4   money in a fundraising capacity is often called a       4       Q. And one of those other things is a special
   5   solicitation?                                           5   letter sent to high-dollar donors, correct?
   6       A. Could you show me perhaps where in the           6       A. That is one of the things listed in her
   7   email of April 13th it suggests asking for money?       7   advice of April 13th.
   8          MR. LOCKERBY: I'm going to object to the         8       Q. Okay. And then we looked at the Exhibit
   9   form of the question. At this point it might almost     9   27 involving communication between Ms. Powell and
  10   be easier if counsel could start over with a new       10   Mr. Kulivan, who is also with AC Fitzgerald, correct?
  11   question rather than having us debate on the record    11       A. Your question is who is Mr. Kulivan with
  12   what the email says and doesn't say.                   12   or was it --
  13       Q. Well, I think we already established that       13       Q. Mr. Kulivan is with AC Fitzgerald.
  14   Ann C. Fitzgerald heard about the lawsuit, correct?    14       A. Correct.
  15       A. She heard about the lawsuit.                    15       Q. And if you then go to Exhibit 27,
  16       Q. And she said "a fundraising opportunity,        16   Ms. Powell said, "David, we now have info we can
  17   if nothing else," correct?                             17   provide to our large donors/foundations regarding the
  18       A. She did say that.                               18   LULAC lawsuit." Do you see that?
  19       Q. And you said, "my board members had the         19       A. She does say that.
  20   same reaction as you, a fundraising opportunity,"      20       Q. Okay. And so my question, which has not
  21   correct?                                               21   been answered is: Is it your testimony that
  22       A. That's what the email says that I wrote.        22   solicitations or fundraising letters sent to
  23       Q. And then Ms. Fitzgerald says, "I know you       23   high-dollar donors/foundations that invoked the LULAC
  24   were doing an email, but I think you could do a        24   lawsuit yielded less than one hundred dollars?
  25   couple of other things." Do you see that?              25       A. Well, I'd be excepting the premise that



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   1   they even existed, and so that's the first thing that    1   me and I see it.
   2   supports my testimony, and the second thing is, if       2        Q. It's an email from David Kulivan dated May
   3   they did exist, they yielded next to nothing.            3   1st, 2018; is that right?
   4        Q. And so is your testimony no longer that it       4        A. That's what it says.
   5   yielded less than a hundred dollars?                     5        Q. To you and Ms. Powell.
   6        A. Look, I've given you my best recollection,       6        A. Right.
   7   as I sit here today. You didn't like any of them.        7        Q. With a call agenda.
   8   You want to find inconsistencies between them.           8        A. It says there's a call agenda attached.
   9        I've told you it's next to nothing; I've told       9        Q. And then if you go to the attached, there
  10   you it's less than a hundred dollars; I've told you     10   is redacted the contents of an agenda between David
  11   it's an insubstantial amount of money. That's three     11   Kulivan, yourself and Ms. Powell; is that right?
  12   different ways I can say the same thing.                12        A. It says it's an agenda with redactions.
  13        Q. But it did net you some money.                  13        Q. Above the redactions it says, "updates on
  14        A. I'm not sure.                                   14   LULAC lawsuit," and then a bullet, "Do you have a
  15        Q. So are we -- is it now back to zero?            15   green light to discuss with top donors yet?"
  16        A. You're arguing with me now.                     16        A. That's what the document says.
  17                (Adams Exhibit 28 marked for               17        Q. Do you know what kind of information was
  18           identification: Email correspondence            18   redacted? I'm not asking for the content, just
  19           from (topmost) D Kulivan sent                   19   generally.
  20           5/1/2018                                        20        A. I have a general understanding of the
  21           PILF-ADAMS-0018006 - 0018007)                   21   nature of information that would have been redacted.
  22        Q. The court reporter has marked as Exhibit        22          MR. LOCKERBY: And I'm going to register
  23   28 a document with the beginning Bates number of        23   an objection. That's set forth in detail on a
  24   18006. Do you recognize this document?                  24   privilege log.
  25        A. I have Deposition Exhibit 28 in front of        25                (Adams Exhibit 29 marked for

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   1          identification: Email correspondence              1        Q. And then the attachment is a copy of that
   2          from (topmost) S Powell sent                      2   appeal, yes?
   3          4/13/2018                                         3        A. No. A copy --
   4          PILF-ADAMS-0040864 - 0040865)                     4        Q. A draft.
   5       Q. The court reporter has marked as Exhibit          5        A. Thank you. There's a difference.
   6   29 a document with the Bates number 40864. Do you        6        Q. Indeed. And so this is a draft what
   7   recognize this?                                          7   Ms. Powell calls appeal, what I would call
   8       A. I'm reading this, 29. I've read 29.               8   solicitation, but that draft is attached to the
   9       Q. And attached to the -- well, it's an email        9   email, yes?
  10   that started with David Kulivan to Ms. Powell on        10        A. It appears to be from this exhibit.
  11   April 13th, 2018; is that right?                        11        Q. Right. And then so the draft has a
  12       A. Wait. I'm sorry. It was an email that            12   proposed subject line, "Soros-Funded Group Sues
  13   was from David Kulivan to Powell.                       13   PILF."
  14       Q. Right, initially. And then Ms. Powell            14        A. That's on document 29.
  15   forwarded that email to you at 1:36 p.m. on April       15        Q. What's the reason for pointing out George
  16   13th, right?                                            16   Soros?
  17       A. That's what the document says.                   17        A. In this document?
  18       Q. And --                                           18        Q. Yes.
  19       A. Well, she forwarded something to me, the         19        A. Well, because the Plaintiffs in this case,
  20   attachment, which I presume is this second page of      20   at least their national entity, has received funding
  21   Exhibit 29.                                             21   from Open Society Institute, which is a Soros-funded
  22       Q. Right. And then in the body she says,            22   and managed operation.
  23   "Final of LULAC v. PILF email, appeal for your          23        So the fact that they have been funded by
  24   approval/edits," right?                                 24   these funding sources has relevance to the merits,
  25       A. The document says that.                          25   relevance to the purpose, relevance to the intent,



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   1   relevance to the funding and resources involved. It      1   received funding in that answer.
   2   has multiple facets of relevance to the people who       2       Q. But you have no basis for saying that.
   3   would receive this email.                                3       A. Not yet.
   4       And, again, you just made a gesture.                 4       Q. And then you say, "the Open Society
   5       Q. No, what I'm doing is I'm, like, moving my        5   Institute is a Soros-funded and managed operation,"
   6   hand, so --                                              6   right?
   7       A. With an expression.                               7       A. It's a factual statement.
   8       Q. My hand movement was because I was about          8       Q. Okay. So what is the relevance of George
   9   to ask another question, which is -- and I'm an          9   Soros donating or George Soros's Open Society
  10   expressive person; I apologize for that, Mr. Adams --   10   Institute donating money to LULAC national?
  11   but my question is: What's the reason for calling       11       A. Well, I've testified to that.
  12   out George Soros as purportedly a funder of the         12       Q. No, you said that it has relevance.
  13   national LULAC organization?                            13       A. And I gave you examples of why.
  14       A. I just provided an answer in your previous       14       Q. Well, you said it has relevance to the
  15   question for why that is, and I stand by that           15   merits. How so?
  16   testimony.                                              16       A. Well, because -- because the Soros-funded
  17       Q. Is there something wrong with the Open           17   lawsuits like exist around the country will
  18   Society Institute?                                      18   frequently be brought on flimsy foundations in order
  19       A. Well, what do you mean by "wrong"?               19   to make a broader ideological or political point, and
  20       Q. Well, you said in your previous answer           20   that's happening all over the country right now,
  21   that LULAC national, who is not a plaintiff in this     21   whether it involves immigration, whether it involves
  22   case, has received funding from the Open Society        22   voting, or a wide variety of things.
  23   Institute, correct?                                     23       So if Soros is funding the effort, it
  24       A. That was in my answer, correct, and -- and       24   frequently is less about the merits of the case but
  25   you preclude the possibility that the Plaintiff has     25   more about the broader ideological warfare, which is

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   1   exactly what I characterize and consider this case to    1       A. Well, I'm looking at it right now.
   2   be. Otherwise, you would have resolved this a long       2   There's no way to tell.
   3   time ago. There are other reasons.                       3       Q. Well, you can compare the two, right?
   4       Q. This proposed appeal has links to the             4       A. Well, but your question was, was this the
   5   Alien Invasion reports, correct?                         5   final, final email, and this might not be the final
   6       A. The draft appears to.                             6   email.
   7       Q. And this email appeal was sent, yes?              7       Q. Well, what makes you say it might not be
   8       A. If you have a document to refresh my              8   the final email?
   9   recollection, it would be helpful, because right now     9       A. Because Shawna Powell routinely sent test
  10   I can't remember.                                       10   emails to herself to see how they looked. And so
  11               (Adams Exhibit 30 marked for                11   there's a prospect -- possibility that this is a test
  12          identification: Email correspondence             12   email that she sent to herself to see how it looked.
  13          from (topmost) C Adams sent                      13   I can't preclude that as one of the possibilities for
  14          4/13/2018                                        14   this document.
  15          PILF-ADAMS-0017674 - 0017677)                    15       Q. Well, you wouldn't send out a test email
  16       Q. The court reporter has marked as Exhibit         16   unless you were planning on sending it out otherwise,
  17   30 a document with Bates number 17674. Do you           17   right?
  18   recognize this document?                                18       A. No, that's not correct. You send the test
  19       A. Exhibit 30, I've looked at.                      19   email in order to see if it looks adequate and
  20       Q. And this is a final version of the email         20   sufficient to send out.
  21   appeal that we looked at in draft form in Exhibit 29,   21       So you asked me if this was the final email
  22   correct?                                                22   that was sent, and the truthful answer is it could be
  23       A. It could be. It could not -- also might          23   but it also might not be.
  24   not be.                                                 24       Q. But you did send out email solicitations
  25       Q. Do you want to take a look?                      25   citing the LULAC lawsuit, correct?



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   1       A. Well, you're getting back to the ultimate        1       A. They don't come with a guide.
   2   question, did this go or not, and I don't remember.     2       Q. That's why we need the testimony of an
   3       Q. No, I'm not asking whether or not this one       3   educated 30(b)(6) witness to say yes, indeed, this
   4   went. I'm asking -- you do know that email              4   was sent.
   5   solicitations went out invoking the LULAC lawsuit,      5       A. Right.
   6   correct?                                                6       Q. And we don't have that here.
   7       A. If you have one to show me, I will opine         7       A. Well --
   8   about it --                                             8          MR. LOCKERBY: Object to the form.
   9       Q. No --                                            9       A. -- I don't know from the face of Exhibit
  10       A. -- or otherwise offer testimony.                10   30 whether or not this was sent. And I gave you very
  11       Q. Sir --                                          11   specific reasons why I can't make that conclusive
  12       A. Probably, but I don't remember.                 12   assertion.
  13       Q. But you're here as a 30(b)(6) witness,          13       Q. And then I asked the follow-up question,
  14   correct?                                               14   which was, it is the case that PILF sent email
  15       A. A 30(b)(6) witness is going to need their       15   solicitations invoking the LULAC lawsuit.
  16   recollection refreshed also. If you have a document    16       A. You showed me an exhibit in last
  17   that will refresh my recollection on what was sent,    17   Thursday's 30(b)(6) that looked different than this
  18   I'd be happy to look at it.                            18   that had more formatting that you asked me questions
  19       Q. Well, how would I know what was sent other      19   about that may be one of those. If you want to bring
  20   than to look at the documents that you produced in     20   that back, that might be one of them.
  21   this lawsuit?                                          21       Q. No, what I want is an answer to my
  22       A. Well, the documents produced in this            22   question, which is, it is the case, sir, that PILF
  23   lawsuit are not going to necessarily tell you what     23   sent out email solicitations invoking the LULAC
  24   was sent.                                              24   lawsuit, yes or no?
  25       Q. That's why --                                   25       A. And my testimony is I think you showed me

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   1   one last week that you haven't shown me today.          1          identification: Email correspondence
   2       Q. No, that's not the case, because those           2          from (topmost) S Powell sent
   3   were solicitations invoking the Alien Invasion          3          6/1/2018 with attachment
   4   reports. I'm now asking you questions about             4          PILF-ADAMS-0040925 - 0040930)
   5   solicitations invoking the LULAC lawsuit.               5       Q. The court reporter has marked as Exhibit
   6       A. Yeah, I have -- I'm not sure that -- I           6   31 a document with the Bates number 40925, correct?
   7   don't think there were others.                          7   Do you have that in front of you?
   8       Q. My question again is: It is the case that        8       A. 40925, Exhibit 31, I have it in front of
   9   PILF sent email solicitations invoking the LULAC        9   me.
  10   lawsuit, yes?                                          10       Q. And this begins as an email from Timothy
  11       A. I don't think there were.                       11   Webster dated June 1st to Shawna Powell; is that
  12       Q. And so it's your testimony that you             12   right?
  13   believe this (indicating) exhibit, Exhibit 30,         13       A. The email is, yes.
  14   showing an email solicitation invoking the LULAC       14       Q. And who is Timothy Webster?
  15   lawsuit was not sent.                                  15       A. He is with a group called ForthRight
  16          MR. LOCKERBY: Object to the form.               16   Strategies.
  17       A. No. Your question was confusing. This is        17       Q. And what is ForthRight Strategy?
  18   a solicitation, one singular solicitation. Your        18       A. They write letters like the one that is
  19   question was plural, solicitations, which would mean   19   attached to Deposition Exhibit 31.
  20   a different message, a different document, a           20       Q. Mr. Webster said, "Shawna, here's the
  21   different mailing.                                     21   house letter." What is a house letter?
  22       So my answer has been, if you have a document      22       A. A house letter is something that goes to
  23   to show me, I'll be happy to refresh my recollection   23   donors.
  24   about separate solicitations.                          24       Q. What kind of donors?
  25                (Adams Exhibit 31 marked for              25       A. House donors.



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   1       Q. What's a house donor?                             1       A. Well, it depends. It depends on whether
   2       A. It's a donor. It's somebody who donates.          2   or not they've donated to one of these mailings
   3       Q. Does a house donor have a particular              3   before.
   4   criteria attached to it?                                 4       Q. So once they've donated before, then they
   5       A. They're donors.                                   5   get on to the house list?
   6       Q. So any donor would get this house letter.         6       A. That's what a house file is.
   7       A. Well, I don't agree with that.                    7       Q. Well, that's what I'm asking you about.
   8       Q. Well, that's what I'm trying to                   8       A. All right.
   9   understand. Who would get the house letter?              9       Q. So attached to this is a draft house
  10       A. A donor.                                         10   letter, and this letter refers to the LULAC lawsuit,
  11       Q. All donors?                                      11   yes?
  12       A. No.                                              12       A. This is the sort of document I was asking
  13       Q. Some donors?                                     13   you for a period of time in my testimony if you had
  14       A. Some donors.                                     14   to refresh my recollection. The answer is yes, it
  15       Q. Who are the some donors?                         15   refers back to LULAC lawsuit.
  16       A. Ones in the house file.                          16       Q. In the second paragraph, you say -- well,
  17       Q. You're defining house letter by saying           17   strike that.
  18   they are the ones in the house file, and I'm trying     18       The letter says, "I'm writing to tell you that
  19   to understand who gets the house letter?                19   we are being sued for our work exposing voter fraud."
  20       A. Donors who are in the house file.                20   Do you see that?
  21       Q. And what kind of donors are in the house         21       A. I can read that in the letter.
  22   file?                                                   22       Q. Right. And this letter purports to come
  23       A. Ones who have previously donated.                23   from you, J. Christian Adams, with the Public
  24       Q. But not all donors are on the house list,        24   Interest Legal Foundation, yes?
  25   house file?                                             25       A. It purports to come from J. Christian

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   1   Adams.                                                   1   between this letter and the findings of Alien II. So
   2       Q. And on page 2 of the draft letter it              2   the answer to your original question is no.
   3   recites some of the findings of Alien Invasion II; is    3       Q. So you're saying this letter does not
   4   that right?                                              4   recite any findings of Alien Invasion II?
   5       A. I'm sorry. What does? It does what?               5          MR. LOCKERBY: Objection to form.
   6   Could you re-ask it?                                     6       A. I didn't say that. You're adding an
   7       Q. On page 2 of the draft letter it recites          7   absolute now in your question, the word "any." And
   8   some of the findings of Alien Invasion II, correct?      8   what I've testified to is this letter -- maybe this
   9       A. Well, I would not characterize this               9   will clear it up.
  10   necessarily as just a republication of Alien II.        10       This letter cites facts related to Alien II,
  11       Q. I didn't ask that.                               11   as far as I can see, sitting here -- and I can be
  12       A. Well, you said it recites findings.              12   corrected -- in a way that is different than Alien II
  13       Q. Right.                                           13   recites those facts
  14       A. So the implication is it republished those       14       Q. I'm not saying it is identical, but my
  15   findings. And so I'm answering the question, no, I      15   question is, it does cite -- strike that.
  16   would not agree that it necessarily recites findings    16       So right here on page 2 of the letter it says,
  17   from Alien II.                                          17   "here are some of the very disturbing facts we
  18       Q. Actually my question was, on page 2 of the       18   uncovered in our reports." Do you see that?
  19   draft letter, it recites some of the findings of        19       A. I see it says that.
  20   Alien Invasion II.                                      20       Q. And it says, "Virginia election officials
  21       A. And I continue to stand by my testimony          21   quietly removed 5,556 voters from the voter rolls for
  22   that some of the findings may not be an accurate        22   noncitizenship between 2011 and May 2017."
  23   statement. I don't know because I think there's some    23       A. That is an accurate statement that in fact
  24   differences.                                            24   that did happen.
  25       I actually -- there are, there's differences        25       Q. And that's one of the facts or findings



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   1   published in Alien Invasion II, correct?                 1       A. Nope, not saying that at all.
   2       A. In large part, but not entirely.                  2       Q. Okay. So you would agree that this letter
   3       Q. And then it also says, one thousand, here         3   recites some of the findings of Alien Invasion II,
   4   in the letter, "1,852 of those removed as noncitizens    4   yes?
   5   cast ballots." Do you see that?                          5       A. I won't disagree with you.
   6       A. The letter says that.                             6       Q. Meaning yes.
   7       Q. And that's also on the findings of Alien          7       A. No, not meaning yes.
   8   Invasion II, is it not?                                  8       Q. Well, why do you say I wouldn't disagree
   9       A. Probably is the number, if I say that's           9   with you if the meaning is not yes?
  10   exactly the number, but I have no reason to quibble     10       A. Because I don't have a view on that.
  11   with it.                                                11       Q. You don't have a view?
  12       Q. And the next bullet is, "a total of 7,474        12       A. I have, but you don't like it. I've told
  13   illegal ballots were cast from the pool of removed      13   you a number of times that I think there's --
  14   noncitizens." Do you see that?                          14       Q. Sir --
  15       A. It does say that.                                15       A. If I might finish the question, if it was
  16       Q. And that was also one of the findings from       16   one, and if it wasn't one, let me know that. "You
  17   Alien Invasion II, correct?                             17   don't have a view." Was there a question mark after
  18       A. Again, I think there's some difference           18   that?
  19   between Plaintiff's Exhibit -- I think we're on 31 --   19       Q. So the question that was pending is, so
  20   and the language you just read and the findings in      20   you would agree that this letter recites some of the
  21   Alien II.                                               21   findings of Alien Invasion II.
  22       Q. So are you saying the letter here to             22       A. I won't disagree with that.
  23   donors mischaracterized the findings of Alien           23       Q. And my question now is: Why do you phrase
  24   Invasion II?                                            24   your answer that way instead of just saying yes?
  25          MR. LOCKERBY: Object to the form.                25          MR. LOCKERBY: Object to the form.

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   1       A. I think there are differences, which I've         1   it is inconceivable that a draft from ForthRight
   2   already testified about at least twice in the last       2   Strategy has ever gone out without significant edits
   3   ten minutes.                                             3   being made to it.
   4       Q. What's the difference between yes and --          4        So my testimony is that it is almost certainly
   5       A. You just cut me off.                              5   not the case that the answer to your question was
   6       Q. I thought you were finished. What's the           6   yes.
   7   difference between saying I won't disagree with you      7        Q. Okay. So it is the case, though, that an
   8   and yes?                                                 8   edited version of the house letter that we were just
   9       A. I don't know. I think we're so mired down         9   looking at would have been sent out.
  10   in a word game now by this point that there's no way    10        A. I don't know. There have been times over
  11   to answer the question.                                 11   the years where I have absolutely stopped the mailing
  12       Q. This mailing was sent, yes?                      12   of a draft fundraising letter and said don't send
  13       A. I doubt it.                                      13   this.
  14       Q. Why?                                             14        Q. But you don't recall doing that in this
  15       A. Because this mailing would have never been       15   instance?
  16   sent, more than likely, the way it's presented in       16        A. Well, this might have been the instance.
  17   Deposition Exhibit 31.                                  17        Q. But you don't recall that specifically.
  18       Q. That's not my question. My question is           18        A. Well, specifically, no, but generally,
  19   that -- my question is not would this draft with no     19   yes. If you have a document that is the letter, I
  20   names in the address block be sent.                     20   can answer that question.
  21       My question is: Did this letter, this draft         21                (Adams Exhibit 32 marked for
  22   letter, become finalized and sent to donors?            22           identification: Email correspondence
  23       A. Almost certainly not.                            23           from (topmost) S Powell sent
  24       Q. And why?                                         24           8/28/2018
  25       A. Because, to the best of my recollection,         25           PILF-ADAMS-0041116 - 0041122)



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   1       Q. The court reporter has marked as Exhibit          1       A. It says, "I have some very bad news to
   2   32 a document with the Bates number 41116. Do you        2   share with you." That's the first sentence.
   3   recognize this document?                                 3       Q. No, but I'm on the cover page.
   4       A. This appears to me to be another draft            4       A. You mean the first page.
   5   from ForthRight Strategies to me in Exhibit 32.          5       Q. No, the cover page, the draft -- the
   6       Q. Okay. So Exhibit 31, we were looking at a         6   approval form.
   7   draft from June of 2018, yes?                            7       A. Okay. Got it. Right.
   8       A. Hold on. June 1st, 2018 in Exhibit 31.            8       Q. So you have the email, okay, and then
   9       Q. And this draft submitted by Timothy               9   before you get to the letter it says "approval page,"
  10   Webster of ForthRight Strategies has a submission       10   right? And the package name is Sued Bad News?
  11   date of August 22nd, 2018, yes?                         11       A. That's what it says in the document.
  12       A. I thought it was 28.                             12       Q. What is the "package code"?
  13       Q. Well, the email from Ms. Powell to you is        13       A. I have no idea.
  14   August 28th.                                            14       Q. Who sends these letters, if they go out?
  15       A. Okay.                                            15   Who actually mails them out?
  16       Q. But then there's a -- it's called a draft        16       A. ForthRight Strategies.
  17   copy approval form. Do you see that in the              17       Q. And then so part of this attachment is
  18   attachment?                                             18   another draft of a house letter invoking the fact
  19       A. Page 2.                                          19   that you were, PILF, was sued; is that right?
  20       Q. Right. And it has a submission date.             20       A. It's a draft of a letter prepared by
  21   That's what I was referring to.                         21   ForthRight Strategies in Exhibit 32.
  22       A. Well, right, there it says 8-22-18.              22       Q. Right, that says, "I have some very bad
  23       Q. And the package name is, I guess, a field        23   news to share with you. As you know, we're being
  24   on this cover page to the draft letter. It's called     24   sued for our work investigating and reporting on
  25   "Sued Bad News"; is that right?                         25   noncitizens illegally registering to vote and

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   1   actually voting in elections," correct?                  1       A. I don't know.
   2        A. That's an accurate statement.                    2       Q. Would it go to ForthRight Strategies?
   3        Q. And that's referring to the LULAC lawsuit,       3       A. It would go to a P.O. box in Washington,
   4   correct?                                                 4   D.C.
   5        A. It is. There is no other.                        5       Q. And who picks up the mail in that P.O.
   6        Q. And a version of this letter was sent out        6   box?
   7   to PILF donors, correct?                                 7       A. Most likely ForthRight Strategies.
   8        A. Well, there we are back again at the same        8       Q. So they send out the letters and then they
   9   issue. If you have a document that shows me that         9   get the responses; is that right?
  10   this document was sent -- now if you're asking me       10       A. ForthRight Strategy sends out the
  11   about a version of this letter, what do you mean by     11   letters -- I think it's ForthRight Strategy -- and
  12   version, I don't understand. Like a reproduction of     12   responses go back to a third party, not to PILF. I
  13   this letter being a version, or something closely       13   don't see those responses, if that's what you're
  14   approximating this letter being a version? There's      14   asking.
  15   two different ways to interpret that question. Can      15       I need to take a break. I'm starting to lose
  16   you clarify it, please?                                 16   my voice a little bit. Is this a good time?
  17        Q. Was an edited version of this letter sent       17          MR. TEPE: It is a good time.
  18   out to PILF donors?                                     18          VIDEO SPECIALIST: We're off the record,
  19        A. Okay. That I do not know the answer to.         19   2:30.
  20   If you have an edited version of this letter that you   20       (Proceedings recessed)
  21   could refresh my recollection that indicates it was     21          VIDEO SPECIALIST: We are back on the
  22   sent, I could answer that question easier -- or at      22   record, 2:46.
  23   all.                                                    23   BY MR. TEPE:
  24        Q. If someone were to donate based on one of
                                                               24       Q. We're ending the questioning of the
  25   these house letters, where would that return mail go?
                                                               25   30(b)(6) topic of fundraising and moving on to



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   1   something else.                                         1        Q. All right. Let me just do that again.
   2                (Johnson Exhibit 8                         2        So Johnson Exhibit 8 is an email attaching a
   3          previously marked for identification             3   draft of the Alien Invasion I report that he sent to
   4          and referenced herein: Email                     4   you at 4:56 p.m. on September 29th, correct? 2016,
   5          correspondence from (topmost) N                  5   that is.
   6          Johnson sent 9/29/2016 with                      6        A. Right. Johnson 8 says sent 9-29-2016,
   7          attachment                                       7   4:56 p.m.
   8          PILF-ADAMS-0005601 - 0005620)                    8        Q. And PILF Exhibit 9, which you also have in
   9                (PILF Exhibit 9 previously                 9   front of you, is an email you sent on September 29th,
  10          marked for identification and                   10   2016 at 9:02 p.m. with your edits to the Alien
  11          referenced herein: Email                        11   Invasion I report; is that right?
  12          correspondence from (topmost) C                 12        A. Almost correct. It is a document, Exhibit
  13          Adams sent 9/29/2016 with attachment            13   9, is an email I sent on 9-29-2016 at 9:02 p.m. with
  14          PILF-ADAMS-0014015 - 0014033)                   14   some edits to the Alien Invasion report that Noel
  15        Q. Handing to the witness two previously          15   Johnson had sent.
  16   marked exhibits, Johnson 8 and PILF 9.                 16        Q. Okay. Yes. So this may not be all of
  17        Mr. Adams, I'm just going to ask you a few        17   your edits ultimately to the report is what you're
  18   questions about these two drafts, comparing them.      18   saying.
  19        To set the foundation here, Johnson Exhibit 8     19        A. Correct.
  20   is a version of Alien Invasion I that he sent to you   20        Q. But these are your edits -- these are
  21   on September 29th at 4:56 p.m.; is that right?         21   edits of yours at this time.
  22        A. I'm sorry. There's a siren, and I think        22        A. Exactly, yes, that's more accurate.
  23   you said 4 something.                                  23        Q. I want to direct you to what is page 2 of
  24        Q. 4:56 p.m. Let me see if there's a --           24   Exhibit 9. It's got the Bates ending in 18. And I
  25        A. It's gone or going.                            25   want you to compare that to Johnson 8 with the Bates

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   1   number 602. Do you have those two pages in front of     1   produced by PILF, absent a redline, I'm asking you to
   2   you?                                                    2   do this comparison.
   3       A. I have those pages in front of me, right.        3        A. It doesn't make sense that -- this doesn't
   4       Q. So on PILF 9, on the page with 018,              4   make -- I disagree with the premise that that's a
   5   there's some text in bold that says, "in our small      5   change of mine absent something that makes it a
   6   sample of just seven Virginia counties who responded    6   little more clear.
   7   to our public inspection requests, we found 976         7        I can't imagine -- I mean, there's a chance I
   8   aliens who registered to vote illegally." Do you see    8   didn't do it in a redline, but I don't understand how
   9   that?                                                   9   that -- you're coming to the conclusion that's my
  10       A. The document says that.                         10   change, because Mr. Johnson sent two different
  11       Q. And that is, if you compare that to             11   versions, Exhibit Johnson 8 and PILF 9, and --
  12   Johnson 8, that is text that you personally added.     12        Q. Well, no, Mr. Johnson sent Johnson 8,
  13          MR. LOCKERBY: Object to the form.               13   right?
  14       A. Well, now -- I don't know. I don't think        14        A. Right, but Johnson 8 doesn't even come
  15   so, but I don't know. I mean, you're essentially       15   close to looking like PILF 9.
  16   asking me to do a document compare on the fly, and I   16        Q. Right.
  17   don't see anything such as a redline that would make   17        A. So there's got to be something else here
  18   that an easier question to answer. If you have one,    18   you're not showing me.
  19   that would be extremely helpful to answer your         19        Q. You added a lot of text.
  20   question.                                              20           MR. LOCKERBY: Objection, that hasn't been
  21       Q. Well, it appears you didn't make these          21   established. The only thing that's been established
  22   edits in Track Changes, which would provide a          22   is there's a comment on this page from Mr. Adams.
  23   redline.                                               23   That's it.
  24       A. Right.                                          24        Q. Okay. Let's take one step at a time.
  25       Q. And since we're using the actual documents      25        A. Right. And I disagree with the idea,



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   1   absent additional documents, that would utilize tools    1        Q. Why do you say that?
   2   that would allow me to see the answer to your            2        A. Because it involves formatting that I
   3   question.                                                3   don't have the capability of doing. I don't know how
   4       I added a comment to that paragraph. Maybe           4   to do a bubble quote like that on page 14018. So
   5   that's what you're asking me. Maybe I misunderstood      5   that leads me to conclude -- and I don't know how to
   6   your question. Maybe you're asking me if I added         6   do a bubble quote on 14021.
   7   that comment. I'm sorry if I --                          7        So, no, I fundamentally disagree. These are
   8       Q. No, no, I'm not asking, but we'll take it         8   not my edits to Johnson 8. In other words, some
   9   one step and see what we can, you know, agree on.        9   changes on here are not my edits. That's another way
  10       So we have Johnson 8, right. It's a draft           10   of putting it.
  11   that he sent to you on September 29th at 4:56 p.m.,     11        Q. Okay. We can agree that the language, "in
  12   right? We already established that, right?              12   our small sample of just seven Virginia counties who
  13       A. I won't disagree this was sent to me             13   responded to our public inspection request, we found
  14   because that's what the email says.                     14   976 aliens who registered to vote illegally," that
  15       Q. Okay. And then we also have a draft              15   language is absent from Johnson 8 and it's contained
  16   containing at least some of your edits back to          16   in PILF 9.
  17   Mr. Johnson, same day, four hours later, at 9:02        17        A. Okay. You are now asking me to do
  18   p.m.?                                                   18   essentially a mental Ctrl F search for Johnson 8 on
  19       A. Well, my edits, I think, are delineated --       19   the fly, and I don't know the answer to that, as I
  20   my certain edits are delineated which consist of a      20   sit here. I can go through and do that page by page,
  21   comment on page 18, and this is -- let me -- let me     21   and I'm happy to do that if you direct me to do that,
  22   explain why I can't answer this question easily.        22   to the best of my ability.
  23       Deposition Exhibit 9 PILF is a much more            23        Q. You do recall that this sentence, "in our
  24   matured document than Johnson 8, and it is not likely   24   small sample," appeared ultimately in Alien Invasion
  25   that I was responsible for those maturities.            25   I with the exception it became eight Virginia

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   1   counties and 1,046 aliens.                               1       Q. I understand, but I'm just focused on this
   2       A. Okay. So you're asking me if a different          2   one sentence that I read out of PILF 9. That
   3   version of this sentence appeared in the final           3   sentence doesn't appear in PILF -- excuse me --
   4   report.                                                  4   Johnson 8.
   5       Q. Right.                                            5          MR. LOCKERBY: Object to the form, assumes
   6       A. I recognize words like "small sample,"            6   facts not in evidence and in fact contrary to the
   7   "just," "responded to our public inspection              7   evidence.
   8   requests." I have some recollection -- and I see         8       A. I mean, there's multiple people doing
   9   that I probably have not been handed that exhibit in     9   edits of this at one time. Somebody edited this
  10   this deposition -- I have some recollection that        10   document that wasn't me to add a variety of things
  11   something similar to this appeared somewhere. I've      11   that I don't have the technical capability, which is
  12   seen this language before, not in PILF 9.               12   very minimal, but I still don't possess it, to do
  13       Q. On page 7 of PILF 9, which is -- there's         13   certain things in this document, leading me to
  14   no page numbers -- it's got the Bates number 023 --     14   conclude that it wasn't my edit, but, the more
  15   the language, second paragraph from the bottom, "the    15   important thing is that the United States attorney
  16   United States attorney in Virginia has done nothing     16   language would fall between Bedford County -- but
  17   about the felonies committed by 433 aliens              17   then there's a different paragraph above that also.
  18   registering in Prince William County alone." Do you     18       Q. Right. I think, having looked at this, I
  19   see that language?                                      19   can possibly help you. So there is a one-sentence
  20       A. I can read that language.                        20   paragraph in Johnson 8 that says, "there is no other
  21       Q. That language, if you go to Johnson 8 with       21   indication that Prince William County (or the state
  22   the Bates number 5608 -- and actually 5609 -- that      22   board -- state election board) forwarded information
  23   language in PILF 9 does not appear in Johnson 8;        23   to local or federal prosecutors on these 433
  24   would you agree with that?                              24   potential felons for investigation and prosecution."
  25       A. Well, there's a lot of differences.              25   Do you see that?



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   1       A. No. Where? What page?                             1   "relationship" in the dictionary, I would suspect
   2       Q. I just read it from Johnson 8. You have           2   there's at least six definitions, probably more.
   3   your finger on it.                                       3   Perhaps your question could be focused on one of
   4       A. Right, but -- oh, I see. Okay.                    4   those so I can better understand the question.
   5       Q. Right. So that language in Johnson 8 was          5       Q. Do you know Donald Palmer?
   6   replaced with, in PILF 9, "United States attorney in     6       A. I do know Donald Palmer.
   7   Virginia has done nothing about the felonies             7       Q. How do you know him?
   8   committed by 433 aliens registering in Prince William    8       A. I'm sorry?
   9   County alone." Would you agree with that?                9       Q. How do you know him?
  10       A. I agree that there's different versions of       10       A. Are you asking me when I first met him or
  11   a similar topic in Johnson 8 and PILF 9.                11   are you asking me --
  12       Q. Okay. And sitting here today, you don't          12       Q. We can go there. When did you first meet
  13   know whether you or someone else added the language     13   him?
  14   beginning "the United States attorney in Virginia."     14       A. I met him in the fall of 2005.
  15       A. You know I've -- you've asked that and           15       Q. And what was the occasion of meeting him
  16   I've answered it.                                       16   in the fall of 2005?
  17       Q. Well, I asked that about a different             17       A. Both of us were employed by the
  18   passage, and so now I'm asking about this passage.      18   United States Department of Justice in the voting
  19       A. Right. I don't recall who made that edit,        19   section.
  20   and I indicated to you, if you had a redline, it        20       Q. And how long did you have as an
  21   would be an easier way to answer your questions.        21   overlapping time period; do you recall?
  22   Right now I don't have a clear recollection.            22       A. That I don't know the answer to.
  23       Q. You can put those documents aside.               23       Q. What was his position at that time?
  24       Do you have a relationship with Donald Palmer?      24       A. He was an attorney in the voting section.
  25       A. If I were to look up the word                    25       Q. And you were an attorney in the voting

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   1   section.                                                 1       Q. Has he served as an expert witness in any
   2       A. Correct.                                          2   of your cases?
   3       Q. Since fall of 2005 have you had occasions         3       A. Well, okay, you are -- let me put it this
   4   to work with Mr. Palmer?                                 4   way. I don't know what the stage of designation was,
   5       A. Absolutely.                                       5   and depending on what the stage of the designation
   6       Q. How many times?                                   6   was, it could intrude on the attorney-client
   7       A. There's no way to categorize that.                7   privilege for a client. So I'm attempting to
   8   There's utterly no way to do that.                       8   carefully answer the question, and maybe you could
   9       Q. Why is that?                                      9   give me something that would help me avoid any
  10       A. Because your question is vague, for one.         10   privilege issues.
  11       Q. You can't quantify how many times you've         11       Q. Well, I'm certainly not trying to get into
  12   worked with him?                                        12   any privilege issues. I mean, the question is just
  13       A. That wasn't your question. You said how          13   simply, has he served as an expert witness in any of
  14   many times have you had an opportunity to work with     14   your cases?
  15   him.                                                    15          MR. LOCKERBY: I'm going to object, and,
  16       Q. No, my question was, since fall of 2005,         16   in view of the witness's concerns about
  17   have you had occasions to work with Mr. Palmer. You     17   attorney-client privilege and work product, instruct
  18   said absolutely. I asked how many times.                18   the witness that perhaps one way of answering the
  19       A. Right. I have never been employed at the         19   question without disclosing privilege or work product
  20   same location as Mr. Palmer since approximately --      20   would be to limit the answer to disclosed testifying
  21   approximately, with plus or minus two years -- 2007.    21   experts.
  22       Q. Have you had occasion to work with him on        22       A. Again, it would be helpful if you have a
  23   various projects?                                       23   document that would refresh my recollection to answer
  24       A. He was retained to write a best practices        24   your question. Such a document might include a
  25   document for PILF was one example.                      25   notice with the court, it might include a filing with



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   1   the court, or a variety of other public documents        1   it's a broad range of communications relating to his
   2   that would help me answer that question better and       2   awareness that noncitizens were getting on the voter
   3   more accurately without violating privileges.            3   rolls and voting based on his experience as an
   4       Q. Well, I'll happily adopt Mr. Lockerby's           4   elected -- excuse me -- a chief state elections
   5   suggestion and ask the question, has Mr. Palmer          5   officer in two of the largest states in the
   6   served as a disclosed expert on any of your cases?       6   United States.
   7       A. He might have.                                    7        Q. You're talking about Virginia and Florida?
   8       Q. In what case might he have served as a            8        A. Correct.
   9   disclosed testifying expert?                             9        Q. So you work with him regularly on election
  10       A. There is a chance that he may have been a        10   matters; is that what you're saying?
  11   disclosed testifying expert in ACRU vs. Starr County.   11        A. No, I disagree with that characterization
  12       Q. Other than potentially that engagement and       12   actually.
  13   the retention to draft a best practices guide, have     13        Q. Well, you said there's no way to catalog a
  14   you had occasion to work with Mr. Palmer on other       14   decade's worth --
  15   projects?                                               15        A. Keep going.
  16       A. Absolutely.                                      16        Q. -- of communication.
  17       Q. Such as?                                         17        A. There you go.
  18       A. There is no way to catalog a decade's            18        Q. Why isn't there a way to catalog a
  19   worth of communication. So one of the areas that        19   decade's worth of communication?
  20   Mr. Palmer and I have had communications relates to     20        A. Because it is so pervasive and extensive
  21   the role of noncitizens getting on the voter rolls      21   and regular that -- and elastic and otherwise
  22   and voting.                                             22   ongoing -- that it can't be cataloged. And I've
  23       Q. And what communications specifically are         23   given you a very specific example.
  24   you referring to?                                       24        Q. There's no question pending.
  25       A. Well, it's not a specific communication;         25        Did he have a role of any kind with respect to

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   1   the Alien Invasion reports?                              1          9/30/2016
   2       A. Yes.                                              2          Non-Party Palmer000035)
   3          MR. LOCKERBY: Object to the form.                 3       Q. The court reporter has marked as Exhibit
   4       A. Depending on what that role, you mean by          4   33 an email with the Bates number Non-Party
   5   that.                                                    5   Palmer000035. Do you see this document?
   6       Q. Did he have any hand in drafting the              6       A. I see this document.
   7   reports?                                                 7       Q. Do you recall this email exchange with
   8       A. A hand in ... I don't understand what you         8   Mr. Palmer?
   9   mean by "a hand in."                                     9       A. Yes.
  10       Q. Did he draft any words that appear in the        10       Q. And so on September 30th at 1:04 a.m. you
  11   Alien Invasion reports?                                 11   sent an email to Mr. Palmer copying Mr. Johnson, with
  12       A. He may have, but he may not have.                12   the subject line, "For Your Eyes Only, Virginia Alien
  13       Q. You did send him a copy of at least one of       13   Invasion." Do you see that?
  14   the Alien Invasion reports before it was published,     14       A. That's what the document says.
  15   right?                                                  15       Q. It says, "Don, do you have time to take a
  16       A. I did.                                           16   look at this ASAP with any edits or changes to
  17       Q. In fact, I think PILF 9, which we were           17   suggest? This is our first rough and fast draft of
  18   just looking at, refers to sending a draft to Don,      18   the Alien Invasion for Virginia." Do you see that?
  19   right?                                                  19       A. Well --
  20       A. PILF 9 says, "I am going to send to Don."        20       Q. That's what you wrote.
  21       Q. That's Don Reag -- uh, Don Palmer?               21       A. -- what you said was not what I wrote, but
  22       A. Correct.                                         22   I'm just making sure the word is clear. You did not
  23               (Adams Exhibit 33 marked for                23   indulge my typo. You said take a look at when you
  24          identification: Email correspondence             24   read it, but it says "take a look a this ASAP." You
  25          from (topmost) C Adams sent                      25   didn't read my mistake.



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   1        Q. I apologize. I will try to do better next        1   September 30th. He says:
   2   time.                                                    2          "I found a little pearl for you.
   3        A. Just want to make the record clear.              3          Here is our very own Kathy Culliton,
   4        Q. That's fine. And then you wrote, "feel           4          Advancement Project, testifying
   5   free to hammer Cortes with some changes where you see    5          against the use of the SAVE database
   6   fit," right?                                             6          in Virginia. Guess who else worked
   7        A. It says that.                                    7          at the Advancement Project? Edgardo
   8        Q. And so with this email you were attaching        8          Cortes. Of course, this is the pool
   9   a draft -- we don't have it in front of us obviously     9          of talent of the current governor."
  10   because this is the first in a chain -- but you were    10       Do you see that?
  11   attaching a draft for Mr. Palmer to look at; is that    11       A. (Nodding head up and down.) Yes.
  12   right?                                                  12       Q. And you wrote back, "perfect find," and
  13        A. Yeah. What's strange is the email               13   you continued, "Noel," who is also copied on this
  14   doesn't -- is there a second page of this? The email    14   email, "Culliton needs to be kicked somehow. Don and
  15   doesn't show an attachment. It references one. I        15   I both know her well." And then you provide some, I
  16   have no reason to doubt that -- and I have a specific   16   guess, proposed language.
  17   recollection of sending him one.                        17       A. More a narrative is what I call it.
  18        Q. Right. I mean, this is the first email in       18       Q. Okay. This information from Mr. Palmer,
  19   the chain. Usually the attachment gets dropped off,     19   did you feed that to Breitbart?
  20   right?                                                  20          MR. LOCKERBY: Object to the form.
  21        A. Okay. Right, but it should say something        21       Q. Did you share that information with
  22   about it, but, nonetheless, I just want the record to   22   Breitbart?
  23   be clear again that it doesn't reference the            23       A. I don't think I did, but there's a chance
  24   attachment.                                             24   I did. Obviously lots of people knew it.
  25        Q. Well, Mr. Palmer responds to you on             25       Q. At this time you didn't know it.


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   1        A. You mean right now?                              1       And so I would have known, quite possibly,
   2        Q. No, at this time, September 30th.                2   that -- that Cortes was now with the Advancement
   3        A. Don informed me of this because --               3   Project by then. Would I have known about Kathy
   4        Q. But my question -- I'm sorry. My question        4   Culliton being there? Probably not, because I
   5   is, at this time, when Don informed you, you did not     5   thought she was with another organization.
   6   already have this information; is that right?            6       Q. Well, just to be clear in your answer,
   7        A. Well, "this information," what part do you       7   according to this email, Mr. Cortes worked at the
   8   mean? I mean, he gives me a number of pieces of          8   Advancement Project before he was picked by Governor
   9   information here. One -- I can break it up -- one,       9   McAuliffe, right?
  10   two, three, four -- four different pieces of            10       A. Well, right, and you asked me -- and I
  11   information.                                            11   think he's there now. So when you asked me, did you
  12        When you say "this information," there's four      12   know this already, that's one of the reasons my
  13   different ones here, some of which I knew, some of      13   answer would have been for some of the information
  14   which I didn't.                                         14   yes. You were asking me what I did or did not know
  15        Q. Did you know that Edgardo Cortes,               15   on a certain day, and I said there's multiple packets
  16   according to this, worked at the Advancement Project    16   of information.
  17   at this time?                                           17       Q. Right.
  18        A. Well, this gets exactly into Don Palmer,        18       A. And the answer would be different for each
  19   why he wanted to be involved in this project, and I     19   one.
  20   reference that very clearly in the email, at least to   20       Q. Right. And for the package with regard to
  21   me, where I indicate something along the lines of, I    21   Cortes and Advancement Project, did you know that, do
  22   know he is not acting like you would. That sentence     22   you recall, at that time?
  23   has a whole bundle of other facts behind it related     23       A. I don't remember. I mean, I think I
  24   to my conversations with Don that led to Alien          24   probably would have if he -- if Edgardo had been at
  25   Invasion.                                               25   the Advancement Project prior to working for the



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   1   governor, I probably would have known that.              1   catalog the problem, the pervasive and empirical
   2       Q. You can put that document aside.                  2   problem of noncitizen registration voting in Fairfax,
   3       Do you know Cameron Quinn?                           3   for which Cameron and Hans von Spakovsky had amassed
   4       A. Yes.                                              4   a rather voluminous documentary record.
   5       Q. How do you know her?                              5       And what it showed was noncitizens
   6       A. Well, Cameron and I both worked at the            6   registering, noncitizens voting in Fairfax, and in
   7   Department of Justice together.                          7   fact was one of the genesises of this report, was the
   8       Q. Voting rights section?                            8   awareness of a problem in Fairfax of Cameron Quinn,
   9       A. No.                                               9   when she was the general registrar of Fairfax, and
  10       Q. Where were you?                                  10   when Hans von Spakovsky, when they were on the board
  11       A. I was in the voting rights section.              11   of Fairfax, attempted to remedy.
  12       Q. And where was she?                               12       And, indeed, this prior history of noncitizens
  13       A. She was a counsel to the assistant               13   registering in Fairfax that Cameron Quinn brought to
  14   attorney general.                                       14   my attention was one of the reasons this report was
  15       Q. For civil rights?                                15   done, was an effort to fix this problem that was
  16       A. Yes.                                             16   without any dispute occurring in at least one very
  17       Q. For how long did your tenures overlap at         17   large, if not the largest county, in the Commonwealth
  18   DOJ?                                                    18   of Virginia.
  19       A. That I don't know. Maybe -- I'd be               19       Q. So when I asked what projects you had
  20   speculating.                                            20   worked with Ms. Quinn on, you said one of them was
  21       Q. Have you worked with Ms. Quinn on any            21   attempting to catalog the problem of noncitizen
  22   projects since your tenure at DOJ?                      22   registration and voting in Fairfax, right, and then
  23       A. Yes.                                             23   you elaborated on that, correct?
  24       Q. What projects?                                   24       A. My testimony speaks for itself.
  25       A. Well, one of them was attempting to              25       Q. Other than that cataloging, are there


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   1   other projects that you have worked with Ms. Quinn       1       Q. No, no, I'm not trying to minimize. I'm
   2   on?                                                      2   just trying -- I'm just trying to understand, other
   3       A. Certainly.                                        3   than this Fairfax situation, are there other
   4       Q. Such as?                                          4   projects, that was my question, besides Fairfax and
   5       A. Well, Alien Invasions is an offshoot of a         5   the issues in Fairfax, are there other things that
   6   project working with Cameron Quinn, that the data        6   you worked on with Ms. Quinn?
   7   that they collected in Fairfax was part of the           7       A. I think the reports would be a second.
   8   projects I worked with.                                  8   Was she working directly every single day, certainly
   9       Remember, there was -- the Fairfax data              9   not, but the efforts to catalog noncitizen voting in
  10   collection that she engaged in and then we got copies   10   the Commonwealth as manifested by Alien I and Alien
  11   of was the first attempt at cataloging noncitizen       11   II would not have occurred without her assistance.
  12   registration and voting in the Commonwealth. Alien      12       Q. Did she edit any drafts of the Alien
  13   Invasion itself was, if you will, the next phase of     13   Invasion reports?
  14   that project.                                           14       A. Unlikely. I don't want to preclude it.
  15       Now where the lines of demarcation are between      15   Right, no, this was in '17. So it's extremely
  16   Cameron collecting the data as the GR versus us         16   unlikely that Alien II drafts would have been seen by
  17   beginning to organize it, I couldn't tell you, but      17   Cameron. And whether or not Alien I was, I can't say
  18   those are two different things we worked on together.   18   for certain, but it would have also been probably
  19       Q. I'm not sure if I follow. So I'm only            19   unlikely.
  20   seeing one project, and that is her providing           20       Q. Did she collect any records that were then
  21   information to you about things that happened in        21   used for either the Alien Invasion reports?
  22   Fairfax County. That's one thing, right?                22       A. Yes.
  23       A. No, you've minimized the role -- when you        23       Q. What records did she collect?
  24   said "providing information," that's certainly not      24       A. Well, when she was the general registrar
  25   the extent of what she did.                             25   in Fairfax County, she was collecting the records



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   1   that we first examined to use for our research. So       1   that's the first step in a third party collecting
   2   she was in an official capacity, but she was still       2   records is to be aware of its existence.
   3   the one collecting these records.                        3       Q. Have you discussed the LULAC lawsuit with
   4       Q. Okay. I think just to make sure my                4   Ms. Quinn?
   5   question is clear, none of those records themselves      5       A. There's some chance I have, but I don't
   6   made it into the Alien Invasion reports.                 6   have a specific recollection of it.
   7       A. I actually think they did. I think they           7       Q. Have you corresponded with her with regard
   8   did.                                                     8   to the LULAC lawsuit?
   9       Q. What records?                                     9       A. Highly unlikely, but if you have a
  10       A. I think you're mistaken. The records of          10   document to refresh my recollection, I'm happy to
  11   noncitizen cancellation in Fairfax, the documents       11   look at it.
  12   associated, the large numbers, frankly, of voter        12       Q. When was the last time you spoke with
  13   registration forms where the person marks no, they      13   Ms. Quinn?
  14   are not a citizen, those are records she collected      14       A. Hmm ... it's probably within the last
  15   that I reviewed that probably were included in          15   month, but it might be five weeks. It could be
  16   Alien I.                                                16   within the last two months. I do not have a specific
  17       Now did she collect them like some of the           17   recollection of that conversation other than the fact
  18   people that your law firm organized? No, she didn't     18   that it occurred relatively recently.
  19   go out and run around the state and collect records     19       Q. And do you recall if this conversation
  20   from registrars. She did it in an official capacity     20   concerned the present lawsuit?
  21   related to the collection of various noncitizen         21       A. I just answered your question. I didn't
  22   records, which were stored in an official capacity,     22   have a specific recollection.
  23   which she alerted to me -- me.                          23       Q. Have you corresponded with Ms. Quinn about
  24       That's the other part of her role is that she       24   this lawsuit by email correspondence?
  25   made it known to me that these records existed. And     25       A. Oh, certainly not, not that I can

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   1   remember. Again, as I said, if you have a document       1   Quinn dated February 20th, 2019; is that right?
   2   that says otherwise, I'm happy to revise my answer.      2       A. It is.
   3        Q. But you don't, sitting here today, you           3       Q. And the subject line is "FYI -- involves
   4   don't have any recollection.                             4   friends."
   5        A. No. I mean, there is some chance that at         5       A. That's what the subject line says.
   6   some point in the last year that some reference was      6       Q. Do you know what that was in reference to?
   7   made in some communication with Cameron Quinn            7       A. I don't remember this document.
   8   involving this lawsuit.                                  8       Q. In this document there's a link to a
   9        But, as we know, I would be surprised that          9   website www.scribd.com?
  10   that correspondence has not already been turned over,   10       A. I see the link.
  11   if it existed, given the protocols which are in place   11       Q. And in the URL for the link it says,
  12   to search for documents.                                12   "Adams-Declaration."
  13        Let me put it this way. In the 52,000 pages        13       A. Well, the URL says that.
  14   that I reviewed to respond to your written discovery    14       Q. Right. Did you send a copy of the
  15   requests, I don't remember seeing any communications    15   declaration that you drafted and submitted in
  16   with Cameron Quinn, as I sit here right now.            16   response to Defendant's -- excuse me -- Plaintiff's
  17                (Adams Exhibit 34 marked for               17   motion to compel the production of documents to
  18           identification:Email correspondence             18   Ms. Quinn?
  19           from (topmost) C Adams sent                     19       A. Wait. There's a -- there is a motion to
  20           2/20/2019 PILF-ADAMS-0046678)                   20   compel production of documents of Ms. Quinn in this
  21        Q. The court reporter has marked as Exhibit        21   case? I don't understand the question. Repeat it,
  22   34 a document with the Bates number 46678. Do you       22   if you might.
  23   recognize this document?                                23       Q. There was a motion filed by Plaintiffs in
  24        A. I see document 34.                              24   this case to compel you to produce more documents,
  25        Q. And it's an email from you to Cameron           25   correct?



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   1        A. Right, but I thought you said something          1   35 a document with the Bates number 7236. Do you
   2   about --                                                 2   recognize this document?
   3        Q. And then -- I'm just clarifying -- and did       3       A. I see Exhibit 35.
   4   you send -- and in response to that motion you           4       Q. And in Exhibit 35 it shows an email from
   5   drafted a declaration, correct?                          5   Cameron Quinn to you dated May 12th, 2016, correct?
   6        A. Right.                                           6       A. That's what the document says.
   7        Q. And did you send that declaration to             7       Q. And the subject line is "to perhaps
   8   Ms. Quinn through this link?                             8   consider," correct?
   9        A. Yeah, I don't know. I don't know. I              9       A. I can read that it says that.
  10   don't know what this link is. It could have been,       10       Q. Do you recall receiving this email from
  11   could have not been. I mean, hit the link, and then     11   Ms. Quinn?
  12   it's easier to answer your question.                    12       A. This document, 35, refreshes my
  13        Q. You don't recall whether or not you sent        13   recollection to some degree, but I don't have a lot
  14   Ms. Quinn a copy of your declaration filed in           14   of memory, because I haven't seen this for -- we're
  15   response to Plaintiff's motion to compel?               15   going on three years now.
  16        A. If I didn't remember Exhibit 34 even being      16       Q. The email of Ms. Quinn was turned into a
  17   sent, I'm not going to remember what this link is.      17   draft FOIA request by Noel Johnson; is that correct?
  18        Q. So the answer is you don't recall.              18       A. Well, I don't necessarily think it is, but
  19        A. No, I don't.                                    19   I'm not sure. Draft attached ... it can be emailed
  20                 (Adams Exhibit 35 marked for              20   to the address provided in the letter, FOIA, right.
  21           identification: Email correspondence            21       I mean, I don't know the answer to your
  22           from (topmost) N Johnson sent                   22   question. I know that it is a document that Noel
  23           5/16/2016 with attachment                       23   Johnson appears to have worked up into an advanced
  24           PILF-ADAMS-0007236 - 0007238)                   24   stage. Whether or not it was sent, I don't know the
  25        Q. The court reporter has marked as Exhibit        25   answer to that.


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   1       Q. And this is -- whether or not it was sent,        1   peculiar. I hadn't thought about it.
   2   this draft purports to come from you, correct?           2       Q. Sometimes people use quotation marks as
   3       A. Well --                                           3   kinds of to mean the same as those previously --
   4       Q. It's your signature on the --                     4       A. Oh, you're suggesting these are ditto
   5       A. Right, it would have to because Virginia          5   marks.
   6   has a law that doesn't let anybody else get it.          6       Q. Yes.
   7       Q. Well, the law being that, to issue a              7       A. I wouldn't disagree with that.
   8   Virginia FOIA request, you have to be a resident of      8       Q. Okay. "All leave records for Edgardo
   9   Virginia.                                                9   Cortes and Elizabeth Howard"?
  10       A. Correct.                                         10       A. I can read it says that.
  11       Q. Now the FOIA request -- well, let's start,       11       Q. All calendars for the two of them, right?
  12   go back to the email of Ms. Quinn.                      12   "All calendar for Cortes and Howard," yes, that was
  13       In her email with the subject line "To Perhaps      13   one of the things listed here by Ms. Quinn?
  14   Consider," she states, "all travel records for          14       A. I can read that it says that.
  15   Edgardo Cortes and Elizabeth Howard 2014 to current."   15       Q. And those same, I guess, requests are
                                                               16   contained in the draft FOIA request that's attached,
  16   Do you see that?
                                                               17   yes?
  17       A. I can read that on the document.
                                                               18       A. I don't know. I haven't compared. Let me
  18       Q. And it says, "all phone records," with
                                                               19   do that.
  19   some quotation marks after it, which, presumably, is
                                                               20       Okay. Appears to contain that request.
  20   saying all phone records for Edgardo Cortes and
                                                               21       Q. Who is -- so Ms. Howard was the deputy
  21   Elizabeth Howard.
                                                               22   commissioner of the Department of Elections, yes?
  22       A. I can read that in the document.
                                                               23       A. Who?
  23       Q. Do you agree with that?
                                                               24       Q. Ms. Howard.
  24       A. I agree that it's in the document. Do I
                                                               25       A. I don't know. Hold on. Where do you see
  25   agree with what the figures mean afterwards? It's



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   1   the name Howard?                                         1   have to do with malfeasance in the Department of
   2       Q. Elizabeth Howard, it's on Cameron Quinn's         2   Elections?
   3   email, and then it's also in the draft FOIA request.     3        A. Well, that's a pretty easy one. If people
   4       A. Oh, okay, right. I don't know who she is.         4   were inappropriately turning in travel records, as
   5       Q. But according to the draft FOIA request,          5   has been my experience and Ms. Quinn is probably
   6   she's the deputy commissioner.                           6   aware of the situation, where Department of Justice
   7       A. Okay. There you are. Exhibit 35,                  7   employees were charging up to $30,000 in fake travel
   8   attachment characterizes her as the deputy               8   records and turning it in to the government for
   9   commissioner.                                            9   reimbursement.
  10       Q. What was the purpose of drafting this FOIA       10        So this is not something that's a rare event.
  11   request?                                                11   This is something that happens in government. And I
  12       A. Well, just like in other circumstances           12   have some recollection of Ms. Quinn indicating that
  13   related to the drafting of the Alien Invasion report,   13   there's a problem related to travel records
  14   former election officials have a pretty good idea of    14   associated with employees of the Department of
  15   when something is going wrong inside an election        15   Corrections. And if they are wasting money on travel
  16   department, and this is one of multiple pieces of       16   instead of paying for other utilities to help
  17   information that came to my attention about             17   maintain the voter rolls or doing data searches for
  18   malfeasance within Commissioner Cortes's tenure         18   all the dead people on the rolls, then that's a
  19   related to problems associated with how elections are   19   highly relevant question.
  20   run in that office. And the purpose of this was to      20        Q. You said the Department of Corrections.
  21   find government records related to potential            21        A. I'm sorry. Department of Elections.
  22   malfeasance in an election office and eventually        22   Everything else I stand by.
  23   analyze them and take appropriate action once           23        Q. Were you fishing for dirt on Mr. Cortes?
  24   received.                                               24          MR. LOCKERBY: Object to the form.
  25       Q. What would travel records for Mr. Cortes         25        A. "Fishing for dirt" ... I would dispute

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   1   your characterization, considering I just gave you a     1       Q. How do you know him?
   2   fairly lengthy answer, but I'll give you another one     2       A. I'm sorry?
   3   that might be longer.                                    3       Q. How do you know him? I'm sorry.
   4       Mr. Cortes --                                        4       A. Well, are you asking me when I first
   5       Q. It's a yes or no question.                        5   became aware of him?
   6       A. I don't agree with the premise. I don't           6       Q. When did you first meet Mr. Blackwell?
   7   understand the question. But if you're asking me         7       A. Well, I may have had my first
   8   whether I wanted to get to the bottom of whether         8   communication with Mr. Blackwell sometime in the fall
   9   there was travel fraud or leave fraud or people not      9   of '05 when I was an attorney with the United States
  10   turning in leave when they should have, as may indeed   10   Department of Justice.
  11   have been the case, or, if we can keep going, résumés   11       Q. Why do you say you may have had your first
  12   of the people who were hired because there were         12   communication with him at that time?
  13   indications that very partisan people were being        13       A. That's my recollection.
  14   hired into a nonpartisan office, or if we wanted to     14       Q. Do you recall what that communication was
  15   examine the people currently employed because we        15   about?
  16   understood that there was a lot of waste and abuse in   16       A. Yes.
  17   the employment process, then, yes, I would have been    17       Q. What was it about?
  18   seeking to get those through public information         18       A. I'm not going to answer you because it's
  19   requests, which we're allowed to have, and whatever     19   the privilege of the United States.
  20   that information would have revealed may or may not     20       Q. Did that privilege extend to
  21   have been, as you categorize it, as dirt, but it        21   Mr. Blackwell? I mean, he's not -- he's a third
  22   could have been exculpatory, it could have been not     22   party, yes?
  23   exculpatory.                                            23          MR. LOCKERBY: Well, objection, the
  24       Q. Do you know Ken Blackwell?                       24   witness has identified with whom or by whom he was
  25       A. I do.                                            25   employed at the time and also that the privilege



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   1   belonged and still belongs to his former employer.       1       Q. You've had many conversations with him;
   2       Q. What's the nature of the privilege?               2   that's why it's impossible to quantify?
   3       A. Attorney-client, work product, and many           3       A. Yeah, I mean, that's part of why it's
   4   other things that federal programs will -- probably      4   impossible.
   5   can come up with that will bog you down for months,      5       Q. Why else is it impossible to quantify
   6   if you press.                                            6   besides the frequency?
   7       Q. So the first communication that you had           7       A. Because I don't keep records of it.
   8   with Mr. Blackwell concerns something that you           8       Q. Have you worked with him on any projects
   9   believe is protected by a attorney-client or attorney    9   over the years?
  10   work-product privilege of the United States.            10       A. Yes.
  11       A. I do.                                            11       Q. What projects?
  12       Q. And what was the topic of that                   12       A. Well, one of them would be our time
  13   conversation, without getting into the contents of      13   working together on the Presidential Advisory
  14   the conversation?                                       14   Commission for Election Integrity. I consider that
  15       A. I will provide you absolutely no testimony       15   to be a project, if you will, or at least -- I
  16   regarding that entire matter because federal programs   16   suspect you would consider that to be a project.
  17   would never agree to my ability to waive anything       17       Q. Broadly defined, I would.
  18   related to that function.                               18       A. Right.
  19       Q. Other than this initial communication,           19       Q. What other projects?
  20   have you had other communications with Mr. Blackwell    20       A. Well, I don't know how you define
  21   since then?                                             21   "projects" at that point. That's clearly one that
  22       A. I have. Well -- go ahead.                        22   would fall within a reasonable definition of a
  23       Q. I was going to ask, how many                     23   project.
  24   communications have you had with him?                   24       Q. Okay. What's your definition of a
  25       A. It is impossible to quantify that.               25   project? It apparently includes serving on the

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   1   Presidential Advisory Commission.                        1       A. Almost certainly, but I don't have a
   2        A. Indeed.                                          2   specific recollection.
   3        Q. What's your definition of a project?             3       Q. Are there other -- other than -- were you
   4        A. Well, a focused effort to produce a              4   saying yes to an article, or indicating that there
   5   particular product.                                      5   was probably an article, or are you thinking of
   6        Q. Okay. Using that definition, have you had        6   something other than an article that's in a written
   7   occasion to work with Mr. Blackwell on other             7   --
   8   projects?                                                8       A. Mr. Blackwell and I have worked on a
   9        A. I believe we have some occasion to work on       9   variety of issues. Whether or not they manifest
  10   free speech issues together.                            10   themselves to something in writing, I can't catalog
  11        Q. Such as?                                        11   for you, but there are a number of them that we share
  12        A. Well, there's no defined project.               12   similar beliefs that we would have worked together
  13        Q. Okay. Well, that's what I'm trying to           13   on.
  14   find out. Are there defined projects, as you defined    14       Q. What are some of those similar beliefs?
  15   it, that you worked with him on?                        15       A. Free speech, that the First Amendment is
  16        A. Well, I wouldn't say defined projects. We       16   under attack by organizations like LULAC, and that
  17   have issues that overlap that we care about, free       17   there's an effort to chill debate and discussion
  18   speech and the First Amendment being one of them.       18   about important public policy issues related to
  19        Q. Have you worked with him on draft white         19   elections and other matters, and that money pours
  20   papers?                                                 20   into the effort to chill and intimidate speakers, and
  21        A. Mr. Blackwell and I were on the                 21   the ramifications include people trying to be killed
  22   Presidential Advisory Commission, and we have worked    22   where Mr. Blackwell works.
  23   on documents related to that time.                      23       And so Mr. Blackwell has some firsthand
  24        Q. Other than that, have you worked with him       24   experience with people with firearms coming to his
  25   on some collaborative work product, like an article?    25   office and trying to murder people. And so those are



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   1   some of the issues we talk about.                        1   concrete projects that the two of you have worked on
   2       Q. Other than the First Amendment, are there         2   that you can recall sitting here today.
   3   other issues that you have common positions on?          3       A. Mr. Blackwell and I have never worked on
   4       A. Right, we do. Election integrity is               4   concrete. But other than that, we've worked on
   5   another one that Mr. Blackwell more than likely          5   projects together. How you define concrete is the
   6   shares my belief that having a system in place that      6   question. And so far concrete is an inadequate
   7   prevents noncitizens from getting on the rolls and       7   description for me to answer without knowing what
   8   not disenfranchising citizens is a very important        8   you're asking.
   9   public policy that right now is not being met by         9       We have probably signed letters together.
  10   election officials around the country, and, frankly,    10   That's another example. If you've got a document
  11   not being met by federal law.                           11   that you want me to talk about and can refresh my
  12       Q. In terms of just concrete things in terms        12   recollection about the concrete event, I'm happy to
  13   of your work with Mr. Blackwell, so far you've          13   do that.
  14   identified this privileged communication stemming       14               (Adams Exhibit 36 marked for
  15   from your time at DOJ, correct, that's one?             15          identification: Email correspondence
  16       A. I identified a privileged communication          16          from (topmost) N Johnson sent
  17   that I'm not going to answer questions about.           17          1/4/2018
  18       Q. And then this white paper with respect to        18          PILF-ADAMS-0004281 - 0004282)
  19   the Presidential Advisory Commission, that's a          19       Q. The court reporter has marked as Exhibit
  20   second, I guess, concrete thing you've worked with      20   36 a document with the Bates number beginning 4281.
  21   him on, right?                                          21   There's really only one thing I want to ask you
  22       A. I've worked with Mr. Blackwell on the            22   about, and it's focused on the first email in the
  23   Presidential Advisory Commission on a wide variety of   23   chain.
  24   things.                                                 24       A. Okay. "I'll get the request out today"?
  25       Q. Are there other -- I'm just looking for          25       Q. No, the first email in the chain meaning


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   1   the earliest, which is at the end, right? So there       1   Presidential Advisory Commission was disbanded,
   2   appears to be an email that you sent on January 4th,     2   correct?
   3   2018; is that right?                                     3       A. Are you asking whether, I mean -- I don't
   4       A. An email from me.                                 4   know. It probably was.
   5       Q. 8:20 a.m.?                                        5       Q. And at the last sentence to this email is,
   6       A. I can see it says that.                           6   Hans or -- last two sentences -- "Hans will get
   7       Q. I'm sorry?                                        7   someone helping at Heritage. But our organizations
   8       A. It says that.                                     8   are going to produce it, not the Commission." Do you
   9       Q. Yes. Do you recall sending this email at          9   see that?
  10   8:20 a.m. on January 4th of 2018?                       10       A. It says that.
  11       A. Of course not, but I see it says that.           11       Q. And that's a reference to the Presidential
  12       Q. And then you wrote, "okay, Logan, here's         12   Advisory Commission?
  13   the plan we came up with Hans and Ken Blackwell. We     13       A. Yes.
  14   are going to do our own report (some of us)." Do you    14       Q. So is this email referencing what we had
  15   see that?                                               15   previously discussed as a white paper with Ken
  16       A. It says that.                                    16   Blackwell?
  17       Q. Right. And is this referring to a report         17       A. No. This is discussing a report that we
  18   that you guys -- "you guys" being Hans, Ken             18   were going to do regarding all of the topics listed
  19   Blackwell, yourself -- would draft with regard to the   19   in this email.
  20   Presidential Advisory Commission?                       20       Q. Right. And this was a report because the
  21       A. No. It says the framework is we're going         21   Presidential Advisory Commission was disbanded; is
  22   to plug in factual specifics Virginia, New Jersey,      22   that right?
  23   Pennsylvania, ACRU finding -- I mean, it's telling      23       A. No.
  24   you what this is right here in the email.               24       Q. No? Okay. Then what was this report?
  25       Q. Right. And this email was sent after the         25       A. It says right here, "We are going to plug



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   1   in factual specifics -- Virginia, New Jersey,            1   problems in the election system, and that's what we
   2   Pennsylvania, ACRU finding, deposition findings in       2   were talking about.
   3   Starr, Heritage Data, testimony already heard,           3        Q. So your earlier testimony, when there was
   4   whatever." That's what the report is going to            4   a discussion about a white paper with Ken Blackwell,
   5   involve. It's all listed right there in the              5   is that something different than what's represented
   6   document.                                                6   here in this email?
   7       Q. Right. What was the purpose of this               7        A. I'm sorry. What was the question? The
   8   report?                                                  8   existence of our previous --
   9       A. To publicize the existence of voter fraud         9        Q. No. So your earlier testimony, when there
  10   to rebut people like your plaintiffs' law firms who     10   was a discussion about a white paper with Ken
  11   say that doesn't exist or is minimized. That's          11   Blackwell -- do you recall that testimony?
  12   exactly what it was. Like the Southern Coalition for    12        A. No, I don't.
  13   Social Justice or the other plaintiffs' law firm.       13        Q. Well, when we were going through projects
  14       Q. And you were going to produce this               14   that you may have had with Mr. Blackwell, you had
  15   report -- strike that.                                  15   mentioned some work product, not attorney work
  16       And you were planning on producing this report      16   product, but some -- some written collaborative
  17   because the Presidential Advisory Commission was        17   project with Mr. Blackwell, right?
  18   disbanded; is that right?                               18        A. I said we may have signed some letters
  19       A. No. I told you why, because we have a            19   together is what I believe my testimony was.
  20   free -- a right to freely associate with each other     20        Q. Did you, Mr. Blackwell and Mr. von
  21   and speak under the First Amendment about issues        21   Spakovsky draft the report that's indicated in this
  22   important to us, and one of those issues are the        22   email in front of you?
  23   issues detailed here.                                   23        A. No.
  24       And so we had a right to engage in protected        24        Q. Have you worked with Mr. Blackwell on any
  25   First Amendment activity about the existence of         25   report, not an article or anything like that, any

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   1   sort of report?                                          1   while. Just take a quick break?
   2       A. Worked with Mr. Blackwell on any                  2          MR. LOCKERBY: Okay.
   3   report ...                                               3          VIDEO SPECIALIST: We are off the record,
   4       Q. On election issues.                               4   3:57.
   5       A. I've read his expert report in this case.         5       (Proceedings recessed)
   6       Q. No, I'm sorry, have you, before this case,        6          VIDEO SPECIALIST: We are back on the
   7   have you worked with Mr. Blackwell on any written        7   record, 4:10.
   8   product other than the articles --                       8               (VVA Exhibit 39 previously
   9       (Clarification by reporter.)                         9          marked for identification and
  10       A. Probably yes.                                    10          referenced herein: Email
  11       Q. Do you recall any of them sitting here           11          correspondence from (topmost) N
  12   today?                                                  12          Johnson sent 4/4/2017
  13       A. Well, one would be we have worked on a           13          PILF-ADAMS-0001408 - 0001410)
  14   variety of issues related to legislation in Congress,   14   BY MR. TEPE:
  15   and that would have included some sort of written       15       Q. I'm handing the witness a document that's
  16   materials. That would be one example that I'm sure      16   been previously marked as VVA Exhibit 39, with the
  17   we worked on in the past. I have some recollection      17   Bates number, PILF Bates number of 1408.
  18   of that. In fact it would have related to               18       Mr. Adams, do you recognize this as an email
  19   legislation in the House.                               19   string beginning with an email from Edgardo Cortes on
  20       Q. What legislation?                                20   March 28th, 2017?
  21       A. I don't remember the bill number. It             21       A. I see the document Exhibit 39 VVA.
  22   related to election issues in the House.                22       Q. And you recognize this document, correct?
  23       Q. What time period?                                23       A. I see it. If I -- I mean, it's in front
  24       A. 113th maybe.                                     24   of me, and I have just been handed the document.
  25          MR. TEPE: I think we've been going for a         25       Q. Okay. You can take a look at it.



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   1       A. Okay.                                             1        A. It says that.
   2       Q. So, again, the email string begins with an        2        Q. And then there's a list of jurisdictions
   3   email from Mr. Cortes dated March 28th, is that          3   such as Buchanan County, for instance.
   4   correct, of 2017?                                        4        A. Right.
   5       A. The document says that.                           5        Q. So Mr. Cortes sends the VERIS Cancellation
   6       Q. Okay. And Mr. Cortes wrote that this              6   Report, Noncitizen Cancellation Report, and then
   7   email is in response to your letter dated March 14,      7   Mr. Johnson notices that some jurisdictions are
   8   2017, correct?                                           8   missing and asks, does this mean those reports do not
   9       A. This email is in response ... right, the          9   exist, right?
  10   document says that.                                     10        A. I think we just went through this. It
  11       Q. Attached is a PDF of the VERIS Noncitizen        11   says what it says.
  12   Cancellation Report for the period January 1st, 2011    12        Q. And then Mr. Cortes -- and Mr. Johnson
  13   to March 20th, 2017, correct?                           13   doesn't ask any questions other than that one, right?
  14       A. The document says that.                          14        A. Not in VVA 39, perhaps elsewhere.
  15       Q. And then in response to this email from          15        Q. And Cortes responds to that question,
  16   Mr. Cortes, Mr. Johnson responded, also on March        16   right, on April 4th, 2017?
  17   28th, at 3:01 p.m. Do you see that?                     17        A. Well, in part, he responded --
  18       A. I see there's a response at 3:01 p.m. on         18        Q. And he -- go ahead.
  19   March 28th.                                             19        A. No, go ahead.
  20       Q. And Mr. Johnson wrote, "Mr. Cortes, thank        20        Q. And he said, "Mr. Johnson, sorry for the
  21   you for the report. Upon review, there appears to be    21   brief delay, but I wanted my IT folks to go back and
  22   15 jurisdictions missing. Does this mean those          22   confirm my understanding. The 15 jurisdictions you
  23   reports do not exist (i.e., no cancellations in the     23   listed do not have any records meeting the criteria
  24   relevant time period) or were they inadvertently        24   for the report." Do you see that?
  25   omitted?" Do you see that?                              25        A. It says that.

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   1       Q. Did you personally speak with Department          1        Q. There's no question pending.
   2   of Elections IT folks?                                   2        A. Well, this is the answer to my last --
   3       A. Boy ... highly unlikely, but I have some          3   your last question.
   4   recollection of communicating with IT folks at the       4          MR. LOCKERBY: Objection. There is a
   5   Virginia Department of Elections at some point.          5   question pending. There's an answer pending too, but
   6       Q. And when was that?                                6   you cut it off.
   7       A. I don't remember. I just know that, if            7        A. I have some recollection of Mr. Johnson or
   8   you were to ask me have you ever in your life spoken     8   somebody speaking to somebody in that office besides
   9   to IT people at the Virginia Department of Elections,    9   Edgardo Cortes.
  10   my answer would be almost certainly yes.                10        Q. At some point.
  11       Q. Okay. Did you talk to IT folks with              11        A. At some point. That may or may not have
  12   regard to the question Mr. Johnson asked here?          12   been IT folks.
  13       A. Highly unlikely.                                 13        Q. And then in the rest of this response from
  14       Q. Do you know if anyone at PILF spoke with         14   Mr. Cortes he refers to whether people are in
  15   any of the IT folks at the Virginia Department of       15   canceled status or in active status, is that right,
  16   Elections with regard to Mr. Johnson's question here?   16   on the list that he provided?
  17       A. That's significantly more likely to have         17          MR. LOCKERBY: Object to the form.
  18   happened than Christian Adams speaking with these       18        A. I don't think he does. I don't think that
  19   individuals, but I do not know the answer to your       19   is right.
  20   question.                                               20        Q. Okay. Well, let's read it. So he says --
  21       Q. You're not aware of any sitting here             21   he continues on, "this report shows individuals that
  22   today?                                                  22   were canceled due to self-reported noncitizen status
  23       A. Sitting here today I'm not aware of it.          23   and failed to complete an affirmation of citizenship
  24   But, that being said, I have a pretty clear             24   in the allotted time frame, continued to be in
  25   recollection that --                                    25   canceled status."



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   1        A. That's what it says.                             1   cancellation list are citizens or noncitizens, does
   2        Q. So he's talking about people in canceled         2   he?
   3   status with respect to their voter registration,         3          MR. LOCKERBY: Object to the form.
   4   correct?                                                 4       A. He does. He does. And one cannot
   5        A. Well, I can't speak -- I suspect that            5   disconnect the context and the procedures associated
   6   Mr. Cortes offered in answer to your question that he    6   with the generation of this report from what he says.
   7   was more competent to answer than I am right now as      7   He most certainly does refer to noncitizens. More
   8   to what he meant.                                        8   than just noncitizens -- self-reported noncitizens --
   9        I can tell you what it says on the page, and I      9   which has more weight in my view than a noncitizen
  10   can tell you what I thought it meant, but I can't       10   that the Commonwealth has determined to be a
  11   tell you what Mr. Cortes might have to say.             11   noncitizen.
  12        Q. And then he continues, "if an individual        12       Q. He doesn't use the term "aliens" anywhere
  13   was previously canceled and then subsequently           13   in this email, does he?
  14   affirmed citizenship and was reregistered, they would   14          MR. LOCKERBY: Object to the form.
  15   no longer appear on this report because they would      15       A. He uses a synonym.
  16   now be on active status." Do you see that?              16       Q. He doesn't refer to whether people are
  17        A. The email in VVA 39 says that.                  17   legal or illegal registrants, does he?
  18        Q. And those individuals who -- no, "those         18       A. Wait. Did you say he doesn't refer to
  19   individuals would show on the earlier custom report     19   whether or not they are legal or illegal what?
  20   you have. Let us know if there are any additional       20       Q. Registrants. He does not refer to whether
  21   questions. Thanks."                                     21   people on the cancellation list are legal or illegal
  22        Okay. That's the content of his email on           22   registrants, does he.
  23   April 4th at 10:04 p.m., correct?                       23       A. Well --
  24        A. The document says that.                         24          MR. LOCKERBY: Object to the form.
  25        Q. He does not refer to whether people on the      25       A. -- one can make a reasonable inference

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   1   that, if they swore falsely on the registration form,    1   crime may have been committed.
   2   that they were illegal registrants, absolutely,          2       Q. And so this -- he says this report shows
   3   and --                                                   3   individuals that were canceled due to self-reported
   4       Q. But he -- are you done? But he in his             4   noncitizen status and failed to complete an
   5   email does not refer to whether people are legal or      5   affirmation of citizenship in the allotted time
   6   illegal registrants himself.                             6   frame, right?
   7           MR. LOCKERBY: Object to the form.                7       A. That's what the document says.
   8       Q. Is that right?                                    8       Q. Right. And this is referring to a list
   9       A. It is -- I would disagree slightly to             9   that shows people who did not respond with an
  10   that, because he is very explicitly saying that they    10   affirmation of citizenship within two weeks of
  11   were canceled due to self-reported noncitizen status,   11   receiving a notice of intent to cancel, correct?
  12   which presupposes they got on the rolls in the first    12          MR. LOCKERBY: Object to the form.
  13   place by dishonestly filling out a form that they had   13       A. And there's more to your -- that you left
  14   to attest to under penalty of perjury.                  14   out of your question.
  15       While it's true that he doesn't say illegal         15       Q. But -- but that is --
  16   registrants, that's the reasonable inference from the   16          MR. LOCKERBY: Objection. He ought to be
  17   facts presented by Mr. Cortes in this email that they   17   allowed to finish his answer.
  18   illegally registered in the first place.                18       Q. Go ahead.
  19       Q. He does not refer to whether people              19       A. These are people who first gave false
  20   committed or did not commit felonies, does he?          20   information to an election official at least once,
  21       A. By implication, yes.                             21   and most recently would have said, under penalty of
  22       Q. He does not use those terms.                     22   perjury, that they were not an American citizen, and
  23       A. He doesn't use the word "felony," but he         23   they would have attested to that and made an
  24   says everything else a reasonable person with common    24   affirmative checkbox to that, and then the state, the
  25   sense would require to ascertain whether or not a       25   Commonwealth, would have gone to the trouble of



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   1   mailing them an opportunity to correct the record,       1       Q. And so Mr. Cortes does not use the word
   2   and they never replied.                                  2   "felonies" in this email, right?
   3       Q. Within two weeks.                                 3         MR. LOCKERBY: Objection, asked and
   4       A. That's the law.                                   4   answered. The document speaks for itself.
   5          MR. LOCKERBY: Objection.                          5       Q. Withdrawn. And at the top of the document
   6       Q. And you can -- but you can reregister             6   Mr. Johnson forwards the previous email chain to you
   7   after that two-week time period. You know that,          7   and he says, with respect to Mr. Cortes, he just
   8   right?                                                   8   confirms what we already knew. The report includes
   9       A. Wait. Who can reregister?                         9   only people who are flagged then sent an affirmation
  10       Q. The person who was canceled.                     10   and did not return it, correct, that's what he says?
  11       A. Not necessarily.                                 11         MR. LOCKERBY: Objection.
  12       Q. That is an option.                               12         MR. TEPE: What's the objection?
  13       A. Not always.                                      13         MR. LOCKERBY: That's not what it says.
  14       Q. Well, I'm not asking if it's always the          14         MR. TEPE: What did I misread?
  15   situation, but that is an option. If you fill out,      15         MR. LOCKERBY: And failed to complete an
  16   you know, a new registration, for example, and affirm   16   affirmation of citizenship in the allotted time frame
  17   your citizenship, you may be back on the voter rolls,   17   and continued to be canceled status.
  18   right?                                                  18         MR. TEPE: That's not what he wrote. The
  19       A. Right, but your question was whether or          19   quotation here is what I read. "Otherwise he just
  20   not you can just do it willy-nilly, and the answer is   20   confirms what we already knew -- the report includes
  21   no. If you're not a citizen in the first place, for     21   only people who were flagged, then sent an
  22   whom these individuals were not, then, no, you can't    22   affirmation and did not return it," period.
  23   just reregister to vote. You're not a citizen of the    23       Q. That's what Mr. Johnson wrote to you,
  24   United States. And that's just federal law. It's        24   correct?
  25   also state law.                                         25       A. Mr. Johnson's email in Deposition Exhibit

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   1   39 in a VVA dep says what it says. I can't add to it     1       Q. And you never checked the records of the
   2   or subtract from it.                                     2   registrars that they sent to you against the report
   3        Q. And you don't disagree with what                 3   that Mr. Cortes sent to you.
   4   Mr. Johnson wrote, do you, that one sentence I just      4       A. I personally did not.
   5   quoted?                                                  5       Q. And did anyone at PILF?
   6        A. Well, I think that there's certain things        6       A. I think you asked that last week, and I
   7   he left out, but I have no reason to -- I am unable      7   don't remember the answer.
   8   to find something -- I don't know about the part he      8       Q. You can put that document aside.
   9   confirms what we already knew. I do dispute that a       9                (Adams Exhibit 37 marked for
  10   little bit. I didn't know what Mr. Cortes writes        10          identification: Email correspondence
  11   down below in the April 4th, 10:04 a.m. email, I        11          from (topmost) C Adams sent 2/6/2017
  12   didn't already know that.                               12          PILF-ADAMS-0051839)
  13        I was stunned, frankly, that it was so cut and     13       Q. The court reporter has marked as Exhibit
  14   dried after his email where all of the -- all of the    14   37 a document with the Bates number 51839. Do you
  15   Linda Lindberg, Arlington registrar, complaints about   15   recognize this document?
  16   the data were exposed to be inaccurate.                 16       A. I see this, yes.
  17        Q. Well, you never actually checked the list       17       Q. It's an email that you wrote on February
  18   that Mr. Cortes sent over against all the records       18   6th, 2017 to Mr. Churchwell?
  19   from the jurisdictions that showed people who had       19       A. It is.
  20   reregistered yet were still on the cancellation list.   20       Q. And it concerns a draft letter to the
  21           MR. LOCKERBY: Object to the form.               21   Virginia Senate Elections Committee; is that right?
  22        A. Mr. Cortes very specifically, as the chief      22       A. Well, let me see if it references that.
  23   election officer of the state, said the people on the   23       Q. In the subject line.
  24   report he sent us were canceled as declared             24       A. In the subject line ... you're not showing
  25   noncitizens and did not reregister, period.             25   me the letter, are you? I mean, that's not in the



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   1   exhibit you've handed me.                                1   referenced as being drafted in Exhibit 37?
   2       Q. Right, that's correct. You responded that         2        A. That's your assertion to me?
   3   the letter needs to be fine-tuned. You state, "we        3        Q. I'm asking you.
   4   framed the Virginia study in a way that protects us."    4        A. Oh.
   5   The Virginia study is Alien Invasion I, correct?         5        Q. Isn't this -- I'm sorry. Isn't this
   6       A. I don't know. It doesn't say that.                6   letter the letter that's being referenced in Exhibit
   7       Q. But that is what you're referring to, yes?        7   37?
   8       A. It probably is. I don't remember. I               8        A. Well, it could or could not be. I don't
   9   can't imagine what else it could be, but there could     9   know. It's clearly a day later.
  10   be something else. It might be referring to the         10        Q. It's clearly a letter to the Virginia
  11   process of collecting data. It might be referring to    11   Senate Elections Committee?
  12   the -- I mean, if you have the letter itself, I would   12        A. Right. The question is whether it was the
  13   better be able to be answer -- better be able to        13   attachment to Plaintiff's or to Adams 37, and I don't
  14   answer this question.                                   14   know the answer to that. I just know that it's -- 38
  15                (Adams Exhibit 38 marked for               15   is, Exhibit 38 is a letter to Chairwoman Vogel.
  16          identification: Public Interest                  16        Q. Right. And actually the question that
  17          Legal Foundation | Letter dated                  17   this letter is being provided to refresh your
  18          February 7, 2017 to Chairwoman                   18   recollection of is your statement, "we framed the
  19          Holtzman Vogel)                                  19   Virginia study in a way that protects us," and, as
  20       Q. The court reporter has marked as Exhibit         20   you can see from the letter to Chairwoman Holtzman
  21   38 a letter of Logan Churchwell dated February 7th,     21   Vogel, this letter refers to the Alien Invasion I
  22   2017 to Chairwoman Holtzman Vogel of the Virginia       22   report, correct?
  23   Senate, correct?                                        23        A. It does seem to do that.
  24       A. That's what it says.                             24        Q. And so I just wanted to establish that,
  25       Q. And this is the letter that was being            25   when you say in your email here in Exhibit 37, "we

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   1   framed the Virginia study," you're not talking about     1       Q. Probably not?
   2   something other than Alien Invasion I.                   2       A. -- probably not.
   3       A. Well, let me be sure about that. No,              3       Q. Your email on -- that's before you in
   4   there's items in here that go beyond Alien I. I          4   Exhibit 37 said that the report did not list, quote,
   5   think the second page, the paragraph that begins         5   "noncitizens on the voter rolls," closed quote. Do
   6   "Virginia's weak record" gets into matters that are      6   you see that?
   7   historical in nature. So I don't think it's accurate     7       A. It says that.
   8   to say everything in this letter relates to Alien I.     8       Q. And, again, would you agree that the
   9       Q. That wasn't the question.                         9   report is referencing Alien Invasion I?
  10       A. Well, maybe you should repeat it. I'm            10       A. Probably.
  11   sorry.                                                  11       Q. If the report had referred to the listed
  12       Q. The question is, in Exhibit 37, the              12   individuals as noncitizens, that would be legally
  13   Virginia study that you referenced in your email        13   problematic; is that right?
  14   refers to Alien Invasion I, correct, and nothing        14       A. Well, I think at this --
  15   else?                                                   15       Q. For PILF.
  16       A. Probably, but there's a chance it doesn't.       16       A. -- what I'm telling him to -- I'm telling
  17       Q. Why do you say there's a chance it               17   him to change that terminology in this letter to --
  18   doesn't?                                                18   remember, this happened after the testimony that Noel
  19       A. Well, I just told you, I think there's           19   Johnson provided to Chairman Vogel's committee, and
  20   things in here that do not relate to Alien I that       20   my suggestion to him was to utilize the term
  21   relate to Virginia and a study in Virginia, and so we   21   registrants who are canceled for citizenship problems
  22   can --                                                  22   according to election officials. Both are
  23       Q. All right.                                       23   defensible, both are accurate, but I suggested he use
  24       A. I mean, just there may be something              24   the second, not the first.
  25   contained in that that's more than Alien I but --       25       Q. You said both are accurate?



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   1        A. Yes.                                             1   to do as I just suggested, to rely on government
   2        Q. And so in your mind there's no                   2   records, to draw reasonable inferences from those
   3   distinguishing between saying noncitizens on the         3   records.
   4   voter rolls and saying registrants who are canceled      4       Q. But whether it's noncitizens or
   5   for citizenship problems according to election           5   registrants who were canceled for citizenship
   6   officials?                                               6   problems, you think they're both accurate?
   7        A. Well, I think it's important to tell             7       A. According to government records, yes. Now
   8   people whose fault this is, and the primary              8   were there ever cases to the contrary? Almost
   9   difference is that election officials are the ones       9   certainly. But I think that these are both accurate
  10   telling us that these were noncitizens.                 10   statements given the facts of the case.
  11        Q. Well, in the following sentence you say,        11       Q. I think you can put that document aside.
  12   "there's a big difference between the two and shifts    12   Actually I have another question about that document,
  13   risk of error onto government officials." You wrote     13   if you could put it back in front of you.
  14   that, right?                                            14       A. There were two documents. Which one?
  15        A. It says that.                                   15       Q. Exhibit 38 -- I'm sorry -- 37. When you
  16        Q. So at the time you thought there was a big      16   said, "we framed the Virginia study in a way that
  17   difference between a report stating the individuals     17   protects us," protects PILF, I assume you're saying,
  18   are noncitizens on the voter rolls and stating that     18   protects us? Who is the "us"?
  19   there are registrants who were canceled for citizen     19       A. Well, anybody who -- who -- you can't read
  20   ships; is that correct?                                 20   that out of context with the next statement or the
  21        A. I prefer to cite the government documents       21   next sentence. We deliberately avoided a Greg
  22   and rely on the government documents and the            22   Phillips style overstatement. That will tell you who
  23   reasonable inferences associated with those             23   us is.
  24   government documents.                                   24       Greg Phillips made some statement to the media
  25        In this email I am instructing Mr. Churchwell      25   that a individual did something in San Francisco, and

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   1   I forget the particulars, but the person involved        1   Phillips had just done.
   2   wasn't even associated with the underlying event.        2       Q. You can put that document aside.
   3   And this was fresh at the time, and I wanted it to be    3       The complaint in this litigation was filed on
   4   an example for Logan to take to heart that you can't     4   April 12th, 2018. Do you recall that?
   5   do the things Greg Phillips did in that particular       5       A. Whatever it says. I have no reason to
   6   instance.                                                6   disagree with you as I sit here. If you want to show
   7       Q. Okay. Strike as nonresponsive.                    7   me the complaint, I can adopt that date, but I just
   8       My question is, you state "in a way that             8   don't know.
   9   protects us." Who is the "us"?                           9       Q. Since this lawsuit was filed, PILF has
  10       A. Well, I answered you by telling you us,          10   continued to issue reports on election issues?
  11   why, contextually, the second -- the next sentence is   11       A. Absolutely.
  12   important, because I wanted Logan to be aware of what   12       Q. And has continued to issue reports on
  13   not to do as relates to something that Greg Phillips    13   purported noncitizen registration and voting, yes?
  14   just did, and I don't know who us is other than         14       A. Yes. I assume that's a 30(b)(6) question?
  15   giving you that answer that there's two people on       15       Q. Sure, we can consider it a 30(b)(6)
  16   this email, but I don't know.                           16   question.
  17       Q. Didn't you intend by "us" to say PILF, we        17          MR. LOCKERBY: To what topic does it
  18   framed the Virginia study in a way that protects        18   pertain?
  19   PILF?                                                   19               (Adams Exhibit 39 marked for
  20       A. I don't know. There's a number of                20          identification: Steeling the Vote |
  21   different ways to interpret this that I don't           21          Allegheny County, PA Reveals How
  22   remember what I was meaning at the time, other than     22          Citizenship Verification Protects
  23   the importance in the context of the next sentence.     23          Citizens and Immigrants Alike)
  24       Q. And what did it protect us from?                 24       Q. Well, whether it's 30(b)(6) or in your
  25       A. Complete, total screw-ups like Greg
                                                               25   personal capacity --



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   1       A. Well, that would change the answer.               1   but, in any event, we don't -- without identification
   2       Q. It shouldn't.                                     2   on the record that -- as to which 30(b)(6) topic it's
   3       A. It does. I haven't issued any reports on          3   within and why, that does affect his answer because
   4   noncitizen voting that I can think of. This is a         4   his individual answer would be based on memory, his
   5   PILF report you've handed me as Exhibit 39.              5   30(b)(6) answer could be based on something else.
   6       Q. Which you're incapable of providing               6       So, absent some identification, I'm going to
   7   testimony of even though you're the president of         7   assume it's not within the scope of a particular
   8   PILF?                                                    8   topic.
   9       A. If you're asking me a 30(b)(6) question,          9          MR. TEPE: Well, while my colleague looks
  10   ask it.                                                 10   to get a copy of the 30(b)(6) notice to refresh my
  11           MR. LOCKERBY: He can provide testimony          11   recollection, I'll just ask the question.
  12   regardless, but the issue is whether it's within the    12          MR. LOCKERBY: I had some exhibits
  13   scope of a 30(b)(6) topic, which affects his duty to    13   delivered here, I think, this morning, which should
  14   prepare to testify about it as well as the import of    14   include the 30(b)(6) topics.
  15   the response. That's why it's important to identify     15          MS. CLEMINSHAW: The box is right over
  16   on the record whether this is within the scope of a     16   here.
  17   30(b)(6) topic, and, if so, which one.                  17          MR. LOCKERBY: Right. Yes.
  18           MR. TEPE: I don't have the 30(b)(6)             18          MR. TEPE: Do you want to go off the
  19   topics listed in front of me, but I can tell you that   19   record?
  20   the questions do not really go into the details of      20          MR. LOCKERBY: Yes.
  21   this report as much as differences between this and     21          VIDEO SPECIALIST: We are off the record,
  22   the Alien Invasion reports. So it's part of the         22   4:45.
  23   Alien Invasion topics.                                  23       (Proceedings recessed)
  24           MR. LOCKERBY: Well, it sounds as if it          24          VIDEO SPECIALIST: We are back on the
  25   may be within the penumbras, arguably, of a topic,      25   record, 4:46.

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   1   BY MR. TEPE:                                             1   relied on NVRA requests to collect data; is that
   2        Q. The questions, which I will be asking, I         2   right?
   3   believe are covered under Topic 2, which is your         3       A. Well, there was a lot of differences
   4   activities, communications relating purported            4   between the collection of data between the two
   5   noncitizen registration voting in Virginia, the Alien    5   projects.
   6   Invasion report, et cetera.                              6       Q. Okay. But my question is, you relied on
   7        Again, my questions are not so much about this      7   NVRA requests to collect data for the Steeling the
   8   report, but differences between this report and the      8   Vote report, correct?
   9   Alien Invasion report.                                   9       A. I believe NVRA requests were made.
  10          MR. LOCKERBY: I think we'll have to hear         10       Q. And NVRA requests were made to collect
  11   the specific questions, but, on its face, this report   11   records for the Alien Invasion reports, correct?
  12   deals with Allegheny County, Pennsylvania not           12       A. Right.
  13   Alleghany County, Virginia, and so we don't             13       Q. This report has exhibits, voter
  14   necessarily agree, but ask the questions and we'll      14   registration records, for certain individuals; is
  15   see where it goes.                                      15   that right?
  16        Q. Okay. So after the complaint was filed in       16       A. I'm not -- I mean, I think there are.
  17   this LULAC lawsuit, you, PILF, published a report       17   Yeah, it has a variety of information --
  18   called "Steeling the Vote," correct? That's in front    18       Q. Right, including --
  19   of you?                                                 19       A. -- including that.
  20        A. Right. I'm looking for a date on here,          20       Q. Right. So it's right in front of you, the
  21   July 18 ... right.                                      21   exhibits to the report include voter registration
  22        Q. And this concerns Allegheny, Pennsylvania,      22   records for certain individuals, yes?
  23   is that right, this report Steeling the Vote?           23       A. I think I just answered that.
  24        A. That's what the face of it says.                24       Q. So it was yes.
  25        Q. And like the Alien Invasion reports, PILF       25       A. It was what it was. I said --



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                                             Page 254                                                     Page 255
   1       Q. You said "including that."                       1   records.
   2       A. Well, "including that" is a pretty good          2       A. Okay. I have one in front of me, correct.
   3   indication that what you asked me about is included.    3       Q. Right. The last name is redacted?
   4       Q. Right, but I'm not asking for indications;       4       A. Right.
   5   I'm asking for direct answers to my questions.          5       Q. The address is redacted?
   6       And my question was, this report has as             6       A. Well, that's less clear, because I'm --
   7   exhibits voter registration records for certain         7   right, right, it is. It's in a strange, old-style
   8   individuals; is that right?                             8   computer window, and so it's hard to navigate around.
   9       A. It has voter registration records for            9       Q. And so you were able to publish Steeling
  10   registrants, yes.                                      10   the Vote using voter registration records that
  11       Q. Now the records that are attached to            11   redacted the last name and the address, correct?
  12   Steeling the Vote have the last name of the            12       A. I mean, the document speaks for itself,
  13   registrants redacted; is that right?                   13   and I'm not sure -- are you asking me in a 30(b)(6)
  14       A. Could you direct me to a particular page?       14   capacity?
  15       Q. Well, you can look at any of the exhibits       15       Q. Yes. PILF was able to publish Steeling
  16   to -- the report doesn't have these exhibits           16   the Vote using voter registration records that
  17   numbered.                                              17   redacted the last name and address, correct?
  18       A. Is there a Bates number?                        18       A. The document speaks for itself. They are
  19       Q. No, because this was not produced.              19   redacted.
  20       A. Okay. Well, then, to answer your question       20           MR. LOCKERBY: I'm going to register an
  21   completely, it would take me to go through every       21   objection to the form of the question to the extent
  22   page, which I'm happy to do.                           22   that it assumes that PILF should have somehow -- that
  23       Q. You got one right in front of you.              23   PILF did the redacting and that PILF should have
  24       A. And so you're directing me to do that.          24   somehow altered government records.
  25       Q. No, you have one of the voter registration      25       Q. You can put this document aside.

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   1       A. You didn't ask me who redacted it.               1   right?
   2       Q. Would you know the answer to that?               2       A. It appears to.
   3       A. Are you asking?                                  3       Q. And it has address redacted?
   4       Q. Would you know the answer to that?               4       A. Well, I don't know. It's redacted. It
   5       A. I don't.                                         5   doesn't have a subject header anywhere, so I don't
   6               (Adams Exhibit 40 marked for                6   know what it is.
   7          identification: Motor Voter Mayhem |             7       Q. Well, certainly the record at the bottom
   8          Michigan's Voter Rolls in Disrepair)             8   has name, right, and then has a residence?
   9       Q. The court reporter has marked and handed         9       A. It says residence, colon, redaction.
  10   to you Exhibit 40. Do you recognize this document?     10       Q. Right. And then on page 10 you have
  11       A. This is "Motor Voter Mayhem." It's a            11   another individual case study, correct?
  12   report done regarding Michigan.                        12       A. Case study number 2 on page 10.
  13       Q. It was done in October of 2018?                 13       Q. The individual's first name is redacted?
  14       A. That's what the date says on page 2.            14       A. No, it does not appear -- well, it's
  15       Q. And in the report you included case             15   abbreviated, I guess.
  16   studies for certain individuals; is that correct?      16       Q. Okay. So, yes, it's abbreviated in the
  17       A. What page are you on?                           17   text of your report, but it's redacted in the records
  18       Q. Well, page 9, for example.                      18   that are copied.
  19       A. Okay. I'm on page 9.                            19       A. Right. The record below the name is
  20       Q. And so on page 9 there is excerpts of           20   redacted.
  21   certain government records; is that right?             21       Q. And then in the records there appears to
  22       A. There are on page 9 two different excerpts      22   be the address redacted. It says, registered as,
  23   of election list maintenance records.                  23   seems to be the first name redacted, Savina at
  24       Q. And the records that we see here on page 9      24   redacted (Sterling Heights City). Do you see that?
  25   have the individual's first name redacted; is that
                                                              25       A. I do, but I just see it says Sterling



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   1   Heights City. That -- that can mean a lot of             1   appears to be a draft markup of a report.
   2   different things there.                                  2        Q. And that report is called "Safe Spaces";
   3       Q. Right, but the redaction before that is an        3   is that right?
   4   address, is it not?                                      4        A. The attachment says "Sanctuary Draft."
   5       A. I don't know. It could or could not be.           5   I'm not sure that -- let me see if it says Safe
   6   There's a lot of different possibilities.                6   Spaces on it. I don't see that. If you could direct
   7       Q. And so PILF published Motor Voter Mayhem          7   me to where it says that, I -- I don't see it.
   8   with redactions of both names and addresses, correct?    8                (Adams Exhibit 41 marked for
   9       A. Right. The document speaks for itself.            9          identification: Email correspondence
  10   There's redactions in it.                               10          from (topmost) N Johnson sent
  11       Q. You can put that aside.                          11          8/21/2018 with attachment
  12               (Johnson Exhibit 36                         12          PILF-ADAMS-0007747 - 0007779)
  13          previously marked for identification             13        Q. The court reporter has marked as Exhibit
  14          and referenced herein: Email                     14   41 a document with the Bates number beginning 7747.
  15          correspondence from (topmost) C                  15        A. I have that document, 41.
  16          Adams sent 8/15/2018 with attachment             16        Q. And in document or Exhibit 41 Noel Johnson
  17          PILF-ADAMS-0000250 - 0000270)                    17   sends to you and others the final print and ready
  18       Q. The court reporter -- strike that.               18   version of Safe Spaces on August 21st, 2018?
  19       I've handed the witness what has been               19        A. That's what it says on the document.
  20   previously marked as Johnson 36. Do you recognize       20        Q. And so this was PILF's report called Safe
  21   this document?                                          21   Spaces, how sanctuary cities are giving coverage to
  22       A. Well, it's a long document, so give me a         22   noncitizens on the voter rolls.
  23   moment. Sorry. What was your question?                  23        A. Well, I mean, there was a report published
  24       Q. Do you recognize this document?                  24   that said that, that referenced the topic that you're
  25       A. Well, it appears to -- (pardon me) -- it         25   asking me about. I -- I mean, what is your question?


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   1   I'm sorry.                                               1   page with the Bates 268 at the top.
   2       Q. Well, this is to refresh your recollection        2       A. Bates 268, right.
   3   that the document that we were looking at previously     3       Q. The second paragraph, there are some
   4   as Johnson 36 are your edits and comments to what        4   edits, do you see that, and a comment?
   5   became the Safe Spaces report of PILF.                   5       A. There's edits and comments, yes.
   6       A. Okay.                                             6       Q. So the paragraph reads, Virginia -- and
   7       Q. Do you agree with that?                           7   I'm going to read it first as it was, and then I'll
   8       A. I don't -- I mean, I don't disagree. It           8   read it as edited, okay?
   9   sounds -- sounds correct.                                9       So it reads, "Virginia currently contains
  10       Q. In the cover email that you sent on August       10   three sanctuary jurisdictions -- all of which
  11   15th here in Johnson 36, you wrote, "Virginia has got   11   disclosed records of noncitizens previously
  12   to be fixed throughout. I have a stark comment in       12   registered and voting therein," period.
  13   the edits about this."                                  13       So that was the former language. Do you see
  14       A. It says that.                                    14   that?
  15       Q. If you go towards the back of the draft          15       A. I'm sorry. Did you say "formal" language?
  16   attachment, you'll see a section on Virginia.           16       Q. "Former." I'm sorry.
  17       A. I'm sorry. Do you have a page number?            17       A. Are you from Philadelphia?
  18       Q. Oh, certainly. It's beginning on Bates           18       Right, I see it, former language.
  19   number 267 continuing on to 268.                        19       Q. And the language, "noncitizens previously
  20       A. 267, got it.                                     20   registered and voting therein" was struck and
  21       Q. And so this portion of what would                21   replaced with "registrants canceled for citizenship
  22   eventually be called the Safe Spaces report talks       22   defects." Do you see that?
  23   about certain jurisdictions in Virginia, yes?           23       A. I see that.
  24       A. Gosh. Right.                                     24       Q. And that was your edit, correct?
  25       Q. I want to direct your attention to the
                                                               25       A. I don't know. Is there a way to tell



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   1   that?                                                    1        Q. "The continuing improper terminology
   2       Q. Well, we can look at the comment.                 2   contribute to us losing the motion to dismiss because
   3       A. Because there's multiple people editing           3   the court ruled that these subsequent statements were
   4   this.                                                    4   republications within the statute of limitations."
   5       Q. Right. Let's look at the comment, [CA18].         5        That's what you wrote in your comment,
   6       A. Right.                                            6   correct?
   7       Q. And in previous testimony you said CA             7        A. That's what it says.
   8   refers to Christian Adams?                               8        Q. Okay. So when you were editing Safe
   9       A. There you go.                                     9   Spaces, it was your opinion that calling people
  10       Q. And you wrote in the comment:                    10   listed in the VERIS cancellation reports, noncitizens
  11          "How is it after we are involved in              11   was improper terminology, yes?
  12          litigation that we are still                     12          MR. LOCKERBY: Object to the form of the
  13          referring to these Virginia cases                13   question.
  14          as, quote, noncitizens? It defies                14        A. It all depends on the context and the time
  15          explanation. On numerous occasions               15   that the statements were made. By October of '18, I
  16          in numerous places I have explicitly             16   think that's when this was, or by -- again, I'm not
  17          said their registration is removed               17   sure the exact date.
  18          for citizen defects or registrants               18        Q. Well, the edits were made in August.
  19          canceled for reasons of                          19        A. August? By August of '18, my desire to
  20          noncitizenship. We have to use the               20   have language in reports that reflected the facts as
  21          actual terms and not make                        21   we knew them at that moment was very important to me,
  22          assumptions they are necessarily                 22   and by that time we had become acquainted with the
  23          aliens."                                         23   likes of Abby Jo -- depending on the name -- and
  24       Do you see that?                                    24   Mr. Bonilla, and so I wanted statements that were
  25       A. It says that.                                    25   being made to reflect the reality of what we were


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   1   aware of relating to this litigation.                    1   Virginia seeking injunctive relief to fix these voter
   2       And as I have testified, I believe,                  2   rolls and to fix publication of data that led to this
   3   previously, I have no reason to dispute the fact that    3   problem in the first place.
   4   Mr. Bonilla is a citizen of the United States. And I     4       And so I'm referring to an effort to do that
   5   feel bad for Mr. Bonilla, among other things, that he    5   which the plaintiffs' firms have never done, and
   6   had to be badgered by Mr. Levitt. And I feel bad         6   that's actually get to the root cause of this
   7   that he was included in the list of people who were      7   problem, which is canceling citizens and publishing
   8   canceled. And I feel bad, as you know, I think, that     8   information declaring them noncitizens. That's on
   9   Mr. Bonilla was canceled because we attempted to sue     9   the face of the pleadings in this case.
  10   the Commonwealth of Virginia to fix that problem, and   10       Q. And the court ruled that Defendants'
  11   you, your firm, opposed those efforts and still do.     11   attempt to implead the Virginia Department of
  12       And so by, I think this is August of '18, I         12   Elections in this case was improper, correct?
  13   wanted our language to reflect the fact that we were    13          MR. LOCKERBY: Well, object to the form of
  14   aware, for example, of Mr. Bonilla. So that's           14   the question. The ruling speaks for itself.
  15   exactly what it represents.                             15          MR. TEPE: Well, if the witness can talk
  16       Q. When you said, "we attempted to sue the          16   about it, then I can talk about it as well.
  17   Commonwealth of Virginia to fix that problem," are      17          MR. LOCKERBY: The Court ruled what it
  18   you referring to your attempt to in this litigation     18   ruled, and the witness's testimony and your questions
  19   implead the Virginia Department of Elections as a       19   don't change the Court's ruling.
  20   third-party defendant?                                  20          MR. TEPE: Right, and so I provided an
  21       A. Well, I was mistaken in my                       21   accurate statement with regard to the Court's ruling.
  22   characterization of an attempt. We in fact did sue      22          MR. LOCKERBY: Well, actually you didn't.
  23   the Commonwealth of Virginia, as far as I understand,   23          MR. TEPE: The Court ruled that it was
  24   interpleader practice, which might not be very much,    24   improper of Defendants to implead the Virginia
  25   that we filed an action against the Commonwealth of     25   Department of Elections in this case, correct?



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   1          MR. LOCKERBY: I'm not here to answer              1   the Commonwealth of Virginia to remove citizens from
   2   questions. I'm objecting.                                2   the voter rolls and then label them as noncitizens,
   3        Q. That is correct, Mr. Adams, right?               3   and that's exactly what the Commonwealth did.
   4        A. I don't think it is actually. I think            4       You, on the other hand, are more interested in
   5   that -- and it's notable that nobody else has made       5   the Defendants than the underlying problem, and
   6   any effort in the intervening time, particularly         6   that's why you haven't done what we did. It wasn't
   7   Plaintiffs' law firms, to fix this. They were more       7   to shift blame, because blame only lies in one place,
   8   interested in defendants than they are the problem.      8   and that's the Commonwealth of Virginia, for
   9        And so the court ruled, and, again, you're          9   canceling noncitizens they should not be canceling
  10   testing my limits of understanding interpleader, that   10   and for calling them declared noncitizens when they
  11   it was not an action for damages, and, therefore, not   11   don't have a basis for doing so.
  12   subject to the particular rule permitting it.           12       When we learned what was happening, we took
  13        That doesn't mean that the case is improper or     13   action, you didn't, and none of your funders or your
  14   didn't have merit and couldn't be later filed by        14   organizations did. We're the ones who have been
  15   either PILF, or, incidentally, your clients could       15   trying to fix this problem; you haven't.
  16   file that case too, but they haven't, or your firm      16       We would happily resolve this to fix the
  17   could or your many public interest interests that       17   problem, but that's not what you're interested in.
  18   you're associating with here could have filed that      18   You're interested in the Defendants. You're not
  19   case, but only we did. And we have the right to do      19   interested in the problem. It's not shifting blame.
  20   that and so do you, but you haven't.                    20       Q. In the Safe Spaces -- excuse me. Pardon
  21        Q. Well, you filed that case to shift the          21   me. In the Safe Spaces report PILF does not list the
  22   blame for what you've been sued about, which is         22   names, the full names and addresses of people in the
  23   defamation and voter intimidation, correct?             23   records that were collected by PILF, correct?
  24          MR. LOCKERBY: Object to the form.                24       A. I don't know. There could have been some
  25        A. We filed that case because it's wrong for       25   attachment I'm not aware of. If you have one that


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   1   the names and addresses are listed, I'm happy to look    1       Q. Who is Chris Marston?
   2   at it. You haven't handed me, as you have in other       2       A. He is an acquaintance of mine.
   3   exhibits, reports throughout my two depositions the      3       Q. How is he an acquaintance of yours?
   4   exhibits. You've just handed me --                       4       A. I've fed his dogs. I've been to his
   5        When I say "exhibits," I mean the links to          5   house. I've had lunch with him. He's a friend.
   6   Exhibit 41. You've only handed me the underlying         6       Q. Is he also affiliated with the Republican
   7   document. You haven't handed me the exhibit links,       7   Party of Virginia?
   8   but you did with Alien Invasion I or II. So there        8       A. I don't know if he is right now.
   9   may be something there that would change my answer to    9       Q. Back in 2016-2017?
  10   what I just said.                                       10       A. I think at times he has been general
  11        Q. So like on page 14 of the final Safe            11   counsel to the Republican Party of Virginia.
  12   Spaces report, Bates number 7763 --                     12       Q. You coordinated the collection of election
  13        A. I'm looking at 7763 in Adams 41.                13   records for the Alien Invasion reports with the
  14        Q. -- there's a copy of a San Diego County         14   Republican Party of Virginia; is that right?
  15   voter registration form; is that right?                 15       A. No.
  16        A. Right. It appears to be San Diego County.       16         MR. LOCKERBY: Object to the form of the
  17        Q. And part of the individual's name is            17   question.
  18   redacted, and the individual's residence is redacted;   18       A. Not close to right.
  19   is that right?                                          19               (Johnson Exhibit 33
  20        A. In this particular document that is             20         previously marked for identification
  21   correct.                                                21         and referenced herein: Email
  22        Q. You can put that document aside.                22         correspondence from (topmost) N
  23        A. And just to clarify my last answer,             23         Johnson sent 11/16/2016
  24   otherwise, when I said "this particular document," I    24         PILF-ADAMS-0009399)
  25   meant on that particular page of the document.
                                                               25       Q. I've handed the witness what has been



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   1   previously marked as Johnson 33. Do you recognize        1           send someone to the office to go
   2   this document?                                           2           through the records, we're more than
   3       A. I see Johnson 33.                                 3           welcome."
   4       Q. It begins with an email from Shawna Powell        4        Do you see that note from Ms. Powell?
   5   to Noel Johnson dated November 16th, 2016. Do you        5        A. I see it. I don't agree with it, but I
   6   see that?                                                6   see it.
   7       A. It does start, but I'm not on that thread.        7        Q. And then Mr. Johnson forwards this email
   8   I said it does start that way, but I'm not on that       8   to you, but before I get into that, Stafford -- this
   9   thread.                                                  9   is Stafford County Election Office; is that right?
  10       Q. Okay. Oh, I'm sorry, I thought you were          10        A. I can't imagine it being anything else.
  11   just asking for time to catch up looking at the         11        Q. Okay. Mr. Johnson says, "We are in the
  12   document.                                               12   process of getting registration applications for the
  13       Yes. Well, you were forwarded that thread,          13   remaining counties in Virginia. Any reasons RPV
  14   but we'll get to there in a minute.                     14   would have asked for the same records?" Do you see
  15       Ms. Powell wrote to Mr. Johnson a note saying:      15   that question posed to you?
  16          "Stafford called 11-16 to f/u on the             16        A. I see that question.
  17          email sent 11-15. Greg Riddlemoser               17        Q. Okay. And then you responded, same day,
  18          stated that RPV (Republican Party of             18   November 16, 2016, "yes, I suggested it. I believe
  19          Virginia) came to his office and                 19   swarming is better than lone attacks. That's how the
  20          went through all the records, so he              20   left plays." Do you see that?
  21          considers this matter done. I                    21        A. I do.
  22          explained we are not working with                22        Q. And so you were saying that you suggested
  23          RPV; however, he stated that, quote,             23   that the RPV, the Republican Party of Virginia,
  24          they, closed quote, said we are                  24   requests the same records that you were seeking from
  25          working with them. If we want to                 25   Virginia counties.

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   1        A. Well, that's what it says, and it would be       1       A. Absolutely not. Why would you even say
   2   consistent with what I would do, because if somebody     2   something like that? I just testified to what I
   3   else asked for the same records, it would help           3   meant. What I said was dislodging the records would
   4   dislodge the records that we weren't getting, but I      4   be consistent with the corporate policies of PILF.
   5   don't have a specific recollection of suggesting it.     5       Q. Right. So you had suggested the
   6        Q. You have no reason to doubt that you had         6   Republican Party of Virginia ask the same records
   7   suggested it?                                            7   that you were seeking at least as of -- from Stafford
   8        A. Well, the "it" being the operative thing.        8   County -- to dislodge records that you wanted; is
   9   If it's confined to sending a letter asking for the      9   that right?
  10   same records, I -- my testimony that I just gave you    10       A. I've testified to you now this is the
  11   was I would have seen utility in something like that    11   fourth time. I don't have a specific recollection of
  12   as being more likely to dislodge what we were looking   12   doing that, but it would be consistent with the
  13   for and not getting from election officials.            13   corporate purposes of PILF to get records. So I'm
  14        Q. So you suggested that the Republican Party      14   not disputing that it occurred.
  15   of Virginia request the same records that PILF was      15       Q. And in your email here you say that you
  16   requesting to dislodge those records for the Alien      16   had suggested it, right?
  17   Invasion reports, correct?                              17       A. Right, and I'm telling you I don't
  18        A. Well, you're asking me whether I have a         18   remember the specifics of that.
  19   recollection of suggesting it, and I've testified       19       Q. And you have no doubt that this occurred,
  20   about that twice. And my testimony is I don't           20   that you had suggested to the Republican Party of
  21   remember specifically doing that, but it would be       21   Virginia seeking the same records that PILF was
  22   consistent with the corporate purposes of PILF.         22   seeking.
  23        Q. To coordinate with the Republican Party of      23       A. Well, if I had a specific recollection
  24   Virginia?                                               24   about the suggestion, then I would be able to answer
  25           MR. LOCKERBY: Objection to form.                25   your question yes. Because I don't have a specific



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   1   recollection of it, I can't answer your question         1       Q. Well, you were seeking information for
   2   utterly conclusively. It would be consistent with        2   PILF's own purposes, correct, from the Virginia
   3   the corporate purposes of PILF to do that which would    3   jurisdictions?
   4   enable the records to be given to us that we asked       4       A. "Seeking information for ..." We had made
   5   for.                                                     5   records requests of these jurisdictions that they
   6        Q. You can put that document aside.                 6   were not complying with, and so, yes, we were seeking
   7        Chris Marston and the Republican Party of           7   those records.
   8   Virginia appeared as amici in support of PILF's          8       Q. And in seeking those records did you ever
   9   lawsuits against Chesterfield and Manassas; is that      9   opine on how those records could be useful to the
  10   correct?                                                10   Republican party of Virginia?
  11        A. They did.                                       11       A. I don't think I would have cared, at least
  12        Q. And is that also consistent with the            12   not in my individual capacity or corporate. I don't
  13   corporate purposes of PILF?                             13   think that's what mattered to me. My -- my interest
  14        A. One of the corporate purposes of PILF is        14   was in getting the records, and I knew multiple
  15   transparency in election records and compliance with    15   people knocking on the same door asking for the same
  16   federal law relating to transparency guarantees, and    16   thing would make it much more likely to have those
  17   apparently the Republican Party of Virginia shares      17   records produced. And it was purely a case of
  18   our values in relation to election records being        18   self-interest by PILF, or largely, if not entirely, a
  19   transparent and jurisdictions within the Commonwealth   19   case of self-interest by PILF, to have as many people
  20   of Virginia complying with federal law relating to      20   as possible asking for those records.
  21   that transparency.                                      21                (VVA Exhibit 35 previously
  22        Q. Have you ever suggested to Mr. Marston how      22          marked for identification and
  23   the Republican Party of Virginia could be impacted by   23          referenced herein: Email
  24   the requests that you were seeking?                     24          correspondence from (topmost) C
  25        A. I don't understand the question.                25          Adams sent 12/1/2016


                                              Page 276                                                     Page 277
   1          PILF-ADAMS-0043845 - 0043848)                     1        A. November 30th ... yes.
   2       Q. I'm handing the witness a document that's         2        Q. And there's an agenda that follows; is
   3   been previously marked as VVA Exhibit 35 with the        3   that right?
   4   Bates number 43845.                                      4        A. It says "Agenda" on it.
   5       Do you recognize this, Mr. Adams?                    5        Q. Before we get to the agenda, actually so
   6       A. This looks like some kind of conference           6   Mr. Adams -- excuse me -- Mr. George sent this to
   7   call setup for some kind -- it says webinar,             7   you, correct? Michael J. O'Neill.
   8   something related to a webinar.                          8        A. Right.
   9       Q. Does it look to be a invitation sent from         9        Q. And he's with Landmark Legal; is that
  10   Mr. George with an agenda that was included on your     10   right?
  11   calendar?                                               11        A. I don't know.
  12       A. I'm sorry. It was included on my                 12        Q. You don't know?
  13   calendar? No.                                           13        A. Michael O'Neill -- there's somebody named
  14       Q. There's a "start" and "end" notation at          14   Michael there, I think, it may -- maybe O'Neill, but
  15   the top, "show time as busy." Those are Outlook         15   it's not someone I talk to very much, if at all.
  16   entry characteristics, correct?                         16        Q. Clara Belle Wheeler is on this?
  17       A. Well, it doesn't make sense to me, but ...       17        A. It says that.
  18   I mean, I have a recollection of this event.            18        Q. Yeah. Keith Damon?
  19       Q. You do.                                          19        A. The document says that.
  20       A. Yes.                                             20        Q. Craig DiSesa, Nancy Smith?
  21       Q. Okay. So Mr. George was setting up a             21        A. It says all that.
  22   webinar or a conference call?                           22        Q. Now Mr. DiSesa and Ms. Smith are with the
  23       A. No, it was a webinar.                            23   Political Action Committee called Middle Resolution,
  24       Q. Okay. And his email is dated November            24   correct?
  25   30th, 2016?                                             25        A. I don't know. Does the document say that?



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   1   I mean, I don't know.                                    1   possible. I remember that. I know that I didn't
   2        Q. Well, you do know that Middle Resolution         2   stick around for the whole show. I remember that.
   3   helped with data analysis for the Alien Invasion         3       I recall talking in generalities about the
   4   reports, correct?                                        4   sort of issues going on in the Commonwealth and
   5        A. I do now. I didn't then.                         5   noncitizen registration voting. And I recall that it
   6        Q. Who is Chris Wright?                             6   was at night or later in the day, that it was close
   7        A. I have no earthly idea.                          7   to being dark outside, and being thankful that I was
   8        Q. And do you see --                                8   not on for the whole call. That's what I recall
   9        A. Right as I sit here, I mean, I couldn't          9   about it.
  10   tell you who that is. I don't know.                     10       Q. And according to the agenda, there's an
  11        Q. Chris Marston is on this email chain as         11   agenda line for legislative possibilities for
  12   well?                                                   12   Virginia's 2017 General Assembly.
  13        A. That's what it says.                            13       A. Where is that? Right, it says that. I
  14        Q. Okay. And you provided a report for this        14   don't think that was one of my topics, but ...
  15   webinar; is that right?                                 15       Q. And then election lawsuit -- election law
  16        A. I don't know.                                   16   lawsuits current and planned, and there seems to be a
  17        Q. Well, you said --                               17   bullet with your name underneath that.
  18        A. I remember talking about it, but -- when        18       A. Yep.
  19   you say "a report," I assumed you meant some sort of    19       Q. And then there seems to be maybe some
  20   written document for the webinar. I suspect you may     20   bullets with respect to Landmark Legal Foundation.
  21   have meant something else now.                          21       A. Really? Where? I don't see those.
  22        Q. Well, what do you recall from this event?       22       Q. The next page.
  23        A. Okay. I recall almost nothing about what        23       A. Oh, right, okay. Hmm ...
  24   anybody said. I have some recollection, because I       24       Q. And then there's a bullet RPV (Ed
  25   think I went first, I got off the call as fast as       25   Gillespie)?

                                              Page 280                                                     Page 281
   1       A. That's what the document says.                    1       A. He's an individual. He's an attorney.
   2       Q. Do you know what that's with regard to?           2   What else do you want to know?
   3       A. No, because I hung up on the call. I              3       Q. Was he a member of the Trump campaign in
   4   didn't participate after I was done.                     4   September of 2016?
   5       Q. Okay. And there's another bullet with             5       A. Probably, but I can't say with absolute
   6   Virginia Voters Alliance?                                6   certainty. If you had a document to refresh my
   7       A. The document says that.                           7   recollection, I could answer with greater precision.
   8       Q. What was the purpose of this call?                8                (Adams Exhibit 42 marked for
   9       A. Well, I can tell you what my purpose was.         9           identification: Email correspondence
  10       Q. What was your purpose?                           10           from (topmost) C Adams sent 9/8/2016
  11       A. My purpose was to grant Reagan's request         11           PILF-ADAMS-0039730)
  12   that I talk to his webinar and be out of the call as    12       Q. The court reporter has marked and handed
  13   quickly as possible with minimal amount of imposition   13   to you what's been marked as Exhibit 42 with Bates
  14   on my time, and my purpose was to hang up as quickly    14   number beginning 39730. Do you recognize this email?
  15   as possible after I satisfied that initial purpose.     15       A. Not yet. Okay. I see the email.
  16       Q. Who is John Mashburn?                            16       Q. It's an email from you dated September
  17       A. Where does it say John Mashburn?                 17   8th, 2016 to John Mashburn?
  18       Q. You can put that document aside.                 18       A. That's what the email says.
  19       A. Oh. You're not asking me about this              19       Q. Okay. Do you recall this email?
  20   document.                                               20       A. Not with a high degree of effectiveness,
  21       Q. No.                                              21   but ...
  22       A. Okay.                                            22       Q. You don't doubt you sent it?
  23       Q. Do you know a John Mashburn?                     23       A. Oh, no, not -- if you're producing this to
  24       A. I do.                                            24   me and representing it as an email I sent, I'm not
  25       Q. Who is he?                                       25   going to think that you would sink to such low depths



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   1   to give me a fraudulent email. So, no, I have no       1       A. Well, he worked -- he worked on a number
   2   doubt that you have said it.                           2   of cases with me in this area.
   3       Q. It certainly came from your production.         3       Q. What cases?
   4       A. So ...                                          4       A. ACRU vs. Zavala County, Texas. There's a
   5       Q. The subject line is "Hans' latest:              5   case.
   6   Virginia aliens on rolls -- thousands." That's the     6       Q. And he was part of the Trump campaign at
   7   subject line.                                          7   this time?
   8       A. That's what it says.                            8       A. I don't know. You've asked me that, and
   9       Q. And it appears to be an excerpt, and then       9   this email doesn't refresh my recollection as to --
  10   linked to -- an excerpt of and linked to something    10   obviously I didn't send it to a Trump email address,
  11   Mr. von Spakovsky wrote; is that right?               11   so there is the possibility that he wasn't. Had this
  12       A. Well, it says "Hans' latest," and that         12   been sent to JohnMashburn@TrumpPresidentialCampaign
  13   would be the sort of thing I would say if I was       13   dot whatever, then that would be conclusive that he
  14   sending something to somebody with an article that    14   was a member of the Trump presidential campaign. I
  15   Hans wrote. So I have no reason to disagree.          15   just don't know.
  16       Q. Do you know why you sent this to               16       Q. You can put that document aside.
  17   Mr. Mashburn?                                         17       A. All right.
  18       A. Probably because I liked his article.          18       Q. In November of 2016 you responded to an
  19       Q. Hans' article.                                 19   email from Stephen Miller at his Trump campaign email
  20       A. Right.                                         20   address and sent him Alien Invasion I, correct?
  21       Q. But why would you send it to John              21       A. If you have that document to refresh my
  22   Mashburn?                                             22   recollection. I would take issue potentially with
  23       A. Because we have a long history working         23   some of your characterization, but I'm sure the
  24   together on these issues.                             24   document would refresh my recollection. I don't
  25       Q. What's that history?                           25   remember.


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   1       Q. Okay. But what from my question would you       1   today.
   2   take issue with?                                       2        There was some context, and it might have been
   3       A. Well, I don't remember.                         3   the day after Thanksgiving, and something might have
   4       Q. Okay.                                           4   been in the news, but that's the best I can remember
   5       A. You asked me a question. I don't remember       5   sitting here.
   6   the answer.                                            6        Q. His email is very short. Subject line,
   7       Q. I just wasn't sure if you were taking           7   "Vote Fraud," the body says, "can you send some info
   8   issue with the characterization.                       8   on noncitizen voting."
   9               (Adams Exhibit 43 marked for               9        A. That's what it says.
  10          identification: Email correspondence           10        Q. And then you respond on Saturday, November
  11          from (topmost) C Adams sent                    11   26th, with two documents attached, right?
  12          11/26/2016 with attachment                     12        A. Well, I disagree with your
  13          PILF-ADAMS-0039499 - 0039680)                  13   characterization, because it doesn't make sense that
  14       Q. I've handed you what's been marked as          14   I would have sent the declared noncitizen lists.
  15   Exhibit 43 with the beginning Bates number 39499.     15        Q. I'm not sure I understand.
  16       A. Okay. I have the document.                     16        A. Well --
  17       Q. Do you recall receiving this email from        17        Q. I said and you responded on Saturday,
  18   Stephen Miller on November 25th, 2016?                18   November 26th with two documents attached. What's --
  19       A. I do.                                          19   what's there to disagree with?
  20       Q. Do you know why he emailed you?                20        A. Well, I think your inclusion of a variety
  21       A. On this particular date?                       21   of pages to Exhibit 43 were not part of what I would
  22       Q. Correct.                                       22   have sent him.
  23       A. I think I knew at the time. It has             23        Q. Okay. We're not even there.
  24   something to do with the context of this particular   24        A. Well, you asked me about the attachments,
  25   email this date, but I don't remember sitting here    25   and I'm answering you.



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   1       Q. Okay. So my question was, you attached            1   right, which is --
   2   two documents. Yes or no.                                2       A. 39 ...
   3       A. Two documents are reflected in the                3       Q. So the email, which I gave you, is Bates
   4   attachment line, but this exhibit you've handed me       4   number 39499. Do you see that?
   5   has more than two documents in it. That's my point.      5       A. Right.
   6       Q. Okay. Let's take it one step at a time.           6       Q. And then the attachment begins on Bates
   7   You say two documents attached, number one, Alien        7   number 39500. Do you see that?
   8   Invasion report for Virginia, correct?                   8       A. Yeah.
   9       A. It says that in the attachment. Well, it          9       Q. And it contains the entire Alien Invasion
  10   doesn't. It says --                                     10   I report with exhibits, correct?
  11       Q. In the body --                                   11       A. Mistakenly, I think. I think whoever
  12       A. Right, right, in the body of the email,          12   prepared Adams 43 included documents that were not
  13   Alien Invasion report for VA.                           13   part of the email to Miller.
  14       Q. And then the second document attached,           14       Q. Well, I don't know why you'd say that,
  15   according to your cover email, is pleading in the       15   because the attachment, which was produced by you,
  16   EAC/Kobach/PILF litigation, right?                      16   because this is coming from you at your electionlaw
  17       A. That's what it says.                             17   center.com address and doesn't copy anyone from
  18       Q. Okay. You also said, with respect to the         18   PILF --
  19   Alien Invasion report attachment, you said, "We found   19          MR. LOCKERBY: We'll stipulate that these
  20   over one thousand aliens --"                            20   were produced by the Defendants with the Bates
  21       "We found over one thousand aliens were on the      21   numbers indicated.
  22   rolls in just eight Virginia counties," right?          22       We're bumping up against seven hours, so I
  23       A. That's accurate.                                 23   think that's in everyone's interest.
  24       Q. Okay. And then the attachment of the             24       Q. Right. So this is 39500 through 39642.
  25   Alien Invasion report begins on page Bates 39500,       25   That's this single attachment, right?

                                              Page 288                                                     Page 289
   1        A. On Exhibit 43 there's a pile of paper that       1   address of Luciania Freeman, correct?
   2   includes what you just described that I have a           2        A. Well, you're going to double-down. I'm
   3   recollection of never sending to Stephen Miller.         3   telling you I don't think that I included this
   4        Q. Well --                                          4   attachment in my email to Stephen Miller. And I will
   5        A. I would not have sent this to him.               5   readily admit that probably in the pile of paper
   6        Q. Well, this is the attachment.                    6   known as Adams 43 the name of -- which Plaintiff did
   7        A. Then it's mistaken. This is a mistaken           7   you ask me about, Miller?
   8   document that includes information that I never sent     8        Q. Luciania Freeman.
   9   to Stephen Miller, to the best of my recollection        9        A. Freeman? It's probably in there in the
  10   sitting here.                                           10   pile of paper in Adams 43. What I'm trying to
  11        Q. Okay. Well, this is what, as Mr. Lockerby       11   emphasize to you is I do not believe that this was
  12   said, Defendants --                                     12   sent in this email as an attachment.
  13        A. I know. And I'm just trying to flag this        13        Q. Prior to this email outreach by
  14   as my recollection of that email, and I can't account   14   Mr. Miller, have you talked to him before?
  15   for the fact that there's a pile of paper here that I   15        A. I believe so.
  16   do not believe were ever part of my email to Stephen    16        Q. And I think your testimony was you don't
  17   Miller.                                                 17   recall why he was reaching out to you; is that right?
  18        Now I could be mistaken about this, but it         18        A. Well, I know there is a context --
  19   would not be consistent with how I would have           19        Q. But you're not thinking of it right now.
  20   attempted to economize his attention by sending him     20        A. -- but I can't remember what it is right
  21   hundreds of pages. And I believe I had a -- I don't     21   now.
  22   have anything else.                                     22        Q. What was the purpose of sending him the
  23        Q. And since this includes, at least this          23   Alien Invasion report in response to his email, do
  24   attachment includes the entire Alien Invasion I         24   you recall?
  25   report with exhibits, it includes the name and          25        A. Well, I discuss that. I said, here's a



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   1   start. He wants information on noncitizen voting,        1         from (topmost) R George sent
   2   and there is no question that there are noncitizens      2         5/17/2017
   3   that are referred to in the Alien I who were voting      3         PILF-ADAMS-0013078 - 0013079)
   4   in the Commonwealth of Virginia.                         4         MR. TEPE: Let the record reflect that the
   5       Q. But Luciania Freeman is not one of them,          5   witness has been handed an exhibit marked number 44
   6   correct?                                                 6   with Bates number 13078.
   7       A. Well, I have, on multiple occasions, I            7       Q. I'll direct your attention to the bottom
   8   believe, told you that I understand that Mr. Bonilla,    8   email sent by Reagan George May 17th, 2017. Do you
   9   Ms. Freeman are citizens, and I feel bad that they       9   see that?
  10   were identified otherwise by the Commonwealth of        10       A. It's -- there's an email from Reagan on
  11   Virginia and that their registrations were improperly   11   May 17th, 2017.
  12   canceled. And that's precisely why we wanted to do      12       Q. And it's to Steve and Nancy with Middle
  13   something about it by bringing an action against the    13   Resolution?
  14   Commonwealth.                                           14       A. I have no idea.
  15       Q. Am I correct that you wanted to publish          15       Q. It says, "Steve/Nancy, just checking.
  16   Alien Invasion II in May of 2017 to piggyback on        16   Christian is wanting to get their article written
  17   Trump's announcement of the Voter Fraud Commission?     17   ASAP to piggyback on Trump's announcement of the
  18       A. No. Why? Do you have a basis for that?           18   Voter Fraud Commission." Do you see that?
  19          MR. LOCKERBY: Before we proceed, can we          19       A. I don't know what article he's referring
  20   see where we are in terms of time?                      20   to.
  21          VIDEO SPECIALIST: A little less than             21       Q. Well, he's referring to Alien Invasion II,
  22   three minutes.                                          22   correct?
  23          MR. TEPE: Until my next hour?                    23         MR. LOCKERBY: Object to form.
  24               (Adams Exhibit 44 marked for                24       A. How do you know that?
  25          identification: Email correspondence             25       Q. Because Nancy Smith and Steve Mond, who


                                              Page 292                                                   Page 293
   1   Mr. George emailed, provide data analysis that was       1   characterization?
   2   used in the Alien Invasion II report.                    2       A. I'm not sure I ever read this email, but I
   3        A. Yeah, and Reagan appears to be way off           3   will be happy to tell him now.
   4   here. A, he refers to an article; B, he refers to a      4         VIDEO SPECIALIST: Excuse me. That's
   5   fictional reason to write the article. Doesn't           5   seven hours.
   6   appear to have any basis.                                6         MR. LOCKERBY: All right. So we're done.
   7        Q. And so the subject line of this email was        7         VIDEO SPECIALIST: We're not off the
   8   "Any feedback on the noncitizens voter history list?"    8   record yet. Should we go off?
   9   Right?                                                   9         MR. TEPE: If we must.
  10        A. Well, that's the subject in an email from       10         MR. LOCKERBY: We must. Don't want to
  11   Steve Mond it looks like.                               11   violate any rules.
  12        Q. Right. And then Mr. George responds, "We        12         VIDEO SPECIALIST: We are off the record,
  13   are looking for the maximum number of votes cast so     13   5:48.
  14   go as far back as the oldest registration on the        14         MR. TEPE: Take a break? I assume you got
  15   list." Do you see that?                                 15   nothin', right?
  16        A. That's what the email says.                     16         MR. LOCKERBY: I have no questions.
  17        Q. And then he, Steve, responds, "should be        17         MR. TEPE: You have no questions?
  18   done by Friday at the latest," right?                   18         MR. LOCKERBY: I have no questions.
  19        A. That's what the email says.                     19         MR. TEPE: So we're done.
  20        Q. And then Reagan George responds by saying,      20         MR. LOCKERBY: We're done. You mean put
  21   "Thanks Steve for all your hard work on this," and      21   on the record that I have no questions?
  22   you are copied on that email, correct?                  22         MR. TEPE: Yes.
  23        A. At last I am copied on that last email.         23         MR. LOCKERBY: We can do that.
  24        Q. Did you email Reagan George and tell him        24         VIDEO SPECIALIST: Give me one second.
  25   that he was completely off basis in his                 25       We are back on the record, 5:49



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   1         MR. LOCKERBY: I have no questions. And             1            ACKNOWLEDGMENT OF DEPONENT
   2   he will read and sign.                                   2

   3         MR. TEPE: Thank you.                               3        I, J. CHRISTIAN ADAMS, do hereby
   4         MR. LOCKERBY: You're welcome.                      4   acknowledge that I have read and examined the
   5         VIDEO SPECIALIST: We are off the record,           5   foregoing testimony and that the same is a true,
   6   5:49.                                                    6   correct and complete transcription of the testimony
   7   //                                                       7   given by me, with the exception of the noted
   8         (The deposition of J. CHRISTIAN ADAMS              8   corrections, if any, appearing on the attached errata
   9   adjourned at 5:49 p.m.)                                  9   page(s).
  10   //                                                      10    __________         ____________________________
  11                                                           11    DATE            J. CHRISTIAN ADAMS
  12                                                           12

  13                                                           13

  14                                                           14   Subscribed and sworn to before me this _____ day of
  15                                                           15   _____________________, 20_____ .
  16                                                           16   ___________________________________ (Notary Public)
  17                                                           17   My Commission expires: _______________________
  18                                                           18

  19                                                           19

  20                                                           20

  21                                                           21   [SEAL]
  22                                                           22

  23                                                           23

  24                                                           24

  25                                                           25



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   1            CERTIFICATE                                     1                EXHIBITS
   2                                                            2
   3          I, LINDA S. KINKADE, Registered Diplomate         3   ADAMS EXHIBITS DESCRIPTION                        PAGE
   4   Reporter, Certified Realtime Reporter, Registered        4   Adams Exhibit 1 Email correspondence from ..... 18
   5   Merit Reporter, Certified Shorthand Reporter, and        5            (topmost) N Johnson sent
   6   Notary Public, do hereby certify that prior to the       6            5/24/2017
   7   commencement of examination the deponent herein was      7            PILF_ADAMS-0000821 - 0000823
   8   duly sworn by me to testify truthfully under penalty     8   Adams Exhibit 2 Twitter feed from the Public .. 21
   9   of perjury.                                              9            Interest Legal Foundation
  10       I FURTHER CERTIFY that the foregoing is a true      10   Adams Exhibit 3 Twitter feed from the Public .. 22
  11   and accurate transcript of the proceedings as           11            Interest Legal Foundation
  12   reported by me stenographically to the best of my       12   Adams Exhibit 4 Screenshot of PILF's Facebook . 24
  13   ability.                                                13            page
  14       I FURTHER CERTIFY that I am neither counsel         14   Adams Exhibit 5 Screenshot of PILF's Facebook . 26
  15   for nor related to nor employed by any of the parties   15            page May 30th, 2017
  16   to this case and have no interest, financial or         16   Adams Exhibit 6 Email correspondence from ..... 27
  17   otherwise, in its outcome.                              17            (topmost) C Adams sent
  18       IN WITNESS WHEREOF, I have hereunto set my          18            10/3/2016 PILF-ADAMS-0044021
  19   hand and affixed my notarial seal this 2nd day of       19   Adams Exhibit 7 Email correspondence from ..... 30
  20   May, 2019.                                              20            (topmost) C Adams sent
  21       My commission expires: July 31, 2022                21            10/3/2016
  22                                                           22            PILF-ADAMS-0006102 - 0006104
  23   _______________________________                         23
  24   LINDA S. KINKADE                                        24
  25   THE DISTRICT OF COLUMBIA                                25




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   1   Adams Exhibit 8 Email correspondence from ..... 32     1   Adams Exhibit 14-A Video clip ................... 63
   2              (topmost) R Reagan sent                     2   Adams Exhibit 15 YouTube screenshot from ...... 75
   3              10/3/2016                                   3              theblaze Christian Adams
   4              PILF-ADAMS-0040246 - 0040250                4              Joins Dana
   5   Adams Exhibit 9 Illegal Foreign Voting in ..... 37     5   Adams Exhibit 15-A Video clip ................... 76
   6              Virginia Covered up by                      6   Adams Exhibit 16 YouTube screenshot John ...... 77
   7              Soros-backed Democratic                     7              Fredericks Show
   8              Officials with attachment                   8   Adams Exhibit 16-A Video/audio clip.............. 79
   9   Adams Exhibit 10 Email correspondence from ..... 49    9   Adams Exhibit 17 Re podcast Mornings on the ... 79
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   4   Deponent:
   5   Pg. No. Now Reads Should Read Reason
   6   ___ ___ __________ __________ ____________________
   7   ___ ___ __________ __________ ____________________
   8   ___ ___ __________ __________ ____________________
   9   ___ ___ __________ __________ ____________________
  10   ___ ___ __________ __________ ____________________
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  17   ___ ___ __________ __________ ____________________
  18   ___ ___ __________ __________ ____________________
  19   ___ ___ __________ __________ ____________________
  20

                        _____________________
  21                    Signature of Deponent
  22   SUBSCRIBED AND SWORN BEFORE ME
  23   THIS ____ DAY OF __________, 2019.
  24   ____________________
  25   (Notary Public) MY COMMISSION EXPIRES:__________




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